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                                          ID#: 11



                           COMMONWEALTH OF KENTUCKY
                             FRANKLIN CIRCUIT COURT
                                    DIVISION 2
                               CASE NO.: 22-CI-000765

                                      Electronically Filed

WILLIAM A. JONES, et al.                                                        PLAINTIFFS

v.

GEORGETOWN COLLEGE, et al.                                                    DEFENDANTS



                                  NOTICE OF REMOVAL


       Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, the Defendants, Georgetown

College, Board of Trustees of Georgetown College, in their Official, Corporate Structure,

Rosemary A. Allen, individually and in her official capacity as President of Georgetown College,

Johnathan Sands Wise, individually and in his official capacity as Executive Vice President of

Georgetown College, John Davis, individually and in his official capacity as Vice President of

Advancement of Georgetown College, Curtis Sandberg, individually and in his official capacity

as Vice President of Student Life of Georgetown College, Sally Wiatrowski, individually and in

her official capacity as Vice President for Business Operations of Georgetown College, Dave

Adkisson, individually and in his official capacity as Board Member and Former Board

Chairperson of Georgetown College, Dr. Bob Baker, individually and in his official capacity as

Board Member of Georgetown College, Tucker Ballinger, individually and in his official capacity

as Board Member of Georgetown College, Dr. John Blackburn, individually and in his official

capacity as Board Member of Georgetown College, Granetta Blevins, individually and in her

official capacity as Board Member of Georgetown College, Tracey Clark, individually and in her

official capacity as Board Member of Georgetown College, Sharon Clifton, individually and in her

                                                                                           EXHIBIT
                                                                                             A
Case: 3:22-cv-00058-GFVT-EBA           Doc #: 1-1 Filed: 10/19/22          Page: 2 of 265 - Page
                                           ID#: 12



official capacity as Board Member of Georgetown College, John Cochenour, individually and in

his official capacity as Board Member of Georgetown College, Nicole Collinson, individually and

in her official capacity as Board Member of Georgetown College, Jane Cutter, individually and in

her official capacity as Board Member of Georgetown College, Kenny Davis, individually and in

his official capacity as Board Member of Georgetown College, Vickie Glisson, individually and

in her official capacity as Board Member of Georgetown College, John Doe, individually and in

his official capacity as Board Member of Georgetown College, William J. Houston, individually

and in his official capacity as Board Member of Georgetown College, Melanie Ladd, individually

and in her official capacity as Board Member of Georgetown College, David Lee, individually and

in his official capacity as Board Member of Georgetown College, Mike Lukemire, individually

and in his official capacity as Board Member of Georgetown College, Missy Matthews,

Individually and in her Official Capacity as Board Member of Georgetown College, Robert L.

Mills, individually and in his official capacity as Chairman of the Board of Trustees of Georgetown

College, Judge Gerald Parker, individually and in his official capacity as Board Member of

Georgetown College, Michelle Pedigo, individually and in her official capacity as Board Member

of Georgetown College, Frank Penn, individually and in his official capacity as Board Member of

Georgetown College, John Travis, individually and in his official capacity as Board Member of

Georgetown College, Hon. J. Guthrie True, individually and in his official capacity as Board

Member of Georgetown College, John Ward, individually and in his official capacity as Board

Member of Georgetown College, Meocha Williams, individually and in her official capacity as

Board Member of Georgetown College, Sarah Wilson, individually and in her official capacity as

Board Member of Georgetown College, Norm Brown, individually and in his official capacity as

a Former Board Member of Georgetown College, hereby give notice that they have filed the



                                    State Notice of Removal - 2                          EXHIBIT
                                                                                           A
Case: 3:22-cv-00058-GFVT-EBA            Doc #: 1-1 Filed: 10/19/22         Page: 3 of 265 - Page
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attached copy of a Notice of Removal of this action in the United States District Court for the

Eastern District of Kentucky. Exhibit 1, Federal Notice of Removal. This Notice of Removal has

been duly filed in the United States District Court.

       Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, the filing of this copy of the Notice

of Removal effects the removal of this action from the State Court to the United States District

Court, and the State Court shall proceed no further herein.


                                              FREEMAN MATHIS & GARY, LLP

                                              s/Tia J. Combs
                                              Tia J. Combs
                                              Cara N. Crecelius
                                              2525 Harrodsburg Road, Suite 500
                                              Lexington, KY 40504
                                              859.806.1266
                                              tcombs@fmglaw.com
                                              cara.crecelius@fmglaw.com



                                 CERTIFICATE OF SERVICE
       This is to certify that the foregoing has been served, via first class USPS, postage prepaid,

and via email on this the 19th day of October 2022, upon the following:

       Kyle Thompson                                      Thomas Clay
       100 East Main Street                               Clay and Daniel, LLC
       Frankfort, KY 40601                                917 Lily Creek Road
                                                          Louisville KY 40243

                                              s/Tia J. Combs




                                     State Notice of Removal - 3
Case: 3:22-cv-00058-GFVT-EBA   Doc #: 1-1 Filed: 10/19/22   Page: 4 of 265 - Page
                                   ID#: 14



                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                      CENTRAL DIVISION AT FRANKFORT
                            CASE NO.: __________

                               Electronically Filed

WILLIAM A. JONES                                                  PLAINTIFFS

And

AMY R. JONES

And

ANNALISE JONES

And

THOMAS JONES, JR.

And

GRACE JONES

And

W.J., II, A MINOR CHILD

And

H.J., A MINOR CHILD

And

A.J., A MINOR CHILD

v.

GEORGETOWN COLLEGE                                              DEFENDANTS

And

BOARD OF TRUSTEES OF GEORGETOWN
COLLEGE, In their Official, Corporate
Structure                                                             EXHIBIT
                                                                        1
Case: 3:22-cv-00058-GFVT-EBA          Doc #: 1-1 Filed: 10/19/22   Page: 5 of 265 - Page
                                          ID#: 15



And

ROSEMARY A. ALLEN, Individually and in
her Official Capacity as President of
Georgetown College

And

JOHNATHAN SANDS WISE, Individually and
in his Official Capacity as Executive Vice
President of Georgetown College

And

JOHN DAVIS, Individually and in his Official
Capacity as Vice President of Advancement of
Georgetown College

And

CURTIS SANDBERG, Individually and in his
Official Capacity as Vice President of Student
Life of Georgetown College

And

SALLY WIATROWSKI, Individually and in
her Official Capacity as Vice President for
Business Operations of Georgetown College

And

DAVE ADKISSON, Individually and in his
Official Capacity as Board Member and Former
Board Chairperson of Georgetown College

And

DR. BOB BAKER, Individually and in his
Official Capacity as Board Member of
Georgetown College

And




                                  Federal Notice of Removal - 2
Case: 3:22-cv-00058-GFVT-EBA      Doc #: 1-1 Filed: 10/19/22   Page: 6 of 265 - Page
                                      ID#: 16



TUCKER BALLINGER, Individually and in
his Official Capacity as Board Member of
Georgetown College

And

DR. JOHN BLACKBURN, Individually and in
his Official Capacity as Board Member of
Georgetown College

And

GRANETTA BLEVINS, Individually and in
her Official Capacity as Board Member of
Georgetown College

And

TRACEY CLARK, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

SHARON CLIFTON, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

JOHN COCHENOUR, Individually and in his
Official Capacity as Board Member of
Georgetown College

And

NICOLE COLLINSON, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

JANE CUTTER, Individually and in her
Official Capacity as Board Member of
Georgetown College



                              Federal Notice of Removal - 3
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                                         ID#: 17



And

KENNY DAVIS, Individually and in his
Official Capacity as Board Member of
Georgetown College

And

VICKIE GLISSON, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

JOHN DOE, Individually and in his Official
Capacity as Board Member of Georgetown
College

And

WILLIAM J. HOUSTON, Individually and in
his Official Capacity as Board Member of
Georgetown College

And

MELANIE LADD, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

DAVID LEE, Individually and in his Official
Capacity as Board Member of Georgetown
College

And

MIKE LUKEMIRE, Individually and in his
Official Capacity as Board Member of
Georgetown College

And




                                Federal Notice of Removal - 4
Case: 3:22-cv-00058-GFVT-EBA         Doc #: 1-1 Filed: 10/19/22   Page: 8 of 265 - Page
                                         ID#: 18



MISSY MATTHEWS, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

ROBERT L. MILLS, Individually and in his
Official Capacity as Chairman of the Board of
Trustees of Georgetown College

And

JUDGE GERALD PARKER, Individually and
in his Official Capacity as Board Member of
Georgetown College

And

MICHELLE PEDIGO, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

FRANK PENN, Individually and in his Official
Capacity as Board Member of Georgetown
College

And

JOHN TRAVIS, Individually and in his Official
Capacity as Board Member of Georgetown
College

And

HON. J. GUTHRIE TRUE, Individually and in
his Official Capacity as Board Member of
Georgetown College

And

JOHN WARD, Individually and in his Official
Capacity as Board Member of Georgetown
College



                                 Federal Notice of Removal - 5
Case: 3:22-cv-00058-GFVT-EBA            Doc #: 1-1 Filed: 10/19/22         Page: 9 of 265 - Page
                                            ID#: 19



And

MEOCHA WILLIAMS, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

SARAH WILSON, Individually and in her
Official Capacity as Board Member of
Georgetown College

And

NORM BROWN, Individually and in his
Official Capacity as a Former Board Member of
Georgetown College

And

KAPPA ALPHA ORDER- SOCIAL
FRATERNITY



                                   NOTICE OF REMOVAL


       Please take notice the Defendants Georgetown College, Board of Trustees of Georgetown

College, in their Official, Corporate Structure, Rosemary A. Allen, individually and in her official

capacity as President of Georgetown College, Johnathan Sands Wise, individually and in his

official capacity as Executive Vice President of Georgetown College, John Davis, individually and

in his official capacity as Vice President of Advancement of Georgetown College, Curtis

Sandberg, individually and in his official capacity as Vice President of Student Life of Georgetown

College, Sally Wiatrowski, individually and in her official capacity as Vice President for Business

Operations of Georgetown College, Dave Adkisson, individually and in his official capacity as

Board Member and Former Board Chairperson of Georgetown College, Dr. Bob Baker,

individually and in his official capacity as Board Member of Georgetown College, Tucker

                                   Federal Notice of Removal - 6
 Case: 3:22-cv-00058-GFVT-EBA           Doc #: 1-1 Filed: 10/19/22         Page: 10 of 265 -
                                        Page ID#: 20



Ballinger, individually and in his official capacity as Board Member of Georgetown College, Dr.

John Blackburn, individually and in his official capacity as Board Member of Georgetown College,

Granetta Blevins, individually and in her official capacity as Board Member of Georgetown

College, Tracey Clark, individually and in her official capacity as Board Member of Georgetown

College, Sharon Clifton, individually and in her official capacity as Board Member of Georgetown

College, John Cochenour, individually and in his official capacity as Board Member of

Georgetown College, Nicole Collinson, individually and in her official capacity as Board Member

of Georgetown College, Jane Cutter, individually and in her official capacity as Board Member of

Georgetown College, Kenny Davis, individually and in his official capacity as Board Member of

Georgetown College, Vickie Glisson, individually and in her official capacity as Board Member

of Georgetown College, John Doe, individually and in his official capacity as Board Member of

Georgetown College, William J. Houston, individually and in his official capacity as Board

Member of Georgetown College, Melanie Ladd, individually and in her official capacity as Board

Member of Georgetown College, David Lee, individually and in his official capacity as Board

Member of Georgetown College, Mike Lukemire, individually and in his official capacity as Board

Member of Georgetown College, Missy Matthews, Individually and in her Official Capacity as

Board Member of Georgetown College, Robert L. Mills, individually and in his official capacity

as Chairman of the Board of Trustees of Georgetown College, Judge Gerald Parker, individually

and in his official capacity as Board Member of Georgetown College, Michelle Pedigo,

individually and in her official capacity as Board Member of Georgetown College, Frank Penn,

individually and in his official capacity as Board Member of Georgetown College, John Travis,

individually and in his official capacity as Board Member of Georgetown College, Hon. J. Guthrie

True, individually and in his official capacity as Board Member of Georgetown College, John



                                  Federal Notice of Removal - 7
 Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22           Page: 11 of 265 -
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Ward, individually and in his official capacity as Board Member of Georgetown College, Meocha

Williams, individually and in her official capacity as Board Member of Georgetown College, Sarah

Wilson, individually and in her official capacity as Board Member of Georgetown College, Norm

Brown, individually and in his official capacity as a Former Board Member of Georgetown College

(hereinafter “these Defendants”), have removed this action from the Franklin Circuit Court Civil

Division to the United States District Court for the Eastern District of Kentucky. Franklin Circuit

Court is located within the jury division of the United States District Court for the Eastern District

of Kentucky, Central Division at Frankfort. Copies of all process, pleadings, and orders of record

are attached hereto and made a part hereof.

                                  GROUNDS FOR REMOVAL

       1.      Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over Plaintiffs’

claims for civil rights violations of 42 U.S.C. § 1983 (Count XI) and violations of 20 U.S.C. §

1681, otherwise known as Title IX (Count XIV). The Defendants may therefore remove this action

to this Court pursuant to 28 U.S.C. § 1441(a) and (c) because this action includes claims arising

under the Constitution, laws, or treaties of the United States.

       2.      This Court has supplemental jurisdiction over all remaining claims in this action

including: Plaintiffs’ claims for defamation per se (Counts I-III), false light invasion of privacy

(Counts IV-VI), vicarious liability (Counts VII-IX), intentional and/or reckless infliction of

emotional distress/outrage (Count X), threat of physical and sexual violence; intentional infliction

of extreme emotional distress (Count XII), breach of contract (Count XIII), and punitive damages

(Count XV). These claims are “so related to claims in the action with such original jurisdiction

that they form part of the same case or controversy under Article III of the United States




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Constitution.” 28 U.S.C. § 1367(a). As such, removal of the entire action is proper and consistent

with 28 U.S.C. § 1367.

       3.      Plaintiff commenced this action in the Franklin Circuit Court by filing a Complaint

on September 29, 2022, styled William A. Jones, et al. v. Georgetown College, et al., Civil Action

No. 22-CI-765. The Plaintiffs’ Complaint seeks judgment against the Defendants for

compensatory damages and punitive damages.

       4.      This Notice of Removal is timely filed, pursuant to 28 U.S.C § 1446(b)(1) because

it has been filed within thirty days of receipt of a copy of the Complaint. The first Defendant to

receive a copy of the Complaint did so on September 30, 2021.

       5.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders of

record in this matter, including this Defendants’ Notice of Removal filed in the state court, are

attached hereto as Exhibit A. A copy of the docket summary from the Franklin County Circuit

Court is attached as Exhibit B.

       6.      The Court’s exercise of federal question jurisdiction is proper pursuant to 28 U.S.C.

§ 1441(a) and (c) because Plaintiff’s claims in the civil action against Defendants include alleged

violations of 42 U.S.C. § 1983 and 20 U.S.C. § 1681. This Court has original jurisdiction over

these constitutional claims pursuant to 28 U.S.C. § 1331. This Court has supplemental jurisdiction

over the related state law claims pursuant to 28 U.S.C. § 1367 because they "derive from a common

nucleus of operative fact" with the federal claims. United Mine Workers of Am. v. Gibbs, 383 U.S.

715, 725 (1966). All claims arise out the employment of William A. Jones as President of

Georgetown College and the attendance of Annalise Jones as a student at Georgetown College.

       7.      By removing this action to this Court, these Defendants do not waive any defenses

available to them, and expressly reserve the right to assert all such defenses.



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       8.     Pursuant to 28 U.S.C. § 1446(b)(2) no other defendants have been properly joined

and served. As such, no consent to removal is necessary.

       WHEREFORE, these Defendants respectfully requests this Court assume jurisdiction over

the above-captioned case.


                                             FREEMAN MATHIS & GARY, LLP

                                             s/Tia J. Combs
                                             Tia J. Combs
                                             Cara N. Crecelius
                                             2525 Harrodsburg Road, Suite 500
                                             Lexington, KY 40504
                                             859.806.1266
                                             tcombs@fmglaw.com
                                             cara.crecelius@fmglaw.com

                                CERTIFICATE OF SERVICE
       This is to certify that the foregoing has been served, via first class USPS, postage prepaid,

and via email on this the 19th day of October 2022, upon the following:

       Kyle Thompson                                     Thomas Clay
       100 East Main Street                              Clay and Daniel, LLC
       Frankfort, KY 40601                               917 Lily Creek Road
                                                         Louisville KY 40243

                                             s/Tia J. Combs
                                             Counsel for Defendant




                                  Federal Notice of Removal - 10
         Case: 3:22-cv-00058-GFVT-EBA                Doc #: 1-1 Filed: 10/19/22           Page: 14 of 265 -
                                                     Page ID#: 24
                                   JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN
                                   COLLEGE ET AL
                                   FRANKLIN CIRCUIT COURT
                                   Filed on 09/30/2022 as SLANDER/LIBEL/DEFAMATION with HON. THOMAS DAWSON
              22-CI-00765          WINGATE
                                   **** NOT AN OFFICIAL COURT RECORD ****


    Case Memo                                                                                        22-CI-00765

      SLANDER/LIBEL/DEFAMATION;

    Parties                                                                                          22-CI-00765
      ADKISSON, DAVID C as DEFENDANT / RESPONDENT

       Address
         1000 RICHMOND RD.
         LEXINGTON KY 40502

       Summons
         CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

      ALLEN, ROSEMARY A as DEFENDANT / RESPONDENT

       Address
         400 EAST COLLEGE ST.
         GEORGETOW N KY 40324

       Summons
         CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

      BAKER, DR. ROBERT as DEFENDANT / RESPONDENT

       Address
         204 STRAW BERRY LANE
         LEXINGTON KY 40516

       Summons
         CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

      BALLINGER, JEROMY TUCKER as DEFENDANT / RESPONDENT

       Address
         1651 DUNTREATH DR.
         LEXINGTON KY 40504

       Summons
         CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

      BLACKBURN, JOHN R. JR as DEFENDANT / RESPONDENT

       Address
         203 ARTESIAN DR.
         GARNER NC 27529

       Summons
         CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER




                                                                                                         EXHIBIT
      BLEVINS, GRANETTA as DEFENDANT / RESPONDENT                                                          B
       Address
         104 COLONIAL DR.
         MOUNT STERLING KY 40353

10/19/2022                                               89056                                                     1
        Case: 3:22-cv-00058-GFVT-EBA                     Doc #: 1-1 Filed: 10/19/22     Page: 15 of 265 -
       MOUNT STERLING KY 40353
                                                         Page ID#: 25

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER


     BOARD OF TRUSTESS OF GEORGETOWN COLLEGE as DEFENDANT / RESPONDENT

      Memo
       CHAIRPERSON OF THE BOARD Registered Agent of Service exists.

      Address
       400 EAST COLLEGE ST.
       GEORGETOW N KY 40324

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     BROWN, NORMAN as DEFENDANT / RESPONDENT

      Address
       1608 HARMONY LANE
       LEXINGTON KY 40502

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     CLARK, TRACEY as DEFENDANT / RESPONDENT

      Address
       312 JAMES LYN DR.
       HOPKINSVILLE KY 42240

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     CLIFTON, SHARON as DEFENDANT / RESPONDENT

      Address
       3809 MIMOSA LANE
       LEXINGTON KY 40517

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     COCHENOUR, JOHN as DEFENDANT / RESPONDENT

      Address
       7814 NORTHEAST 8TH STRT
       MEDINA W A 98039 4711

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER




     COLLINSON, NICOLE BIVENS as DEFENDANT / RESPONDENT

      Address
       500 ROOSEVELT BLVD
       FALLS CHURCH VA 22044

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER



10/19/2022                                                    89056                                         2
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                                                   Page ID#: 26
     CUTTER, JANE as DEFENDANT / RESPONDENT

      Address
       100 BETH PAGE LANE
       GEORGETOW N KY 40324

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     DAVIS, JOHN as DEFENDANT / RESPONDENT

      Address
       400 EAST COLLEGE ST.
       GEORGETOW N KY 40324

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     DAVIS, KENNY as DEFENDANT / RESPONDENT

      Address
       1497 W ALLACETOW N RD
       PAINT LICK KY 40461

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     DOE, JOHN as DEFENDANT / RESPONDENT

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     GEORGETOWN COLLEGE as DEFENDANT / RESPONDENT

      Memo
       Registered Agent of Service exists.

      Address
       400 EAST COLLEGE ST.
       GEORGETOW N KY 40324

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     GLISSON, VICKIE as DEFENDANT / RESPONDENT

      Address
       500 W . JEFFERSON ST.
       SUITE #2000
       LOUISVILLE KY 40202

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER




     HOUSTON, WILLIAM J. as DEFENDANT / RESPONDENT

      Address
       8111 HOUSTON LN
       PEW EE VALLEY KY 40056

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     J., A. as PLAINTIFF / PETITIONER

      Address
       102 PINE VALLEY DR.
       GEORGETOW N KY 40324

10/19/2022                                             89056                                                3
        Case: 3:22-cv-00058-GFVT-EBA               Doc #: 1-1 Filed: 10/19/22           Page: 17 of 265 -
       GEORGETOW N KY 40324
                                                   Page ID#: 27

     J., H. as PLAINTIFF / PETITIONER

      Address
       102 PINE VALLEY DR.
       GEORGETOW N KY 40324



     J., W. II as PLAINTIFF / PETITIONER

      Address
       102 PINE VALLEY DR.
       GEORGETOW N KY 40324

     JONES, AMY R as PLAINTIFF / PETITIONER

      Address
       102 PINE VALLEY DR.
       GEORGETOW N KY 40324

     JONES, ANNALISE as PLAINTIFF / PETITIONER

      Address
       102 PINE VALLEY DR.
       GEORGETOW N KY 40324

     JONES, GRACE as PLAINTIFF / PETITIONER

      Address
       102 PINE VALLEY DR.
       GEORGETOW N KY 40324

     JONES, THOMAS JR as PLAINTIFF / PETITIONER

      Address
       102 PINE VALLEY DR.
       GEORGETOW N KY 40324

     JONES, WILLIAM ANDREW as PLAINTIFF / PETITIONER

      Address
       102 PINE VALLEY DR.
       GEORGETOW N KY 40324




     KAPPA ALPHA ORDER - SOCIAL FRATERNITY as DEFENDANT / RESPONDENT

      Memo
       Registered Agent of Service exists.

      Address
       115 LIBERTY HALL RD.
       LEXINGTON VA 24450

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     LADD, MELANIE as DEFENDANT / RESPONDENT

      Address
       3156 CAVERSHAM PARK LANE
       LEXINGTON KY 40509

      Summons

10/19/2022                                             89056                                                4
        Case: 3:22-cv-00058-GFVT-EBA               Doc #: 1-1 Filed: 10/19/22           Page: 18 of 265 -
                                                   Page ID#: 28
      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     LEE, DAVID as DEFENDANT / RESPONDENT

      Address
       80 FOXLEY LANE
       FRANKFORT KY 40601

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     LUKEMIRE, MICHAEL as DEFENDANT / RESPONDENT

      Address
       8227 COLDW ATER DR.
       POW ELL OH 43065

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     MATTHEWS, MISSY as DEFENDANT / RESPONDENT

      Address
       250 BEARFOOT TRAIL
       W HITESBURG KY 41858

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     MILLS, ROBERT as DEFENDANT / RESPONDENT

      Address
       330 LONG RIDGE RD.
       OW ENTON KY 40359

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER




     PARKER, E. GERALD as DEFENDANT / RESPONDENT

      Address
       5800 SAW GRASS DR.
       W EST CHESTER OH 45069

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     PEDIGO, MICHELLE as DEFENDANT / RESPONDENT

      Address
       1212 LAUREL ST.
       UNIT 1607
       NASHVILLE TN 37203

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     PENN, FRANK as DEFENDANT / RESPONDENT

      Address
       4741 MOUNT HOREB PIKE

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       4741 MOUNT HOREB PIKE                               Page ID#: 29
       LEXINGTON KY 40511

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     SANDBERG, CURTIS as DEFENDANT / RESPONDENT

      Memo
       Vice President of Student Life

      Address
       400 EAST COLLEGE ST.
       GEORGETOW N KY 40324

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     SANDS WISE, JOHNATHAN as DEFENDANT / RESPONDENT

      Memo
       Executive Vice President and Provost of Georgetow n College

      Address
       400 EAST COLLEGE ST.
       GEORGETOW N KY 40324

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     TRAVIS, JOHN as DEFENDANT / RESPONDENT

      Address
       616 SEMINOLE TRAIL
       GEORGETOW N KY 40324

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER




     TRUE, HON. J. GUTHRIE as DEFENDANT / RESPONDENT

      Address
       310 LEAW OOD DR.
       FRANKFORT KY 40601

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     WARD, JOHN JR as DEFENDANT / RESPONDENT

      Address
       13388 W OLF RD
       ALEXANDRIA KY 41001

      Summons
       CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     WIATROWSKI, SALLY as DEFENDANT / RESPONDENT

      Memo
       Vice President for Business Operations

      Address
       400 EAST COLLEGE ST.
       GEORGETOW N KY 40324

      Summons

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      Summons
        CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     WILLIAMS, MEOCHA as DEFENDANT / RESPONDENT

      Address
        1102 HADDRELL PT.
        LEXINGTON KY 40509

      Summons
        CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER

     WILSON, SARAH as DEFENDANT / RESPONDENT

      Address
        2004 OAK HILL CT.
        VERSAILLES KY 40383

      Summons
        CIVIL SUMMONS issued on 09/30/2022 by w ay of RETURNED TO ATTORNEY /PETITIONER


     THOMPSON, KY LE THOMAS as ATTORNEY FOR PLAINTIFF

      Address
        THE LAW OFFICES OF KYLE T THOMPSON PSC
        100 EAST MAIN STREET
        FRANKFORT KY 40601

     MILLS, ROBERT as REGISTERED AGENT OF SERVICE

      Memo
        Related party is BOARD OF TRUSTESS OF GEORGETOW N COLLEGE

      Address
        330 LONG RIDGE LANE
        OW ENTON KY 40359


     WEISE, LARRY STANTON as REGISTERED AGENT OF SERVICE

      Memo
        Related party is KAPPA ALPHA ORDER - SOCIAL FRATERNITY

      Address
        115 LIBERTY HALL ROAD
        LEXINGTON VA 24450

     WILHITE, C. DAVID as REGISTERED AGENT OF SERVICE

      Memo
        Related party is GEORGETOW N COLLEGE

      Address
        400 EAST COLLEGE STREET
        GEORGETOW N KY 40324


    Documents                                                                                       22-CI-00765

     COMPLAINT / PETITION filed on 09/30/2022

     EXHIBIT filed on 09/30/2022
       ATTACHMENT SET ONE
     EXHIBIT filed on 09/30/2022
       ATTACHMENT SET TWO

    Images                                                                                          22-CI-00765

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                      COMMONWEALTH OF KENTUCKY
                         FRANKLIN CIRCUIT COURT
                               DIVISION
                    CIVIL ACTION NO. - - - - - - - -
                              Electronically Filed


WILLIAM A. JONES                                                PLAINTIFFS

And

AMY R. JONES

And

ANNALISE JONES

And




                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
THOMAS JONES, JR.

And

GRACE JONES

And

W.J., II, A MINOR CHILD

And

H.J., A MINOR CHILD

And
                                                                                    COM : 000001 of 000079




A.J., A MINOR CHILD


                                                                          EXHIBIT
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And


DA VE ADKISSON, Individually and in his Official Capacity as
      Board Member and Former Board Chairperson of Georgetown College
      Serve Via Certified U S Mail

And

DR. BOB BAKER, Individually and in his Official Capacity as
      Board Member of Georgetown College
      Serve Via Certified U S Mail

And


TUCKER BALLINGER, Individually and in his Official Capacity as
    Board Member of Georgetown College
    Serve Via Certified U S Mail

And




                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
DR. JOHN BLACKBURN, Individually and in his Official Capacity as
      Board Member of Georgetown College
      Serve Via Certified U S Mail

And

GRANETTA BLEVINS, Individually and in her Official Capacity as
    Board Member of Georgetown College
    Serve Via Certified U S Mail

And

TRACEY CLARK, Individually and in her Official Capacity as
    Board Member of Georgetown College
    Serve Via Certified U S Mail

And
                                                                                       COM : 000003 of 000079



SHARON CLIFTON, Individually and in her Official Capacity as
    Board Member of Georgetown College
    Serve Via Certified U S Mail

And
                                          3
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JOHN COCHENOUR, Individually and in his Official Capacity as
     Board Mem her of Georgetown College
     Serve Via Certified U.S. Mail

And


NICOLE COLLINSON, Individually and in her Official Capacity as
     Board Mem her of Georgetown College
     Serve Via Certified U.S. Mail

And

JANE CUTTER, Individually and in her Official Capacity as
     Board Member of Georgetown College
     Serve Via Certified U.S. Mail

And

KENNY DA VIS, Individually and in his Official Capacity as
    Board Member of Georgetown College




                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
    Serve Via Certified U.S. Mail

And

VICKIE GLISSON, Individually and in her Official Capacity as
     Board Member of Georgetown College
     Serve Via Certified U.S. Mail

And

JOHN DOE, Individually and in his Official Capacity as
     Board Member of Georgetown College
     Serve Via Certified U.S. Mail

And

WILLIAM J. HOUSTON, Individually and in his Official Capacity as
     Board Member of Georgetown College
     Serve Via Certified U.S. Mail
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And



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MELANIE LADD, Individually and in her Official Capacity as
    Board Mem her of Georgetown College
    Serve Via Certified US. Mail

And


DAVID LEE, Individually and in his Official Capacity as
     Board Mem her of Georgetown College
     Serve Via Certified US. Mail

And

MIKE LUKEMIRE, Individually and in his Official Capacity as
     Board Member of Georgetown College
     Serve Via Certified US. Mail

And

MISSY MATTHEWS, Individually and in her Official Capacity as
     Board Member of Georgetown College




                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
     Serve Via Certified US. Mail

And

ROBERT L. MILLS, Individually and in his Official Capacity as
    Chairman of the Board of Trustees of Georgetown College
    Serve Via Certified US. Mail

And

JUDGE GERALD PARKER, Individually and in his Official Capacity as
     Board Member of Georgetown College
     Serve Via Certified US. Mail

And

MICHELLE PEDIGO, Individually and in her Official Capacity as
    Board Mem her of Georgetown College
    Serve Via Certified US. Mail
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And



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FRANK PENN, Individually and in his Official Capacity as
    Board Member of Georgetown College
    Serve Via Certified U.S. Mail

And


JOHN TRAVIS, Individually and in his Official Capacity as
     Board Member of Georgetown College
     Serve Via Certified U.S. Mail

And

HON. J. GUTHRIE TRUE, Individually and in his Official Capacity as
      Board Member of Georgetown College
      Serve Via Certified U.S. Mail

And

JOHN WARD, Individually and in his Official Capacity as
     Board Mem her of Georgetown College




                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
     Serve Via Certified U.S. Mail

And

MEOCHA WILLIAMS, Individually and in her Official Capacity as
    Board Mem her of Georgetown College
    Serve Via Certified U.S. Mail

And

SARAH WILSON, Individually and in her Official Capacity as
    Board Member of Georgetown College
    Serve Via Certified U.S. Mail

And

NORM BROWN, Individually and in his Official Capacity as a
    Former Board Member of Georgetown College
    Serve Via Certified U.S. Mail
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And

 KAPPA ALPHA ORDER- SOCIAL FRATERNITY
     115 Liberty Hall Road, Lexington, Virginia 24450
     Serve Larry Stanton Weise, Executive Director o f National Organization
     Serve Via Certified US. Mail


                             COMPLAINT AND JURY DEMAND



       NOW COMES THE PLAINTIFFS, Mr. William A. Jones, Mrs. Amy R. Jones, Ms.

Annalise Jones, Ms. Thomas Jones, Jr., Grace Jones, W.J. II, a minor child, H.J., a minor child,

and A.J., a minor child, by and through counsel, and for their Complaint and Jury Demand

against the above-named Defendants, hereby state as follows:

                          INTRODUCTION TO CASE AND ISSUES




                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        I. Plaintiff William A. Jones ("Mr. Jones") spent the better part of the last two (2)

decades working in various executive positions at institutions of higher learning in four (4)

states. Mr. Jones' success in this line of work was notable and has propelled him into presidential

positions at two (2) colleges including, most recently, at Georgetown College in Georgetown,

Kentucky.

       2. During his tenure as President of Georgetown College, Mr. Jones helped the College

achieve its fundraising goals, increased alumni and employee participation in financial giving to

the College, greatly improved enrollment and retention rates at the College, and secured funding

for development projects concerning upgrades to critical campus facilities-all while shepherding
                                                                                                      COM : 000007 of 000079




the College, students and faculty, and an entire community through a global pandemic and the

crises, confusion, and uncertainties it engendered.



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         3. While President of Georgetown College, Mr. Jones was able to financially suppo1t his

wife and the six (6) children they share together. By all accounts, Mr. Jones' future was bright

and promised continued, gainful employment at institutions of higher education and beyond for

many years into the future.

         4. Then came the weekend of October 30, 2021, through Tuesday, November 2, 2021,

when Defendants wrongfully destroyed Mr. Jones' life and future.

         5. In October and November of 2021, Mr. Jones was falsely accused of sexual assault by

a former colleague. An investigation into her allegations was conducted by law enforcement

personnel and cleared Mr. Jones of any wrongdoing. In fact, Mr. Jones was noted to be

'exceptionally cleared'. 1




                                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
         6. But the fact that Mr. Jones has been cleared of any criminal conduct by independent

arbiters did not matter, because he had already been convicted by Georgetown College, the

Board of Trustees of Georgetown College, the individually named Defendants herein, and the

media.

         7. As a result of Defendants' malicious statements and actions, Mr. Jones has been falsely

labeled a criminal, a sexual predator, a threat to those around him, and unfit to continue

practicing in his chosen profession. Mr. Jones is now a pariah within his own community and

that of his former peers'-communities which once held Mr. Jones in high regard. Mr. Jones'

opportunity for future, gainful employment was once abundant; they are now nil.
                                                                                                                     COM : 000008 of 000079




 1
 January 6, 2022, report of Detective Jason Bockting, Sex Crimes Unit-2235, Indianapolis Metropolitan Police
Department. " ... [t]he case with William Jones has been no filed under 49-NC2201-2104250 ... 1wi II be closing my
case today. Thanks. Jason" Email to Attorney Jennifer Lukemeyer, 12: 13 PM, January 6, 2022.



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       8. Mr. Jones' life and reputation and that of his family, including his wife and children

have been irreparably damaged, and Mr. Jones and his family are entitled to be compensated for

Defendants' intentional and wrongful conduct including compensatory and punitive damages for

all the reputational, mental, emotional, and professional damage caused and for the economic

hardship that Mr. Jones and his family will face moving forward. In addition, Georgetown

College, by and through its President, Rosemary Allen, should issue a public apology for its

wrongdoing.

       9. Mr. Jones' wife lost her own job due to the unlawful termination of her husband. She

has been made an outcast in the community that she had just begun to call home. She is unable to

live, attend events, or even worship without the fear of retribution. She is in constant fear for her

current and future livelihood and the safety of her six (6) children, two (2) of whom are adopted




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
and of African American descent.

        10. In addition to the horrendous and inexcusable statements regarding Mr. Jones and the

utterly false claim regarding his propensity for sexual misconduct or violence, Mr. Jones'

daughter, Annalise Jones, a plaintiff herein, was subjected to the vilest and most disgusting and

racist actions towards her by the College, its agents and employees. Kappa Alpha Order, a

national social fraternity founded by four (4) former Confederate soldiers in I 865, with a

notorious and historically racist past, discussed amongst their members a plan to assault and

gang rape her on the Civil War era cannon located in front of their campus 'house'. Instead of

offering to protect Ms. Jones from continued harassment, in an unfathomable, epically

insensitive, and uncivil move, Georgetown College issued 'No Contact Orders' on Ms. Jones to
                                                                                                        COM : 000009 of 000079




not have any contact with the very young men that threatened to do her harm, as if she herself

had committed some crime. Georgetown College went so far as to threaten to prosecute her with

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'disciplinary action' should she violate, even inadvertently, these ridiculous orders that were put

into place after she was threatened with sexual assault. The fraternity was suspended (not

expelled) for a four (4) year term from Georgetown College's campus. Yet, Plaintiff Jones

experienced great pressure applied to him to allow Kappa Alpha Order to return much sooner, if

not immediately with a rescission from Mr. Jones, as President of Georgetown College, of the

disciplinary action taken against the fraternity. Since that time, Ms. Annalise Jones' life has

been an absolute living nightmare. She has been called racial slurs. She has been called 'the

rapist's' daughter'. She has been forced to await security escorts to and from class and the library

(sometimes waiting for more than one hour due to the college's unwillingness to provide her

timely security) many evenings for the last two (2) years. She is forever damaged by the cruel,

utterly racist, and inhumane treatment by the College, its agents and representatives, and the




                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Georgetown College Chapter of Kappa Alpha Order that harken back to an age prior to the Civil

Rights Act.

        11. Mr. Jones' other children have also been scarred and damaged by the physical and

emotional trauma inflicted upon their father and by extension their siblings and themselves. One

child, a now fifteen (15) year old, H.J., a plaintiff herein, has as recently as the week of

September 20, 2022, been assaulted on the grounds of her local high school, to the point of

serious physical injury by a gang of twenty (20) teenage girls. This child has also,

unsurprisingly, suffered irreparable extreme emotional distress that has threatened her life on

multiple occasions, all as a direct and proximate result of the unlawful and wrongful actions by

Georgetown College, its agents, representatives, the students on its campus, and the associated
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members of the community that have rallied around the school. Unfortunately, each of these

supporters have been oblivious to the fact that the disgusting allegations broadcast worldwide


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against Mr. Jones were baseless and false. The College has known and does know that they did

not follow mandatory state and federal laws regarding the complaint process, the investigation,

the production of findings, the allowance of a public hearing, and completely ignored the four (4)

corners of the employment contract with Mr. Jones. Instead, the College, by and through its

various agents and employees, chose to defame and malign Mr. Jones and his family as outcasts

and deviants that needed to be shunned, beaten, cat-called, and destroyed from the inside of their

souls to their personal and professional beings, without even a scintilla of evidence that Mr.

Jones committed any act alleged by the College in violation of his contract.

        12. And, in one more assault upon the rules of decency, Georgetown College, in an

attempt to quickly terminate Mr. Jones, very likely due to outside pressures and growing

evidence of a criminal conspiracy by two (2) women attempting to unlawfully defraud the




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
College, alleged that a consensual intimate relationship with a colleague was the purpose of his

firing because of the school's 'Christian values'. Unfortunately, this argument and position is a

red herring for two (2) separate but important reasons:

       First, Plaintiffs and their counsel have evidence that Georgetown College knew of Mr.

Jones' consensual relationship for more than eighteen (18) months prior to Jones' termination

and allowed for tacit approval of the same as the result of an economic decision, based on

Plaintiff Jones' successes in meeting, and in many cases, wildly exceeding fundraising and

enrollment goals that had been previously set by the Board of Trustees, during what can only be

described as the most tumultuous time in history for higher education. And, thus, the College,

with full knowledge of the relationship, looked the proverbial other way because of the financial
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impact Plaintiff Jones was having on the College and the community of Georgetown.




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           And second, as much Georgetown College wants to espouse its 'Christian values' a quote

from the illustrious and prolific author Voltaire comes to mind when considering such a bold

characterization of their institution, when he wrote, "The Holy Roman Empire was in no way

holy, nor Roman, nor an empire ... " The same is very much true of Georgetown College. It is

not, and has not been for some time, an institution of higher education that has been considered

to act, regularly, in a Christ-like manner.

           In fact, in 2005, the College cut ties with the Baptist Church with its President at the time

stating:

                  "From my point of view, it was about academic freedom," stated
                  President Crouch, "I sat for 25 years and watched my
                  denomination become much more narrow and, in terms of
                  education, much more interested in indoctrination." The New
                  York Times, Feeling Strains Baptist Colleges Cut Ties, July 22,




                                                                                                           Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                  2006.

           All of this was in response to the head of the Kentucky Baptist Convention, Dr. Hershael

W. York asking Georgetown College, one of the oldest and most-established Christian education

providers in the Commonwealth of Kentucky, to consider hiring a professor that would teach a

literal interpretation of the Bible ... an actual fundamental bedrock foundation of the Baptist

denomination. And for that simple request, Georgetown College, in what can only be described

as the beginning of a downward secular spiral, marked by a pattern of conduct over the last

seventeen (17) years that have led us to the point where the school now takes positions on social

issues that may be considered consistent with a biblical worldview. Yet at the same time,

Georgetown College is willing to subject an employee and his family to harm and injury, both

personal and financial, that reached levels equivalent to a public flogging and banishment from
                                                                                                           COM : 000012 of 000079




society because he himself is an accused sinner. He just happens to be one that should not be

given any grace, as his sins are deemed to weigh greater than the very blasphemy that now spews

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from this campus. 2 Thus, he should not be able to work, provide for his family, be present on

campus at any time even while his daughters are active students at the College (because of what

the College told students was an effort to protect them from violence), they are allowed to

permanently damage his children, and destroy their lives, and forever tarnish their family's

name. Yet, none o f the statements and allegations made by Georgetown College in their

numerous press releases and interviews given, that were viewed 457,433,146 unique times,

just on the top thirty (30) websites on Google alone, in a two (2) day period from 12:01 A.M.

on November 1, 2021 until 11:59 P.M. on November 2, 2021, were true. 3 Emphasis added. The

Executive Administration, the Board of Trustees, and Kappa Alpha Order fraternity effectively

created a living hell of lies and virulent hate on this self-proclaimed pious campus, that then

spread like the very fires from the inner circle of Dante's inferno, to the farthest reaches of the




                                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
earth, with one-sixteenth ( 1116 th) of the entire world's population being subjected to the

unabashed lies and falsehoods proclaimed by the College in just forty-eight (48) hours. For these

many reasons, Mr. William Jones, his wife, and his children have decided to file this lawsuit and

seek non-monetary, compensatory financial, and punitive damages from all Defendants named

herein.

                                                     PARTIES

          13. At all times relevant hereto, the Plaintiff, William Jones has resided in Georgetown,

Scott County, Kentucky.


2 From theCollege's own statement of Faith: "Faculty, staff and students are called to embrace their role in our
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community, which is characterized by God's redemptive grace for all people and traditions." Georgetown College
Website; www.georgetowncollege.edu, Statement of Purpose.
3
  Counsel used the 'internet archive' (https://archive.org) as a database resource and http://www.similarweb as
corroboration of web traffic to these pages on those dates and also took into account the daily average readership o f
these website front pages for the year 2021.

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         14. At all times relevant hereto, the Plaintiff, Amy R. Jones has resided in Georgetown,

Scott County, Kentucky and has been married to William Jones.

         15. At all times relevant hereto, the Plaintiff, Annalise Jones has resided in Georgetown,

Scott County, Kentucky and is the daughter of Plaintiffs William Jones and Amy R. Jones.

         16. At all times relevant hereto, the Plaintiff, Thomas Jones, Jr., has resided in

Georgetown, Scott County, Kentucky and is the son of Plaintiffs William Jones and Amy R.

Jones.

         17. At all times relevant hereto, the Plaintiff, Grace Jones has resided in Georgetown,

Scott County, Kentucky and is the daughter of Plaintiffs William Jones and Amy R. Jones.

         18. At all times relevant hereto, the Plaintiff, W.J. 11, a minor child, has resided in




                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Georgetown, Scott County, Kentucky and is the son of Plaintiffs William Jones and Amy R.

Jones.

         19. At all times relevant hereto, the Plaintiff, H.J., a minor child, has resided in

Georgetown, Scott County, Kentucky and is the daughter of Plaintiffs William Jones and Amy

R. Jones.

         20. At all times relevant hereto, the Plaintiff, A.J., a minor child, has resided in

Georgetown, Scott County, Kentucky and is the daughter of Plaintiffs William Jones and Amy

R. Jones.

         21. At all times relevant hereto, Defendant Georgetown College ("Georgetown College"
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and/or "College") was a private college, chartered in 1829 by the Kentucky General Assembly as

the first Baptist College west of the Appalachian Mountains, formally organized under the laws



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of the Commonwealth of Kentucky as a non-profit Kentucky corporation. Georgetown College

maintains its principal place of business at 400 East College Street, Georgetown, Kentucky

40324, and can be served with process through its registered agent for service of process, Mr. C.

David Wilhite, 400 East College Street, Georgetown, Kentucky 40324.

       22. The Defendant, the Board of Trustees of Georgetown College (the "Board" or "Board

of Trustees"), is an entity tasked with fiduciary oversight over Georgetown College including the

hiring and firing of the President of the College, serves as the College's fundraising arm, and is

responsible for setting the College's mission and institutional policy.

       23. Defendant Rosemary A. Allen ("Defendant Allen") is and was at all times relevant

hereto Acting President and/or President of Georgetown College, and authorized agent and/or




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
employee of the College, and a citizen and resident of the Commonwealth of Kentucky.


       24. Defendant Jonathan Sands Wise ("Defendant Wise") is and was at all times relevant

hereto Provost and Executive Vice President of Georgetown College, an authorized agent and/or

employee of the College, and a citizen and resident of the Commonwealth of Kentucky.

       25. Defendant John Davis ("Defendant Davis") is and was at all times relevant hereto

Senior Vice President of Advancement for Georgetown College, an authorized agent and/or

employee of the College, and a citizen and resident of the Commonwealth of Kentucky.

       26. Defendant Curtis Sandberg ("Defendant Sandberg") is and was at all times relevant

hereto Vice President of Student Life of Georgetown College, an authorized agent and/or

employee of the College, and a citizen and resident of the Commonwealth of Kentucky.
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       27. Defendant Sally Wiatrowski ("Defendant Wiatrowski") is and was at all times

relevant hereto Vice President for Business Operations of Georgetown College, an authorized

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agent and/or employee of the College, and a citizen and resident of the Commonwealth of

Kentucky.

       28. Defendant Robert L. Mills ("Defendant Mills") is and was at all times relevant hereto

Chairman of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       29. Defendant Granetta Blevins ("Defendant Blevins") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.

       30. Defendant Dave Adkisson ("Defendant Adkisson") is and was at all times relevant




                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.

       31. Defendant Dr. Bob Baker ("Defendant Baker") is and was at all times relevant hereto

a member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       32. Defendant Tucker Ballinger ("Defendant Ballinger") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.
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       33. Defendant Dr. John Blackburn ("Defendant Blackburn") is and was at all times

relevant hereto a member of the Board of Trustees of Georgetown College, an authorized agent

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and/or employee of the College's Board of Trustees, and a citizen and resident of the

Commonwealth of Kentucky.

       34. Defendant Tracey Clark ("Defendant Clark") is and was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       35. Defendant Sharon Clifton ("Defendant Clifton") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the State of Florida.

       36. Defendant John Cochenour ("Defendant Cochenour") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or




                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
employee of the College's Board of Trustees, and a citizen and resident of the State of

Washington.

       37. Defendant Nicole Collinson ("Defendant Collinson") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.

       38. Defendant Jane Cutter ("Defendant Cutter") is and was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       39. Defendant Kenny Davis ("Defendant Davis") is and was at all times relevant hereto a
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member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

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       40. Defendant Vickie Glisson ("Defendant Glisson") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.

       41. Defendant John Doe ("Defendant Doe") is and was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       42. Defendant William J. Houston ("Defendant Houston") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of




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Kentucky.

       43. Defendant Melanie Ladd ("Defendant Ladd") is and was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the State of Tennessee.

       44. Defendant David Lee ("Defendant Lee") is and was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       45. Defendant Mike Lukemire ("Defendant Lukemire") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the State of Ohio.
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       46. Defendant Missy Matthews ("Defendant Matthews") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

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employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.

       47. Defendant Judge Gerald Baker ("Defendant Baker") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.

       48. Defendant Michelle Pedigo ("Defendant Pedigo") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.




                                                                                                  Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
       49. Defendant Frank Penn ("Defendant Penn") is and was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       50. Defendant John Travis ("Defendant Travis") is and was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       51. Defendant Hon. J. Guthrie True ("Defendant True") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.
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       52. Defendant John Ward ("Defendant Ward") is and was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       53. Defendant Meocha Williams ("Defendant Williams") is and was at all times relevant

hereto a member of the Board of Trustees of Georgetown College, an authorized agent and/or

employee of the College's Board of Trustees, and a citizen and resident of the Commonwealth of

Kentucky.

       54. Defendant Sarah Wilson ("Defendant Wilson") is and was at all times relevant hereto

a member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.




                                                                                                  Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
       55. Defendant Norm Brown ("Defendant Brown") was at all times relevant hereto a

member of the Board of Trustees of Georgetown College, an authorized agent and/or employee

of the College's Board of Trustees, and a citizen and resident of the Commonwealth of Kentucky.

       56. Defendant Kappa Alpha Order - Social Fraternity is and was at all times relevant

hereto a national fraternal organization founded in December 1865 in the Commonwealth of

Virginia. The Beta Delta Chapter was founded on February 11, 1904, at Georgetown College. It

boasts one thousand two hundred and twenty-nine (1,229) alumni members. The national

organization currently has I 03 active chapters across the country on college campuses, 3

provisional chapters, and 53 currently suspended chapters (including the Beta Delta Chapter at

Georgetown College). Kappa Alpha Order was incorporated on April 5, 1907, under the laws of
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the Commonwealth of Virginia as a 'Non-Stock Corporation' and its principal place of business

and corporate offices are located at Mulberry Hill, 115 Liberty Hall Road, Lexington, Virginia


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24450-0000. The corporation's agent for service of process is Larry Stanton Weise, Executive

Director of the National Organization. The fraternity claims to have one hundred and fifty

thousand (150,000) initiated members nationwide. At all relevant times, there were four (4)

members of the Board of Trustees for Georgetown College that were alumni members of Kappa

Alpha Order; to wit: Defendant Tucker Ballinger, Defendant Kenny Davis, Defendant William J.

Houston, and Defendant Norm Brown. In addition, Board of Trustee member and Defendant,

Granetta Blevins, as discussed hereinbelow was the vocal suppo11 for Kappa Alpha Order on the

Board of Trustees, and is married to Al Davis, a Kappa Alpha Order Alumnus.

        Multiple individual Defendants withdrew pledged funding (in at least two (2) separate

instances, one million dollars ($1,000,000.00 in planned giving) to Georgetown College in

response to the disciplinary action against Kappa Alpha Order on the College's campus to




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
attempt to pressure the College to rescind the well-earned and deserved discipline from

Georgetown College.

                                   JURISDICTION & VENUE

        57. All Plaintiffs hereby adopt and reiterate each allegation set forth above as if fully set

forth herein.

        58. All the acts, omissions, and/or conduct of the Defendants complained of herein

occurred and/or were performed in the Commonwealth of Kentucky. However, the damage

caused by the defamation of the Plaintiff, and ultimate emotional and physical and financial

damages to Jones and his family occurred and were broadcast in every corner of the

Commonwealth of Kentucky, including all one hundred and twenty (120) counties via multiple
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state, national, and international news websites, social media, television, radio, and print media




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including in Franklin County, Kentucky. Further, the Defendant, Georgetown College was

created by legislative act of the Kentucky General Assembly, as such venue is proper.

        59. Also, venue is proper in this Com1 pursuant to Kentucky Revised Statutes § 452.450,

452.460, and all other applicable law.

        60. Jurisdiction lies in this Com1 pursuant to KRS § 23A.010 because this matter is not

vested in some other court and Mr. Jones has suffered damages in an amount exceeding the

jurisdictional limits of this Court and seeks recovery thereof herein.

                            FACTS PERTINENT TO ALL CLAIMS

        61. All Plaintiffs hereby adopt and reiterate each allegation set forth above as if fully set

forth herein.




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        62. Mr. Jones dedicated his entire life's professional pursuits to higher education. As

such, Mr. Jones, and ultimately his family, committed their lives over the last two (2) decades to

the goal of educating and training college students and bettering higher education throughout the

United States.

        63. At the time that he was aggressively recruited to become the twenty-fifth (25 th)

President of Georgetown College in June 2019, Mr. Jones had already spent three (3) years

working as the president of another small private liberal arts college in Bethany, Kansas and had

more than a decade worth of experience in executive and administrative governance from his

work for two (2) other colleges in Indiana and Georgia.                                                 COM : 000022 of 000079




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         64. Mr. Jones' commitment to hard work and his history of success in these prior

positions earned him undeniable respect within and outside his professional and personal

communities.

         65. After months of recruitment, negotiations, and an extensive interview process and

background-check, Mr. Jones was offered the position of President of Georgetown College by

the College's Board of Trustees.

         66. On June 28, 2019, Mr. Jones executed his employment agreement with Georgetown

College, and, on July 1, 2019, he formally assumed the position of President of the College.

         67. Early in his tenure, Mr. Jones believed that Georgetown College was an excellent fit

for both him and his family; professionally, Mr. Jones also felt his work as President for the




                                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
College represented a significant opportunity for him to continue to advance his long-term career

goals.

         68. While the first nine (9) months of Mr. Jones' term as President of Georgetown

College proceeded smoothly, in March of 2020, the arrival of a global pandemic brought

unprecedented challenge and uncertainty to the College, its students and faculty, and to Mr.

Jones as President, not to mention the world at large.

         69. But Mr. Jones remained steadfast in his work. Despite ongoing impacts of and crises

driven by the pandemic, federal and state government requirements instituted by the United

States President, the Governor of the Commonwealth, and the Kentucky State Legislature, Mr.

Jones, unbelievably helped lead Georgetown College forward by welcoming the then-largest
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incoming freshman class of students in the College's history in the Fall of 2020. Mr. Jones also

continued engaging with members of the community, the Commonwealth, and alumni


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throughout the world to help the College surpass its yearly fundraising goals; worked with state

and federal partners to secure millions of dollars in emergency funding and grants; and even

participated in negotiations with local financial institutions, including Fifth Third Bank to secure

their forgiveness of millions of dollars of the College's outstanding debt obligations on short-

term loans. As a result, Plaintiff Jones received two (2) stellar annual reviews by the Board of

Trustees; the second being just months prior to his termination.

       70. As 2020 slowly began to turn the calendar page to the year 2021, however,

Georgetown College and its leadership found themselves embroiled in a number of controversies

concerning student life on campus that would ultimately impact the Defendants' attitude

concerning Mr. Jones.




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       71. One particular incident occurred in the Fall of 2020 and involved Kappa Alpha Order

social fraternity that was the subject of a student-lodged complaint accusing the fraternity of

hazing, harassment, and other serious misbehavior inconsistent with Georgetown College's code

of conduct.

       72. During an investigation into the above referenced complaint regarding Kappa Alpha

Order's alleged conduct, a number of messages sent in a group messaging app by some members

of the fraternity were brought to the attention of campus authorities. In one such message thread,

communications were discovered that confirmed proof of the allegations of hazing, harassment,

and other prohibited conduct described in the complaint initially lodged against the fraternity.

       73. In addition, in multiple messages discovered in the investigation also included
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statements, suggestions, and/or depictions of racially motivated violence, racially and sexually

derogatory language and images, and some messages that even explicitly encouraged and/or


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applauded acts of sexual aggression and violence against Plaintiff, Annalise Jones, on

Georgetown College's campus.

       74. Mr. Jones' own daughter, who is adopted and of African American descent, was a

student at Georgetown College in the Fall of 2020, and was one of the specific female students

identified in the fraternity's sexually derogatory, disgustingly racist, aggressive, and/or violent

messages. The messages concerning his daughter deeply concerned and disturbed both Mr. Jones

and his wife, so much so that they considered reporting the issue to law enforcement before

deciding to allow the College's investigation to proceed instead.

       75. However, once Mr. Jones was made aware of the text messages concerning his

daughter, Mr. Jones made the decision to recuse himself from the ongoing investigative and




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disciplinary process concerning Kappa Alpha Order social fraternity and any of its members.

       76. Mr. Jones detailed the reasoning of his recusal to the administrators of the College

and the Board of Trustees, and he explicitly informed members of the Board of Trustees of the

sexually violent, abhorrently racist, derogatory, and explicit text messages against his daughter

via email when explaining his decision to recuse himself from the disciplinary process. In short,

Mr. Jones did not want his own emotions and position as a father of a threatened college student

to prejudice any decision made by Georgetown College.

       77. Upon information and belief currently within the possession of the Plaintiffs and his

undersigned counsel, Defendant Blevins and Defendant members of the Board of Trustees,

received the email wherein Mr. Jones explained the reason for his recusal was the text messages
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that had been uncovered which explicitly encouraged and/or applauded acts of sexual aggression




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and violence against his daughter, and at all times relevant hereto Defendant Blevins led multiple

Board of Trustee members to act with full knowledge of that fact.

       78. As a direct result of his recusal, Mr. Jones was not involved in the decision-making

process concerning the nature or extent of the discipline to be meted out to either the fraternity or

specific members of the fraternity. But, as President of Georgetown College, Mr. Jones believed

it was impo1tant to publicly suppo1t the disciplinary actions and decisions being made by the

administrators in charge of the investigation and disciplinary process.

       79. Although significantly beyond their operational mandate as Georgetown College's

Board of Trustees, multiple members of the Board were in fact vocally in opposition of any

potential and eventual discipline delivered to the fraternity and a number of its members and, on




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
multiple occasions, actively attempted to interfere in the disciplinary process.

       80. In fact, many influential members of the Board with close personal, collegiate, or

familial ties to Kappa Alpha Order social fraternity were absolutely enraged about the

disciplinary actions taken, and they eventually took that rage out on Mr. Jones.

       81. Defendant Blevins and multiple members of the Board of Trustees were among the

group of individual board members with close personal, collegiate, and/or familial ties to Kappa

Alpha Order social fraternity, did not support the disciplinary process or actions taken, and were

outraged with Mr. Jones over discipline received by the organization for hazing pledges and

threatening to sexually assault and gang rape female students including the President's very own

daughter.
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       82. These members of the Board, led by Defendant Blevins and multiple other members

of the Board of Trustees, repeatedly demanded that Mr. Jones take steps to reverse the


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disciplinary decisions made by the administrators in charge of the investigation and disciplinary

process and then, in a shocking example of tone deafness to the world surrounding them and the

reality of the violent, racist, and sexual threats made by members of Kappa Alpha Order social

fraternity members, demanded that Mr. Jones personally make amends with the fraternity and/or

its members and alumni.

       83. This influential group of disgruntled Trustees, led by Defendant Blevins, allowed

their rage over Mr. Jones' refusal to acquiesce to their demands, and their own conflicts of

interest, to develop into personal vendettas against Mr. Jones. These vendettas would undergird

a year's worth of meddling by certain members of the College's Board of Trustees in day-to-day

administration of the College, a year's worth of retaliation against Mr. Jones and, eventually, the

motivating factor for some of the Board members' malicious, intentional, and wrongful conduct




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to ultimately terminate Mr. Jones and then provide slanderous and libelous statements regarding

Mr. Jones to the furthest reaches of the globe.

       84. Defendant Blevins led a group of Board of Trustee members to initiate a malicious,

intentional, and targeted campaign against Mr. Jones for the sole purpose of inflicting severe

emotional and mental distress upon him; all while knowing that Mr. Jones' own daughter was the

target of racist, violent, sexually derogatory and sexually aggressive comments of members of

this fraternity and, continued with this plan despite knowing how those text messages created a

fear in Mr. Jones and his wife over the safety of their daughters on the campus of Georgetown

College .

       85. In September of 2021, Georgetown College and a number of administrative staff
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and/or faculty members were named as party-defendants in a highly publicized lawsuit brought

by a former student following her violent attack and rape while on campus in 2018. The student's

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lawsuit alleged the College failed to take adequate steps to protect her and prevent the attack in

the first place, and further accused the College and its administrators of creating a hostile

environment by attempting to si Jenee her after it became aware of her attack. These were

allegations that Mr. Jones would not have believed to be true at the beginning of his term as

President. But after, experiencing the incredibly awful and despicable treatment of his own

family by these same Board members, Mr. Jones could understand the reasoning and logic

behind the accusations. It must be noted that the incident that injured this female student (who

will intentionally remain nameless to respect her privacy) happened more than a year before

Plaintiff Jones and his family ever arrived in Georgetown, Kentucky for him to assume the role

as the College's next President.

        86. The lawsuit brought significant attention and scrutiny to Georgetown College, its




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Board of Trustees, administrators, faculty, and staff. And it left the College and its Board on high

alert for any development or allegation that might renew that same level of scrutiny including, in

particular, allegations concerning sexual misconduct, regardless of whether those allegations

were true or false.

        87. In summary, by Fall of 2021, Mr. Jones had descended out of favor with ce11ain

influential members of the Board of Trustees, while both the Board and the College were under

continued intense scrutiny.

                              The False Allegations o[Sexua/ Assault


        88. As President of Georgetown College, Mr. Jones regularly traveled within and outside
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of the Commonwealth to conduct the business of the College, sometimes alone and sometimes

with other members of the College's Executive Cabinet, faculty, and/or Board of Trustees.


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        89. One such trip provided a backdrop for false allegations of sexual assault and/or

harassment levied against Mr. Jones by Hanna Kroskie, a now former employee of Georgetown

College.

        90. Specifically, on October 18, 2021, Mr. Jones and Ms. Kroskie, traveled together to

Indianapolis, Indiana, to attend a black-tie fundraising event on the College's behalf.

        91. Hanna Kroskie had never traveled with Mr. Jones on behalf of the College to a

function before but Christy Mai, a colleague of Mr. Jones', specifically recommended that he

take Ms. Kroskie on this trip.

        92. Mr. Jones and Hanna Kroskie rode to and from the event together in the President's

vehicle, but their hotel accommodations were entirely separate and booked in advance by an




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
assistant to Mr. Jones.

        93. On the evening of October 18, 2021, and over the course of three (3) or four (4) hours

at the gala, Mr. Jones had minimal alcoholic beverages while socializing and at dinner.

        94. After the event concluded, and the pair agreed that the event was wildly successful

evening of donor relations and fundraising, Mr. Jones and Ms. Kroskie felt they had earned

themselves a "night-cap" drink at their hotel, which was completely separate and miles apart

from the event that they had attended. In fact, they saw no individuals that had been at the event

after returning to their hotel.

        95. Upon arriving at their hotel, Mr. Jones and Ms. Kroskie got a drink from the bar in

the lobby and spent the next few hours chatting amongst themselves and with others over a few
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additional drinks.



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        96. By the time the hotel bar had closed for the evening, Mr. Jones believed he had

possibly overindulged and needed to retire to his room.

        97. Mr. Jones and Ms. Kroskie left the hotel lobby for their separate rooms at the same

time but, because the alcohol was impacting his balance, Ms. Kroskie helped Mr. Jones to his

room, with both parties laughing and joking down the hallway. When Mr. Jones entered his own

hotel room, he promptly fell backwards onto the bed, fully clothed in his tuxedo at all times,

before falling asleep.

         98. Mr. Jones specifically recalls that Ms. Kroskie was thoughtful enough to leave a

bottle of water in his hand before she freely and voluntarily exited his room without incident.

         99. The morning after the event, Mr. Jones and Ms. Kroskie traveled back to




                                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Georgetown, Kentucky, together in the President's vehicle.4 On their drive back, Mr. Jones

recalls that he and Ms. Kroskie discussed the success of their evening the night before and

eventually stopped at a restaurant for lunch before arriving back in Kentucky. During their ride

home and their meal stop, both parties acted comfortably, carried on very casual conversations,

and joked about how successful the trip had been. While at a lunch stop, Ms. Kroskie actually

offered her leftover appetizer, a twice baked potato wedge to Mr. Jones.

         100. After arriving home on the afternoon of October 19, 2021, and after Mr. Jones and

Ms. Kroskie had already returned from their trip, Ms. Kroskie sent Mr. Jones a text message

stating "[t]hanks for inviting me! Cheers to a successful visit" During the course of this brief
                                                                                                                        COM : 000030 of 000079




4 lt must be noted that Ms. Kroskie's family lives just one hundred and twenty (120) miles from Indianapolis in Fort
Wayne, Indiana. If she feared for her safety and wellbeing as she untruthfully has claimed multiple times, she could
have very easily contacted her mother and fathc:;r to come and retrieve her from the Indianapolis hotel. Prior to Ms.
Kroskie making the false accusations against Plaintiff Will Jones, nearly two (2) weeks later, her parents drove 185
miles to pick her up and take her back to Fort Wayne, Indiana.

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conversation, initiated by Hanna Kroskie, Mr. Jones also asked for and received his colleague's

consent to "tag" her in a picture from the event that was going to be posted on the College's

social media page. That photograph was subsequently posted.

          101. After the October 18, 2021, gala event in Indianapolis, Indiana, Mr. Jones and Ms.

Kroskie comfortably worked alongside each other and with their co-workers at various College

events.

          102. Sometime, either prior to or after the October 18, 2021, trip to Indianapolis,

unbeknownst to Mr. Jones, Hanna Kroskie and Ms. Christy Mai, a colleague at the College with

whom Mr. Jones later admitted to having a multi-year consensual intimate relationship that

predated his time at Georgetown College, concocted a plan to enrich themselves by falsely




                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
accusing Mr. Jones of sexual harassment with the goal of eventually pursuing fraudulent

allegations of sexual assault, sexual harassment, and sexual misconduct against Mr. Jones and

the College to obtain a large settlement. 5

          103. Prior to Mr. Jones becoming aware of any potential false allegations against him by

Hannah Kroskie and Christy Mai, Ms. Mai recommended Ms. Kroskie for a promotion to Mr.

Jones and further suggested that Ms. Kroskie's promotion should come with a pay raise and a

vehicle, provided by the College.

          I 04. On Saturday, October 30, 2021, Mr. Jones, his wife, Plaintiff Amy R. Jones, and

Christy Mai met for dinner. At this dinner, Mr. Jones learned, for the first time, that Hanna
                                                                                                                   COM : 000031 of 000079




5 Ms. Kroskie and Ms. Mai attempted to recruit other individuals, including Mr. Jones' own wife to join in their

conspiracy to defraud Georgetown College. Those conversations, while at times in person, were also in hidden
group text/chat messages that Mrs. Jones preserved once she became leery of the actions and behaviors of this
devious pair and their plans. In one such exchange on her front porch, Ms. Mai told Mrs. Jones that if she would
join their efforts, neither o f them would "ever have to work another day in their life".

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Kroskie had falsely accused him of sexually assaulting her on the October 18, 2021, trip to

Indianapolis, Indiana.

        I 05. During this dinner, Christy Mai falsely accused Mr. Jones of sexually harassing her

as well, and further disclosed her own intent as well as Hanna Kroskie's desires to mutate those

false allegations into a civil lawsuit against the College to wrongfully receive settlement

payments.

        106. Upon information and belief, sometime on or near October 30, Hanna Kroskie

traveled back to Indianapolis to file a false report of sexual assault and/or harassment against Mr.

Jones with the Indianapolis Metropolitan Police Department, prompting an investigation into the

allegations by that department.




                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        107. At no time prior to October 30, 2021, was Mr. Jones aware of any allegations or

potential allegations against him for sexual assault and/or harassment from any person at any

time in his life.

        I 08. An important fact regarding Mr. Jones and Ms. Mai relationship is that while they

were involved in a long-term intimate relationship with each other during their time at

Georgetown College, that relationship was provably consensual and both Mr. Jones and Christy

Mai were willing participants in this relationship. This characterization of the relationship is

evidenced by literally thousands of texts, social media, and e-mail messages and communications

exchanged between the parties, including unsolicited nude pictures from Ms. Mai to Mr. Jones,

as well as perverse language and constant sexual innuendos sent by Ms. Mai during their
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relationship. In addition, Plaintiff Will Jones and his counsel are in possession of evidence that

Ms. Mai surreptitiously and, perhaps unlawfully, used her own mother's credit card to further


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fuel this relationship with extended trips and gifts. In addition, at the time Mr. Jones was

terminated by Georgetown College, Mr. Jones and his wife, Plaintiff Amy R. Jones, had

physically separated and were planning on a dissolution of marriage, having already discussed

the division of property and timesharing with their six (6) children.

        I 09. Christy Mai eventually pleaded with Mr. Jones to actually help her in her efforts to

obtain a hefty financial settlement or six-month severance package from the College by lying

about the consensual nature of their relationship and have him take the proverbial fall on her

behalf. On the morning of October 31, 2021, through the course of several hours, and nearly a

dozen telephone calls from Ms. Mai, she quite clearly alluded to the fact that she desired for

Plaintiff, Mr. Jones to be untruthful in his response to a potential wrongful and fraudulent lawsuit

she planned on filing against Georgetown College, in an effort to receive at least a six (6) month




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
severance package.

        110. Hanna Kroskie and Christy Mai's allegations of sexual assault and/or harassment

against Mr. Jones are, unequivocally, false and no evidence has ever been put forth to

substantiate their claims. In fact, the allegations of Ms. Kroskie, included in her falsified and

perjured police report to the Indianapolis authorities, were summarily dismissed as untrue and

Mr. Jones was 'exceptionally cleared' of all charges and allegations that allegedly happened

during the October 18, 2021, trip to Indiana by the parties.

        111. These allegations were concocted by Christy Mai and Hanna Kroskie as a part of a

larger scheme, years in the making by Ms. Mai, for the purpose of pursuing fraudulent

substantial financial gain at the expense of any institution of higher education at the eventual ruin
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of Mr. Jones, his personal and professional reputation, his ability to provide for his family

financially and emotionally, and to destroy the lives of everyone within Mr. Jones' life's orbit.

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At one point, during a private communication on October 30, 2021, Ms. Mai inquired as to the

viability, enforceability, and amount of Mr. Jones' insurance policies on his life, which she later

used in the same conversation as her impetus and reason to encourage Mr. Jones to end his life.

All the while, Ms. Mai was scheming behind Mr. Jones' back to use the proceeds of his life

insurance, after his timely death, to provide for her, her children, and Mrs. Jones, and her

children. This was clearly a diabolical and disgusting plan that was hatched by a person that is

emotionally and mentally unstable and did not ever care for the wellbeing of Mr. Jones.

       This was not the first time that Ms. Mai had threatened Defendant William Jones with

litigation when she became angry and jealous with him. In one instance, evidenced by dozens of

text messages sent from Ms. Mai in fast, successive, order after l :00 A.M., all within the

possession of Plaintiffs and counsel, Ms. Mai threatened to "Me Too" Plaintiff William Jones




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and that she would seek the assistance of other individuals to help her in her cause. This was a

threat that became all too relevant months later when Ms. Mai actually did just that and went so

far as to recruit Ms. Kroskie and even Defendant William Jones' wife to participate in the

lawsuit. An offer that was declined by Plaintiff Amy R. Jones.

       In addition, it must be noted, that Plaintiff William Jones was but one of numerous

individuals that Ms. Kroskie wrongfully accused of sexual assault and harassment including the

seventy plus (70+) year old wife of the Board of Trustees for Georgetown College, Bob Mills.

                         Defendants' Reaction to the False Allegations

        112. After becoming aware of Hanna Kroskie and Christy Mai's plan to falsely accuse
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him of sexual assault and/or harassment for monetary gain, Mr. Jones became increasingly




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concerned about the impact of those allegations not only on his own life and family but also

Georgetown College.

       113. On October 31, 2021, Mr. Jones requested an emergency meeting with Defendant

Bob Mills, the Chairman of the Board of Trustees, as well as Defendant J. Guthrie True, a Board

of Trustees member, to inform them of the false allegations against him and of his consensual

but regrettable relationship with Christy Mai.

       114. During this October 31, 2021, meeting, Mr. Jones was advised by Defendant Mills

that Mills had already received an "email complaint". He later informed Mr. Jones that this

complaint involved and was submitted by Ms. Kroskie. Upon information and belief, Christy

Mai, who had already told Mr. Jones of her plan to falsely accuse him of sexual assault and/or




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harassment to obtain a substantial financial settlement from the College, was the actual true

author of the "email complaint" concerning the false allegations of Ms. Kroskie that were sent to

Defendant Mills.

       115. On November 1, 2021, Mr. Jones was again extensively questioned by multiple

attorneys for the College about the false allegations and his consensual relationship with Christy

Mai.

       116. On November 1, 2021, the Executive Committee of the Board of Trustees voted to

terminate Mr. Jones' contract of employment with Georgetown College. The decision of the

Executive Committee was subsequently affirmed by the full Board within as little as twenty-four

(24) hours after receiving the false accusations against Mr. Jones.
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        117. On November 2, 2021, Mr. Jones received an email from Attorney Cynthia Doll,

outside counsel for the College, notifying him of the Board of Trustees' decision to terminate his


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employment as President of the College. In this email, Mr. Jones was advised, among other

things, that he was prohibited from contacting any member of the Board or any faculty, staff,

employee, agent, contractor, donor, or student at the College, other than his own children who

attended Georgetown College. Mr. Jones was also advised that he was prohibited from entering

upon the College's premises or from attending any College event including any events which his

daughters were participating in, that he had just four (4) hours to surrender keys to the President's

home, which he and his family would need to immediately vacate, and that he and his family

were required to move an entire home full of their belongings, including the thousands of pounds

of medical equipment and supplies for Mr. Jones' son, Thomas Jones, Jr., a Plaintiff herein, who

was required at the time to have dialysis and ongoing treatment at home due to a rare disease that

detrimentally affects the human kidneys. It was a cruel and unnecessary requirement of all of the




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Plaintiffs who were in no way prepared for such an unconscionable demand without warning. In

addition, the representatives of Georgetown College that demanded the family immediately leave

the President's residence also demanded and bullied Mr. Jones to take down and delete all of his

social media accounts or face possible legal action.

         Defendants Publish False and Defamatory Statements Concerning Mr. Jones

        118. On November 2, 2021, the College, by and through Defendant Rosemary Allen, who

was then 'Acting' President of the College, published the following statement, in relevant part,

via email to the "Campus Community" including al/ "Faculty, Staff, and Students":

       I need to share some painful news with you today. The following press release will
       shortly be released to the media:
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               The Board of Trustees of Georgetown College terminated the
               employment of William A. Jones as president of the College
               effective Monday, November I. Dr. Rosemary Allen, the College's


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                 Provost, was named Acting President by the College's Board of
                 Trustees.

                 On Sunday afternoon, October 31, the College was informed of
                 allegations of a sexual assault of a female College employee,
                 inappropriate behavior with another female employee, and other
                 conduct in violation of Jones's employment agreement with the
                 College. The College took immediate steps to investigate the
                 allegations. The College has engaged outside counsel to continue
                 the investigation.

                 Chairman of the Georgetown College Board of Trustees, Robert L.
                 Mills, called a meeting of the Executive Committee of the Board for
                 Monday morning, November 1. 6 The committee took immediate
                 action to dismiss Jones. The full Board of Trustees affirmed the
                 action of the Executive Committee at a meeting later on Monday.

                 Chairman Mills provided the following statement: "Georgetown
                 College does not tolerate violence or misuse of authority. We hold
                 our administrators, students and faculty to the highest standards of
                 moral and ethical conduct. We are surprised and deeply




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                 disappointed by what we have learned. We will suppo It the
                 members of our Georgetown College family who are directly
                 impacted, and we will work cooperatively with ongoing or any
                 future investigations .... "

I urge you to pray for those that have been hurt and for the College during this time. While
we all may need to deal with feelings of grief and disappointment, it is also important that
we recognize that the College is NOT the president. ... "7

         119. The aforementioned statement was subsequently published by GeorgetownCollege

on its official website, the content of which remains in unaltered form on that website to this

day.8




6
  Mr. Jones had not even been interviewed regarding the allegations at the time of the meeting of the Executive
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Committee. There had been no investigation and no findings and there had never been any notice provided to Mr.
Jones o f his rights to defend himself.
7
  A true and accurate copy o f Defendant Rosemary Allen's November 2, 2021, email is tendered herewith as
"Exhibit A". (Bolding in original, italics added)
8 See Georgetown College Website: www.georgetowncollege.edu/news/statement-board-trustees. Statement of
the Board ofTrustees, RECENT NEWS, (Nov. 2, 2021).

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       120. Neither Georgetown College nor the Board of Trustees engaged in a proper

investigation of the sexual assault and/or harassment allegations levied against Mr. Jones in

accordance with Title IX of the 1972 Education Amendments pursuant to 34 CFR I 06.45, prior

to publishing the November 2, 2021, statement quoted above.

       121. However, in another shocking display of lack of genuine decency, non-existence of

knowledge of the relevant law, and the Defendants' entire disregard for the Plaintiffs' rights,

protected under the 1892 Kentucky Constitution, Section 2; the United States Constitution,

including violating his Fifth and Fourteenth Amendment rights; the violation of common law

contract law and precedent that have been the foundation of modern societies since the signing of

the Magna Carta in 1215 A.D.; their Civil Rights under 42 U.S.C 1983; and additional state and

federal laws, representatives of Georgetown College actually voluntarily notified dozens of news




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media outlets on November I, 2021 of Mr. Jones' termination, accusations of sexual misconduct

that were later found to be untrue, accusations of sexual harassment that were part of devious

plan of another employee of the College, and went one step further stating that Mr. Jones was

also removed for "other violations of his employment contract with the College". This additional

language essentially intimated that if Mr. Jones' alleged sexual misconduct could be reported

that the 'other violations' must be even worse if they could not be discussed in detail.

        122. If the Defendants had taken any time to investigate the allegations levied against Mr.

Jones by Hanna Kroskie and Christy Mai, Defendants would have uncovered evidence including

documentary evidence which not only refuted these preposterous allegations, but which also

would have revealed Hanna Kroskie and Christy Mai's scheme to financially benefit from the
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false allegations they had concocted against Mr. Jones.




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        123. Instead of proceeding with reasonable investigatory proceedings and with due care

and caution, the College, its Board, and the individual Defendants named herein, rushed to

judgment, only to then rush to the metaphorical printers to repeat and spread the false allegations

against Mr. Jones far and wide.

        124. In every statement made by the College from the late evening of October 31, 2021,

to November 2, 2021, by the College, the Board, and/or various individuals associated therewith

identified Mr. Jones by name.

        125. The College's press releases and publications repeated the false and defamatory

allegations against Mr. Jones with either knowledge of the lack of veracity of the allegations or,

at the very least, with reckless disregard for the truth of the matters asserted in their statements,




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and in total disregard for the substantial likelihood of harm and damage that would likely result

to Mr. Jones, his wife, and their children. The content of each press release, interview, and

publication breathed credibility into the utterly false allegations by communicating that Mr.

Jones was a sexual predator, violent, abused or misused his authority, and that he had literally

harmed or hurt others. All of which was untrue.


        126. The Defendants' press releases, interviews, and publications from October 31, 2021,

to November 2, 2021, made no mention of Mr. Jones' denial of the allegations, nor did it mention

the allegations were completely unsubstantiated at the time of the statements on those days.

        127. The Defendants' press releases, interviews, and publications from October 31, 2021,

to November 2, 2021, gave every reader exposed to the information from Georgetown College
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and its agents and representatives, complete license to conclude that Mr. Jones was a criminal, a




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threat to the safety of others, and unfit for employment for want of requisite ethical and moral

standards.

        128. Through knowledge and belief, the Plaintiffs aver that hours before Mr. Jones' actual

firing, and prior to at least 2:00 A.M. Eastern Time on November 1, 2022, Georgetown College

by and through its agents, provided a press release to dozens and dozens of the largest news

outlets in the Commonwealth, the United States, and even the world decrying the behavior of

Mr. Jones and labeling him as a violent and dangerous sexual predator. Of the first thirty (30)

on line news outlets, found on the first page of a Google search for the keywords 'Georgetown',

'College', 'President', and 'fired' alone, that reported the firing of Mr. Jones between the time of

 12:01 A.M. on November l, 2021 up to 11 :59 P.M. on November 2, 2021 alone, a mere forty-

eight (48) hours, there were, at a minimum, 457,433,146 unique visitors to the front homepages




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of these on line news outlets where headlines of the firing of Mr. Jones were highlighted. Just on

those online news outlets, including one page entitled 'Academic-Sexual-Misconduct-

Database.org', and another titled 'Inside Higher Education', there were nearly HALF A

BILLION impressions and unique visitors that would have seen the headlines related to Mr.

Jones. This does not account for radio, tv, social media, or print media articles that were prolific

in the early days of November 2021 with articles about Mr. Jones' firing. In just two (2) days,

one-sixteenth (1116th) of the world's population had the story of Mr. Jones' sexual predatory

nature, harassment, and sexual assaults curated and presented to them through just thirty (30)

online news sites. The total damage done to William Jones and his family due to this

preposterous and mind-blowing act of utter lack of decency is literally unfathomable and
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 impossible to properly quantify for the Court.




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         129. The unreasonable November 2, 2021, publication of false and defamatory statements

by the College, the Board, and/or the individual Defendants caused irreparable reputational,

professional, and emotional harm to Mr. Jones, his wife, Amy, and each of their children. And

while it was just the first of Defendants' acts which assassinated the personal and professional

reputation and character of Mr. Jones, it would not be the last that they perpetrated against him.

         130. After the Defendants' November 2., 2021, publication suggesting Mr. Jones was a

sexual predator, a criminal, unfit for employment, and a threat to society was published on the

College's website and to the College's students, faculty, and staff, local and national media

outlets recklessly parroted the salacious and false allegations against Mr. Jones and Defendants'

malicious characterizations of him in story after story.




                                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
         131. In one example, Lexington-based news outlet Lexi 8 posted a story concerning the

false and defamatory allegations of sexual assault against Mr. Jones and re-printed Defendant

Mills' initial defamatory statements by 2:41 p.m. on November 2, 2021. 9

         132. By 4:42 p.m. on November 2, 2021, national media outlet The Daily Beast published

a story containing Mr. Jones' photograph to the "Crime & Justice" section of its website. 10

         133. In The Daily Beast a1ticle, Defendant Jonathan Sands Wise is quoted as stating the

whole ordeal involving Mr. Jones was "sudden" but did clarify the Board of Trustees and

College acted to terminate Mr. Jones "without complete knowledge" of all facts so as "to protect


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9
  Jordan Mickle, Georgetown college President fired after sexual assault allegations, other 'inappropriate behavior',
lex 18 .com (Nov. 2, 2021, 2 :41 P.M.) https://www. lex 18 .com/news/georgetown-col lege-president-fired-after-sexual-
assault-allegation-other-inappropriate-behavior.
10 AJ McDougall, Christian College President Fired Over Sexual Assault, Inappropriate Behavior Allegations, The

Daily Beast (Nov. 2, 2021 4:42 P.M.) https://www.thedailybeast.com/kentucky-georgetown-college-president-
william-a-jones-fired-over-sexual-assault-allegation.

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those who are vulnerable," and further quotes Defendant Sands Wise as declining to elaborate

on the (later to be found to be false) allegations out of "respect for 'those hurt' by Jones." 11

                134. The Daily Beast a11icle also quotes the November 2, 2021, statements of Defendant

Mills published to Georgetown College's website, including Defendant Mills' defamatory

 statements suggesting Mr. Jones was violent, lacking requisite ethical and moral standards, and

misused or abused his authority. 12

                135. On November 5, 2021, a statement by Defendant Jonathan Sands Wisc on behalf of

Georgetown College's faculty concerning the termination of Mr. Jones' and which referenced,

whether directly or indirectly, the sexual assault and/or harassment allegations levied against Mr.

Jones was quoted in an article published by the The Georgetonian.




                                                                                                              Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                136. The Georgetonian article quoted Defendant Sands Wise as affirming, on behalf of

Georgetown College, the faculty's "suppo11 of survivors of sexual assault within our campus

community," its "commit[ment] to the work of fighting against sexual violence," and identifying

the "safety of [the College's] students, staff, and faculty to be of the utmost importance."

 Defendant Rosemary Allen, on behalf of the College, is also quoted in the article as being "in full

support of the statement crafted by the faculty" which, again, placed Mr. Jones in a false and

negative light by suggesting he was a criminal, a sexual predator, violent, and a threat to those on

the College's campus.13

        137. The named Defendants did not confine their defamation and efforts to malign Mr. Jones'

                 character to media publications. In the days and weeks following Mr. Jones' termination,     COM : 000042 of 000079




11
     & (Emphasis Added)
12 See.!..g_,

13 See Isabella Beck, College Community Reacts to Dismissal of President, The Georgetonian, (Nov. 5, 2021),
https://www.georgetonian.wordpress.com/2021/ll/OS/the-dismissal-of-president-william-jones-a-word-from-dr-
allen-and-faculty.

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Georgetown College hosted staff and faculty meetings where Mr. Jones' was described by

Defendant Sands Wise, Defendant Allen, and/or other authorized agents and/or employees of the

College and/or the Board of Trustees as a sexual offender, a criminal, violent, disgraceful, and/or

aggressive.

        138. During one or more of these meetings, Defendant Sands Wise falsely told faculty

and/or staff that the College and/or Board of Trustees had "documented" instances of Mr. Jones'

"anger issues." Upon information and belief, these false claims of "documented" anger issues

were maliciously fabricated by disgruntled individual members of the Board of Trustees as a

result of Mr. Jones' refusal to relent to their efforts to meddle in the day-to-day administration of

the College including Mr. Jones' rejection of their repeated demands to reverse the disciplinary

action taken against Kappa Alpha Order social fraternity and a number of its members.




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                        Mr. Jones' Vindic(lfion (Ind Irrep"r"b/e Damage

        139. No later than January 6, 2022, the Indianapolis Metropolitan Police Department

had concluded its investigation into the repott filed by Hanna Kroskie falsely alleging sexual

assault and/or harassment by Mr. Jones during the October 18, 2021 trip.

        140. That investigation cleared Mr. Jones of any wrongdoing and resulted in the closing

of Hanna Kroskie' s complaint. In fact, an official with the Marion County, Indiana, Prosecutor's

Office was interviewed by Lexi 8 on February 18, 2022, and, in no uncertain terms, declared that

the evidence arising out of the investigation into Hanna Kroskie's complaint "did not support           COM : 000043 of 000079




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criminal charges" against Mr. Jones. Yet, this small bit of vindication was buried in an article

that focused on Ms. Mai's frivolous and false claims against Mr. Jones. 14

         141. In addition, the fact that Mr. Jones was vindicated and cleared of criminal conduct

by independent arbiters and officials did nothing to reverse the harm and damage inflicted upon

Mr. Jones by Defendants, who had already convicted him in the eyes of the local community and

nation through their repeated false and defamatory statements concerning and characterizing Mr.

Jones.

         142. By the time Mr. Jones had been cleared by investigators of any criminal conduct or

wrongdoing, Defendants, individually and collectively, had already repeatedly, unreasonably,

internationally and/or recklessly, published numerous false statements to third parties labeling

Mr. Jones as, or insinuating Mr. Jones was, a sexual predator, a criminal, violent, aggressive, a




                                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
threat to the safety of others' including vulnerable individuals, abusive of his authority, and unfit

to perform his job.

         143. Defendants' false and defamatory statements were intended to be understood as an

indictment of Mr. Jones' character, reputation, and morality and they were, in fact, understood as

intended, as evidenced by Georgetown College students who were interviewed by WTVQ for an

aiticle published on November 3, 2021, regarding their reactions to the communications of

Defendants regarding Mr. Jones and the circumstances surrounding his termination. 15




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   Jordan Mickle, Woman Claims Former Georgetown College President Sexually Harassed Her For Years in
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Lawsuit, Lexl 8.com (February 19, 2022, 12:29 P.M.) https://www.lexl8.com/news/lex-18-investigates/woman-
claims-former-georgetown-college-president-sexually-harassed-her-for-years-in-lawsuit.
15 Danielle Saitta, Georgetown Students React to Dismissal o f President William Jones, WTVQ (Nov. 3, 2021 ),

https://www.wtvg.com/georgetown-students-react-to-dismissal-of-president-william-jones. In the article, one
student stated the news regarding Mr. Jones made her fearful for her own safety; another student asserts "Whenever
your own president does something like that its kind of like the feeling o f safety is almost taken away ... "

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        144. Defendants' wrongful conduct subjected Mr. Jones and his family to public hatred,

contempt, scorn, and shame, all of which continue to this day.

        145. Although Mr. Jones has been cleared of all criminal wrongdoing and moreover, the

College and/or Board of Trustees has failed to uncover even a single iota of evidence

substantiating the allegations made by Hanna Kroskie, the College; the Corporate Board of

Trustees; and the individual Defendants herein continue to malign, defame, and shine a false and

negative light on Mr. Jones, compounding the damage their wrongful conduct had caused.

        146. Mr. Jones continues to be prohibited from entering upon the premises of

Georgetown College despite the fact he has two (2) children enrolled in Georgetown College

and, as a result, has been deprived of the opportunity to attend his children's on-campus functions

and events.




                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        147. Recently, when Mr. Jones sought permission from the Board of Trustees and/or the

College to enter upon campus for the limited and discrete purpose of assisting his children in

moving out of their on-campus housing, the Board and/or College refused without explanation.

This intentional, continued, and unjustifiable exclusion of Mr. Jones from campus for any

purpose whatsoever not only continues to give weight to Defendants' wrongful labeling of Mr.

Jones as a dangerous, violent, sexual predator and criminal, it is also specifically intended to

cause and does in fact cause Mr. Jones severe mental and emotional distress, anguish, and pain.

        148. Beyond the severe mental and emotional damage wrought by Defendants as a result

of the egregious conduct described herein, Mr. Jones has also suffered extensive and permanent

damage to his personal and professional reputation.
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          149. As a direct and proximate result of Defendants' actions that have placed Mr. Jones

in a false and negative light and of Defendants' defamation of Mr. Jones, Mr. Jones' career in

higher education is now over, thereby depriving Mr. Jones and his family of millions of dollars

in future income they reasonably expected to receive and permanently impairing Mr. Jones'

ability to secure gainful employment in the future.

          150. As a direct and proximate result of the Defendants' wrongful conduct, Mr. Jones, his

wife, and his children are entitled to recover compensatory damages for the severe mental and

emotional distress, anguish, pain and suffering, humiliation, embarrassment, and financial loss

they have sustained and will continue to sustain.

          151. Furthermore, because Defendants' untruthful and disturbing statements concerning




                                                                                                          Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Mr. Jones were published without privilege or other lawful justification and with an improper

motive, with ill will and out of spite, with the intent to cause Mr. Jones, his wife, and his children

harm, with blatant disregard of the substantial likelihood that such harm would result, Mr. Jones,

his wife, and each of his children are entitled to recover punitive damages from each Defendant,

jointly and severally, to dissuade and deter Defendants from behaving similarly in the future.

              COUNT ONE THROUGH THREE-DEFAMATION PER SE
      Defendant Bob Mills, Defendant Jonathan Sands Wise, Defendant Rosemary Allen

                                             COUNT ONE
                                          Defendant Bob Mills

          152. All Plaintiffs adopt and reiterate each allegation set forth above as if fully set forth

herein.
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          153. At all times relevant, Defendant Bob Mills was the acting Chairman of the Board of

Trustees for Georgetown College; Defendant Jonathan Sands Wise was the acting Provost and


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Executive Vice President of Georgetown College; Defendant Rosemary Allen was the 'Acting'

President of Georgetown College, and the members of the Board of Trustees were the legislative

body of the College that made all policy decisions of the College. Each of these Defendants,

either individually in their professional or personal statuses acted, or as a corporate entity, acted

as agents and representatives with actual and apparent authority to speak on issues regarding

Georgetown College.

        154. All statements to all press organizations and media outlets of Defendant Mills that

were published or caused to be published by him in the course of and while acting within the

scope of his authority and/or employment for Defendant Board of Trustees, were false,

defamatory, and published with knowledge of the falsity or reckless disregard for the truth or

falsity of the content of the matters described therein. The defamatory statements of Defendant




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Mills, on behalf of Defendant Board of Trustees, were of and concerning Mr. Jones and were

reasonably understood to be about Mr. Jones. Defendant Mills' November 2, 2021, statement is

defamatory because it conveys the false impression that Mr. Jones is or was "violent"; that Mr.

Jones abused or misused his authority in the course of his employment; that Mr. Jones was

immoral; that Mr. Jones was unethical; and that Mr. Jones had directly harmed or victimized one

or more members of the Georgetown College "family."

        I 55. Defendant Mills' statements to the press during the first two (2) days of November

2021, made no reference to Mr. Jones' adamant denial of the allegations levied against him and

further made no mention of the fact that no evidence substantiating the allegations had yet been

discovered.
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        156. The cumulative effect of Defendant Mills' statements was to communicate the false

and defamatory position that Mr. Jones had criminally and violently sexually assaulted and/or

sexually harassed Hanna Kroskie.

        157. Defendant Mills' statements during the first two (2) days of November, 2021, were

defamatory per se because they falsely stated or implied that Mr. Jones was a violent and/or

sexual predator who engaged in criminal conduct and/or was unfit to perform in his chosen

profession because he could not meet requisite moral and/or ethical standards.

        158. Defendant Mills' statements during the first two (2) days of November, 2021, were

reasonably understood by third parties as falsely stating or implying that Mr. Jones was a violent

and/or sexual predator who engaged in criminal conduct and/or was unfit for employment in his




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
chosen profession for a lack of requisite moral and ethical standards, as is evidenced by the

WVTQ article wherein students confirmed they reasonably understood Defendant Mills'

statement as conveying such false impressions.

        159. Defendant Mills' statements during the first two (2) days of November 2021 were

published or he caused them to be published by him to third parties other than Mr. Jones, and

Defendant Mills knew or should have known his false and defamatory statement would be

republished by others, including by Georgetown College on its webpage, by Georgetown College

employees including Defendant Allen, and by various local and national media organizations.

        160. Defendant Mills knew that the defamatory implications of his statements made to

the press during the first two (2) days of November 2021, that Mr. Jones had engaged in criminal
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conduct of a violent and sexual nature, and/or that Mr. Jones was unfit to perform in his chosen

profession-were false, or he acted with reckless disregard for the truth or falsity thereof.


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        161. All of Defendant Mills' statements made during the first two (2) days of November

2021, were made without privilege or any other legal justification.


        162. To the extent Defendant Mills', statements made during the first two (2) days of

November were made pursuant to some privilege or legal justification, that privilege or legal

justification has been forfeited and cannot be relied upon here as a result of the fact that

Defendant Mills abused and/or exceeded the scope of any such privilege and/or justification,

acted unreasonably, and/or made the false and defamatory statement for an improper purpose.

        163. The false and defamatory per se statements of Defendant Mills during the first two

(2) days of November 202 I, as Chairman of the Board of Trustees, directly and proximately

caused substantial and permanent harm to Mr. Jones' personal and professional reputation,




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
caused him to be subjected to public hatred, scorn, shame, and contempt, and has caused Mr.

Jones substantial pecuniary loss, which will continue for the foreseeable future.

        164. As a direct and proximate result of the aforementioned conduct of Defendant Mills,

Mr. Jones has suffered, continues to suffer, and will suffer in the future damages including, but

not limited to, severe mental and emotional distress and suffering, embarrassment, humiliation,

loss of income, and loss of future earning capacity all in an amount exceeding the minimal

jurisdictional limits of this Court.

                                         COUNT TWO
                                 Defendant Johnathan Sands Wise

        165. All statements to any and all press organizations and media outlets of Defendant

Sands Wise that were published or caused to be published by him in the course of and while
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acting within the scope of his authority and/or employment of Defendant, Georgetown College,

were false, defamatory, and published with knowledge of the falsity or reckless disregard for the


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truth or falsity of the content of the matters described therein. The defamatory statements of

Defendant Sands Wise, on behalf of Defendant Georgetown College, were of and concerning

Mr. Jones and were reasonably understood to be about Mr. Jones. Defendant Sands Wise'

statements during the first two (2) days following the termination of Mr. Jones were defamatory

because they convey the false impressions that Mr. Jones is or was "violent"; that Mr. Jones

abused or misused his authority in the course of his employment; that Mr. Jones was immoral;

that Mr. Jones was unethical; and that Mr. Jones had directly harmed or victimized one or more

members of the Georgetown College "family."

       166. Defendant Sands Wise' statements to the press following Mr. Jones termination in

November 2021, made no reference to Mr. Jones' adamant denial of the allegations levied against

him and further made no mention of the fact that no evidence substantiating the allegations had




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
yet been discovered.

       167. The cumulative effect of Defendant Sands Wise' statements was to communicate the

false and defamatory position that Mr. Jones had criminally and violently sexually assaulted

and/or sexually harassed Hanna Kroskie.

       168. Defendant Sands Wise' statements after Mr. Jones' termination were defamatory per

se because they falsely stated or implied that Mr. Jones was a violent and/or sexual predator who

engaged in criminal conduct and/or was unfit to perform in his chosen profession because he

could not meet requisite moral and/or ethical standards.

       169. Defendant Sands Wise' statements after the termination of Mr. Jones, were
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reasonably understood by third parties as falsely stating or implying that Mr. Jones was a violent

and/or sexual predator who engaged in criminal conduct and/or was unfit for employment in his


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chosen profession for a lack of requisite moral and ethical standards, as is evidenced by the Daily

Beast Article that portrayed Plaintiff, Mr. Jones as a sexual predator and violent individual.

        170.   Defendant Sands Wise' statements after the termination of Mr. Jones were

published or he caused them to be published by Georgetown College to third party media outlets

other than Mr. Jones, and Defendant Sands Wise knew or should have known his false and

defamatory statements would be republished by others, including by Georgetown College on its

webpage, by Georgetown College employees including Defendant Allen, and by various local

and national media organizations.

        171. Defendant Sands Wise knew that the defamatory implications of his statements

made to the press following Mr. Jones' termination, were that Mr. Jones had engaged in criminal




                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
conduct of a violent and sexual nature, and/or that Mr. Jones was unfit to perform in his chosen

profession-were false, or he acted with reckless disregard for the truth or falsity thereof.

        172. All of Defendant Sands Wise' statements made during November 2021 were made

without privilege or any other legal justification.

        173. To the extent Defendant Sands Wise', statements made during November 2021, were

made pursuant to some privilege or legal justification, that privilege or legal justification had

been forfeited and cannot be relied upon here as a result of the fact that Defendant Sands Wise

abused and/or exceeded the scope of any such privilege and/or justification, acted unreasonably,

and/or made the false and defamatory statement for an improper purpose.

        174. The false and defamatory per se statements of Defendant Sands Wise following the
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termination of Mr. Jones in November 2021, as Provost and Executive Vice President, directly

and proximately caused substantial and permanent harm to Mr. Jones, his wife and children and


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their personal and professional reputations, caused them to be subjected to public hatred, scorn,

shame, and contempt, and has caused Mr. Jones substantial pecuniary loss, which will continue

for the foreseeable future.

        175. As a direct and proximate result of the aforementioned conduct of Defendant Sands

Wise, Mr. Jones, his wife, Amy R. Jones, and their children have suffered, continue to suffer,

and will suffer in the future damages including, but not limited to, severe mental and emotional

distress and suffering, embarrassment, humiliation, loss of income, and loss of future earning

capacity all in an amount exceeding the minimal jurisdictional limits of this Court.

                                         COUNT THREE
                                     President Rosemary Allen

        176. All statements to any and all press organizations and media outlets of Defendant




                                                                                                          Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Rosemary Allen that were published or caused to be published by her in the course and while

acting within the scope of her authority and/or employment for Defendant Board of Trustees and

Defendant Georgetown College, were false, defamatory, and published with knowledge of the

falsity or reckless disregard for the truth or falsity of the content of the matters described therein.

The defamatory statements of Defendant Rosemary Allen, on behalf of Defendant Board of

Trustees and Defendant Georgetown College, were of and concerning Mr. Jones and were

reasonably understood to be about Mr. Jones. Defendant Rosemary Allen's statements following

the termination of Mr. Jones are defamatory because they convey the false impression that Mr.

Jones is or was "violent"; that Mr. Jones abused or misused his authority in the course of his

employment; that Mr. Jones was immoral; that Mr. Jones was unethical; and that Mr. Jones had
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directly harmed or victimized one or more members of the Georgetown College "family."




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        177. Defendant Rosemary Allen's statements to the press during the days following Mr.

Jones' termination, made no reference to Mr. Jones' adamant denial of the allegations levied

against him and further made no mention of the fact that no evidence substantiating the

allegations had yet been discovered.

       178. The cumulative effect of Defendant Rosemary Allen's statements were to

communicate the false and defamatory position that Mr. Jones had criminally and violently

sexually assaulted and/or sexually harassed Hanna Kroskie.

       179. Defendant Rosemary Allen's statements after the termination of Mr. Jones were

defamatory per se because they falsely stated or implied that Mr. Jones was a violent and/or

sexual predator who engaged in criminal conduct and/or was unfit to perform in his chosen




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
profession because he could not meet requisite moral and/or ethical standards.

       180. Defendant Rosemary Allen's statements following the termination of Mr. Jones in

November 2021, were reasonably understood by third parties as falsely stating or implying that

Mr. Jones was a violent and/or sexual predator who engaged in criminal conduct and/or was unfit

for employment in his chosen profession for a lack of requisite moral and ethical standards, as is

evidenced by the WVTQ a1ticle wherein students confirmed they reasonably understood

Defendant Rosemary Allen' statement as conveying such false impressions.

       181. Defendant Rosemary Allen's statements following the termination of Mr. Jones

were published or she caused them to be published by her to third parties other than Mr. Jones,

and Defendant Rosemary Allen knew or should have known her false and defamatory statements
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would be republished by others, including by Georgetown College on its webpage, by




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Georgetown College employees including Defendant Allen, and by various local and national

media organizations.

        182. Defendant Rosemary Allen knew that the defamatory implications of her statements

made to the press during the days following Mr. Jones' termination, that Mr. Jones had engaged

in criminal conduct of a violent and sexual nature, and/or that Mr. Jones was unfit to perform in

his chosen profession were completely false, or she acted with reckless disregard for the truth or

falsity thereof.

        183. All of Defendant Rosemary Allen's statements made after the termination of Mr.

Jones were made without privilege or any other legal justification.

        184. To the extent Defendant Rosemary Allen's, statements made after the termination of




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Mr. Jones were made pursuant to some privilege or legal justification, that privilege or legal

justification has been forfeited and cannot be relied upon here as a result of the fact that

Defendant Rosemary Allen abused and/or exceeded the scope of any such privilege and/or

justification, acted unreasonably, and/or made the false and defamatory statement for an

improper purpose.

        185. The false and defamatory per se statements of Defendant Rosemary Allen during the

days after the termination of Mr. Jones, as 'Acting' President of Georgetown College, directly

and proximately caused substantial and permanent harm to Mr. Jones', his wife Amy R. Jones',

and their children's personal and professional reputation, caused them to be subjected to public

hatred, scorn, shame, and contempt, and has caused each Plaintiff substantial pecuniary loss,
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which will continue for the foreseeable future.




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        186. As a direct and proximate result of the aforementioned conduct of Defendant

Rosemary Allen, Mr. Jones, his wife, and his children have suffered, continues to suffer, and will

suffer in the future damages including, but not limited to, severe mental and emotional distress

and suffering, embarrassment, humiliation, loss of income, and loss of future earning capacity all

in an amount exceeding the minimal jurisdictional limits of this Court.

       COUNT FOUR THROUGH SIX- FALSE LIGHT INVASION OF PRIVACY
      Defendant Bob Mills, Defendant Jonathan Sands Wise, Defendant Rosemary Allen

                                          COUNT FOUR
                                        Defendant Bob Mills

        187. All Plaintiffs hereby adopt and reiterate each allegation set forth above as if fully set

forth herein.




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        188. At all times relevant, Defendant Bob Mills was a member of, or Chairman of the

Board of Trustees for Georgetown College; and the members of the Board of Trustees were the

legislative body of the College that made all policy decisions of the College. Defendant Mills,

either individually in their professional or personal status acted, or as a corporate entity, acted as

an agent and representative with actual and apparent authority to speak on issues regarding

Georgetown College.

        189. All statements to all press organizations and media outlets of Defendant Mills that

were published or caused to be published by him in the course of and while acting within the

scope of his authority and/or employment for Defendant Board of Trustees, were untrue and

were an invasion of Plaintiff Will Jones' right to privacy by placing him in a false light. In 1982,

the Kentucky Supreme Court adopted the provisions of Restatement (Second) of Torts § 652A.
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To prove an action of false light invasion of privacy, one must provide evidence that:



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                        i. The false light in which the other was placed would be
                           highly offensive to a reasonable person;

                       11.   The publisher had knowledge of, or acted in reckless
                             disregard of the falsity of the publicized matter and the
                             false light in which the other was placed. 16

            The statements of Defendant Mills, on behalf of Defendant Board of Trustees, were

solely about and concerning Mr. Jones and were reasonably understood to be about Mr. Jones.

Defendant Mills' November 2, 2021, and were an invasion of privacy and placed Plaintiff

William Jones in a false light because the characterizations made against Mr. Jones would and

are highly offensive to a reasonable person, and Mr. Mills had knowledge of, or acted in utterly

reckless disregard of the falsity of the publicized matter that Plaintiff Mr. Jones was placed.

These statements conveyed the false impression that Mr. Jones is or was "violent"; that Mr.




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Jones abused or misused his authority in the course of his employment; that Mr. Jones was

immoral; that Mr. Jones was unethical; and that Mr. Jones had directly harmed or victimized one

or more members of the Georgetown College "family."

           190. The cumulative effect of Defendant Mills' statements was to place Mr. Jones in a

light where he had now been convicted in the mind of the public at large for criminally and

violently sexually assaulting a colleague, which happens to be the worst position for any person

to be in, especially one falsely accused of such.

           191. All of Defendant Mills' statements made during the first two (2) days of November

2021, were made in violation of the privacy rights of Plaintiff William Jones.

           192. As a direct and proximate result of these known violations of Mr. Jones' privacy
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rights and wrongfully placing him in a false light, Mr. Jones aforementioned conduct of


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     McCall v. Courier-Journal & Louisville Times Co., 623 S.W.2d 882 (Ky. 1981)

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Defendant Bob Mills, Mr. Jones, his wife, and his children have suffered, continues to suffer,

and will suffer in the future damages including, but not limited to, severe mental and emotional

distress and suffering, embarrassment, humiliation, loss of income, and loss of future earning

capacity all in an amount exceeding the minimal jurisdictional limits of this Court.

                                        COUNT FIVE
                                Defendant Johnathan Sands Wise

        193. All Plaintiffs hereby adopt and reiterate each allegation set fo1th above as if fully set

forth herein.

        194. At all times relevant, Defendant Johnathan Sands Wise was a member of the

Executive Administration of Georgetown College, and the members of the Board of Trustees

were the legislative body of the College that made all policy decisions of the College. Defendant




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Johnathan Sands Wise, either individually in his professional or personal status acted as an agent

and representative with actual and apparent authority to speak on issues regarding Georgetown

College.

        195. All statements to all press organizations and media outlets of Defendant Mills that

were published or caused to be published by him in the course of and while acting within the

scope of his authority and/or employment for Defendant Board of Trustees, were untrue and

were an invasion of Plaintiff Will Jones' right to privacy by placing him in a false light. In 1982,

the Kentucky Supreme Comt adopted the provisions of Restatement (Second) o f Torts § 652A.

To prove an action of false light invasion of privacy, one must provide evidence that:

                       i.    The false light in which the other was placed
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                       would be highly offensive to a reasonable person;




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                         ii.    The publisher had knowledge of, or acted in
                         reckless disregard of the falsity of the publicized matter
                         and the false light in which the other was placed. 17
          The statements of Defendant Sands Wise, on behalf of Defendant Board of Trustees,

were solely about and concerning Mr. Jones and were reasonably understood to be about Mr.

Jones. Defendant Sands Wise's statements were an invasion of privacy and placed Plaintiff

William Jones in a false light because the characterizations made against Mr. Jones would and

are highly offensive to a reasonable person, and Mr. Sands Wise had knowledge of, or acted in

utterly reckless disregard of the falsity of the publicized matter that Plaintiff Mr. Jones was

placed. These statements conveyed the false impression that Mr. Jones is or was "violent"; that

Mr. Jones abused or misused his authority in the course of his employment; that Mr. Jones was

immoral; that Mr. Jones was unethical; and that Mr. Jones had directly harmed or victimized one




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
or more members of the Georgetown College "family."

        I 96. The cumulative effect of Defendant Sands Wise's statements was to place Mr. Jones

in a light where he had now been convicted in the mind of the public at large for criminally and

violently sexually assaulting a colleague, which happens to be the worst position for any person

to be in, especially one falsely accused of such.

        I 97. All of Defendant Sands Wise's statements made during the first two (2) days of

November 2021, were made in violation of the privacy rights of Plaintiff William Jones.

        198. As a direct and proximate result of these known violations of Mr. Jones' privacy

rights and wrongfully placing him in a false light, the aforementioned conduct of Defendant

Sands Wise, Mr. Jones, his wife, and his children have suffered, continues to suffer, and will
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17 McCall v. Courier-Journal & Louisville Times Co., 623 S.W.2d 882 (Ky. 1981)

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suffer in the future damages including, but not limited to, severe mental and emotional distress

and suffering, embarrassment, humiliation, loss of income, and loss of future earning capacity all

in an amount exceeding the minimal jurisdictional limits of this Court.

                                          COUNT SIX
                                    President Rosemary Allen

        199. All Plaintiffs hereby adopt and reiterate each allegation set forth above as if fully set

forth herein.

        200. At all times relevant, Defendant Rosemary Allen was the Acting President of

Georgetown College and/or a member of the Executive Administration; the Defendant Board of

Trustees were the legislative body of the College that made all policy decisions of the College.

Defendant Rosemary Allen either individually in her professional or personal status acted as an




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
agent and representative with actual and apparent authority to speak on issues regarding

Georgetown College.

        201. All statements to all press organizations and media outlets of Defendant Allen that

were published or caused to be published by her in the course of and while acting within the

scope of her authority and/or employment for Defendant Board of Trustees, were untrue and

were an invasion of Plaintiff William Jones' right to privacy by placing him in a false light. In

 1982, the Kentucky Supreme Court adopted the provisions of Restatement (Second) o f Torts §

652A. To prove an action of false light invasion of privacy, one must provide evidence that:

                       i.    The false light in which the other was placed
                       would be highly offensive to a reasonable person;
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                            ii.    The publisher had knowledge of, or acted in
                            reckless disregard of the falsity of the publicized matter
                            and the false light in which the other was placed. 18
            The statements of Defendant Allen, on behalf of Defendant Board of Trustees, were

solely about and concerning Mr. Jones and were reasonably understood to be about Mr. Jones.

Defendant Allen's statements are an invasion of privacy and placed Plaintiff William Jones in a

false light because the characterizations made against Mr. Jones would and are highly offensive

to a reasonable person, and Defendant Allen had knowledge of, or acted in utterly reckless

disregard of the falsity of the publicized matter involving Defendant William Jones. These

statements conveyed the false impression that Mr. Jones is or was "violent"; that Mr. Jones

abused or misused his authority in the course of his employment; that Mr. Jones was immoral;

that Mr. Jones was unethical; and that Mr. Jones had directly harmed or victimized one or more




                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
members of the Georgetown College "family."

           202. The cumulative effect of Defendant Allen's statements was to place Mr. Jones in a

light where he had now been convicted in the mind of the public at large for criminally and

violently sexually assaulting a colleague, which happens to be the worst position for any person

to be in, especially one falsely accused of such.

           203. All of Defendant Allen's statements made during the first two (2) days of November

2021, were made in violation of the privacy rights of Plaintiff William Jones.

           204. As a direct and proximate result of these known violations of Mr. Jones' privacy

rights and wrongfully placing him in a false light, the aforementioned conduct of Defendant

Allen, Mr. Jones, his wife, and his children have suffered, continue to suffer, and will suffer in
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     McCall v. Courier-Journal & Louisville Times Co., 623 S.W.2d 882 (Ky. 1981)

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the future damages including, but not limited to, severe mental and emotional distress and

suffering, embarrassment, humiliation, loss of income, and loss of future earning capacity all in

an amount exceeding the minimal jurisdictional limits of this Court.

              COUNTS SEVEN THROUGH NINE - VICARIOUS LIABILITY
                     Defendant Board of Trustees of Georgetown College
               Individual Members of Board of Trustees of Georgetown College
                                   Georgetown College

                         COUNT SEVEN - VICARIOUS LIABILITY
                       Defendant Board of Trustees of Georgetown College

       205. Mr. Jones adopts and reiterates each and every allegation set fo11h herein above as if

fully set forth now.

       206. At all times relevant herein, Defendant Board of Trustees was the principal and/or




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employer of Defendant Mills, Defendant Jonathan Sands Wise, and Defendant Rosemary Allen.

       207. The actions and conduct of Defendants Mills, Sands Wise, and Allen described

herein above were committed within the scope of their actual, implied, and/or apparent authority

as agent and/or employee of Defendant Board of Trustees, and/or said conduct was authorized,

ratified, or approved of by Defendant Board of Trustees.

       208. Defendant Board of Trustees is vicariously liable for the actions and conduct of its

authorized agents and/or employees, Defendants Mills, Sands Wise, and Allen, and/or any

injuries or damages caused as a result thereof.

                       COUNT EIGHT - VICARIOUS LIABILITY
             Defendants - Individual Members of Trustees of Georgetown College

        209. Mr. Jones adopts and reiterates each and every allegation set forth herein above as if
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fully set forth now.



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        210. At all times relevant herein, Defendant Board of Trustees was comprised of

Defendants Dave Adkisson, Dr. Bob Baker, Tucker Ballinger, Dr. John Blackburn, Granetta

Blevins, Tracey Clark, Sharon Clifton, John Cochenour, Nicole Collinson, Jane Cutter, Kenny

Davis, Vickie Glisson, 'John Doe', William J. Houston, Melanie Ladd, David Lee, Mike

Lukemire, Missy Matthews, Chairman Robert "Bob" Mills, Judge Gerald Parker, Michelle

Pedigo, Frank Penn, John Travis, Hon. J. Guthrie True, John Ward, Meocha Williams, Sarah

Wilson, and Norm Brown.

        211. The individual Defendants of the Board of Trustees of Georgetown College acted in

their individual and independent capacities to proliferate and propagate the falsehoods contained

in the statements made by Defendants Mills, Sands Wise, and Allen and none of the individual

members denounced the clearly defamatory statements made by their agents and employees.




                                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        212. Further, based upon knowledge and belief, several members of the Board of

Trustees of Georgetown College, who are either active members or married to active members or

family members of active members of Kappa Alpha Order's alumni association, did not disclose

their ethical conflicts regarding any decision about disciplinary action and further declined to

cease pressuring other Board of Trustee members and executive staff, including Mr. Jones in

reversing disciplinary actions against Kappa Alpha Order taken in 2020 for allegations of hazing

and threatened violent assault and sexual assault to female Georgetown students.

        213. With this fact as a backdrop to the eventual termination of Mr. William Jones as

President of Georgetown College, the individual members of the Board of Trustees acted outside

the scope of their rights and duties as members of the Board in allowing the lightspeed firing of
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 Mr. Jones, without any investigation being conducted, without any findings of wrongdoing, and

without notice of a public hearing being provided to Mr. Jones in violation of Title lX of the

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 1972 Education Amendments and further enumerated in 34 CFR l 06.45 of the Code of Federal

Regulations and, in a clear strategy to discredit and ruin the career and personal life of Mr. Jones,

allowed its agents and employees to perpetrate one of the greatest potential travesties to ever be

experience by a human ... being wrongfully labeled as a sexual predator and violent danger to

other humans.

       214. The Board of Trustees of Georgetown College was well aware of the intent to fire

Mr. Jones on the afternoon of October 31, 2022. Yet, Mr. Jones was never made aware of any

such decision. Further, upon knowledge and belief, the Board of Trustees, being required to be

knowledgeable and educated on the requirements of Title IX proceedings, intentionally acted

outside of the scope of their corporate bylaws, whereby acting individually, contrary to law and

the bylaws of the College, to deny Mr. Jones his rights and then to allow its agents and/or




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employees, Defendant Mills, Defendant Sands Wise, and Defendant Rosemary Allen to

intentionally smear and permanently damage the professional and personal life of Mr. Jones, his

wife, and their children with willful disregard to the lawful nature of such actions.

       215. The actions and conduct of Defendants Mills, Sands Wise, and Allen described

herein were committed within the scope of their actual, implied, and/or apparent authority as

agent and/or employee of Defendant Board of Trustees, and/or said conduct was authorized,

ratified, or approved of by Defendant Board of Trustees. Yet, the individual members of the

Board of Trustees willfully violated their duties as members of the Board of Trustees.

       216. Thus the individual Defendant members of the Georgetown College Board of

Trustees are personally, vicariously liable for the actions and conduct of its authorized agent
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and/or employee, Defendant Mills, and/or any injuries or damages caused as a result thereof.



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                       COUNT NINE- VICARIOUS LIABILITY
          Defendant Georgetown College and its Individual Executive Administration

        217. Mr. Jones adopts and reiterates each and every allegation set forth above as if fully

set forth herein.

        218. At all times relevant herein, Defendant Georgetown College was the principal and/or

employer of all named individual Defendants that are members of the Executive Administration,

 including Rosemary Allen, Johnathan Sands Wise, John Davis, Curtis Sandberg, , and Sally

 Wiatrowski, and the members of the Board of Trustees, named previously in Count Five.

        219. Upon knowledge and belief, the Plaintiffs claim and aver that every member of the

 Executive Administration of Georgetown College were aware of the false claims of sexual

assault, misconduct, and harassment leveled against Mr. Jones and yet remained silent while Mr.




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Jones, his wife, and their children had their entire lives destroyed by the perpetuation of

falsehoods and lies to remove Mr. Jones from the position of President and the fu1ther

determination of Georgetown College to defame and wrongfully accuse Mr. Jones of terrible

atrocities and labeling him a violent sexual predator. The deafening silence and the cowardice of

these 'so-called enlightened' liberal educators and administrators, amounted to tacit approval of

the actions and destruction of the lives of a husband, wife, and their six (6) children.

        220. The actions and conduct, or lack thereof, of the named Defendants in the Executive

Administration described herein were committed within the scope of their actual, implied, and/or

apparent authority as agents and/or employees of Defendant Georgetown College, and/or said

conduct was authorized, ratified, or approved of by Defendant Georgetown College.
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        221. Defendant Georgetown College is vicariously liable for the actions and conduct of

its authorized agent and/or employee, Defendant Allen, and/or any injuries or damages caused as

a result thereof.

  COUNT TEN-INTENTIONAL AND/OR RECKLESS INFLICTION OF EMOTIONAL
                          DISTRESS/OUTRAGE
                    All Defendants Named Herein Above

        222. The Plaintiffs adopt and reiterate each and every allegation set forth above as if fully

set forth herein.

        223. Mr. Jones, his wife, Amy R. Jones, and his six (6) individual children Annalise

Jones, Thomas Jones, Jr., Grace Jones, W.J. II, a minor, H.J., a minor child, and A.J., a minor

child, have the rights to be free from emotional distress outrageously and intentionally inflicted




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by another.

        224. Each of the Defendants intentionally and/or recklessly, maliciously violated each

Plaintiff's right to be free from emotional distress.

        225. Upon knowledge and belief, the Plaintiffs each aver and claim that each named

Defendant, led and/or informed by Defendant Blevins, had actual knowledge of the multiple text

messages discovered during the investigation of Defendant Kappa Alpha Order's alleged

violations of campus policies that concerned Mr. Jones' daughter, Plaintiff Annalise Jones and

the sexually explicit, derogatory, and aggressive nature of the same that threatened violent

assault and group sexual assault/rape on the Civil War Era cannon located outside of the Kappa

Alpha campus house. Even after becoming aware of the disgusting and vile nature of these
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messages attributed and proven to be by and between members of Kappa Alpha Order,

Defendant Blevins and at least five (5) additional members of the Board of Trustees that happen


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to also be Kappa Alpha Order Alumni, disagreed with and fought against any punishment at all

being delivered upon the social fraternity. These individuals went so far as to actually defend the

very character of the men and the fraternity and (laughably) the historic importance of the

fraternity on the Georgetown College campus and the Georgetown community at large.

        226. At all times relevant herein, Defendant Blevins and the Unknown and currently

 Unnamed Defendant members of the Board of Trustees had actual knowledge of the emotional

impact and fear those text messages created in Mr. Jones, his wife Amy, their daughter Annalise,

(who happens to be one (1) of two (2) adopted Jones children and is of African American

descent) and the remaining five (5) Jones children, all named Plaintiffs herein.

        227. At all times relevant herein, all members of the Board of Trustees of Georgetown




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College knew that Mr. Jones had recused himself from the investigatory and disciplinary process

concerning the fraternity and certain of its members, and they further knew Mr. Jones was not

responsible for making decisions concerning what discipline was to be meted out against the

fraternity or certain of its members for the misconduct uncovered during the investigation.

        228. Yet, several members of the Board of Trustees, led by Defendant Blevins and four

 (4) yet to be known and unnamed members of the Board of Trustees, who are all Defendants

 named herein made repeated demands to College administrators that Mr. Jones personally

 reverse the discipline delivered to Kappa Alpha Order, and unbelievably demanded that Plaintiff

Jones actually personally make amends with the fraternal organization and/or certain of its

 members and prominent alumni, despite knowing the above, and knowing these repeated

 requests were outrageous and offensive to basic standards of decency and morality.
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          229. All members of the Board of Trustees were aware of these demands and overtures

and knew Mr. Jones perceived their repeated requests to be akin to a demand that required him to

apologize to or reverse punishment imposed upon individuals that had, among breaking various

College rules, threatened his daughter's safety and/or posed a threat to his daughter's safety.

          230. When Defendant Blevins and other currently unnamed Defendant members of the

Board of Trustees continued to outrageously repeat their demands that Mr. Jones reverse the

punishment imposed on the fraternity and certain members and make amends therewith, they did

so intentionally and/or recklessly, and for the sole, cruel, and malicious purpose of inflicting

severe, emotional distress and pain upon Mr. Jones and each named Plaintiff family member

herein.

          231. As a result of the Board of Trustees outrageous, intolerable, intentional, and/or




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reckless conduct, led and spearheaded by Defendant Granetta Blevins, Mr. Jones, his wife, and

his children, all named Plaintiffs herein, experienced severe mental and emotional distress, pain,

and suffering which interfered with his day-to-day life.

          232. As a direct and proximate result of the aforementioned outrageous, intentional,

and/or reckless conduct of the named Defendant members of the Board of Trustees, jointly and

severally, Mr. Jones has suffered, continues to suffer, and will suffer in the future damages

 including, but not limited to, severe and life-altering mental and emotional distress, pain, and

suffering, all in an amount exceeding the minimal jurisdictional limits of this Court.

          233. As a direct and proximate result of the aforementioned outrageous, intentional,

and/or reckless conduct of the named Defendant members of the Board of Trustees, jointly and
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severally, Mrs. Amy R. Jones has suffered, continues to suffer, and will suffer in the future




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 limited to, severe and life-altering mental and emotional distress, pain, and suffering, all in an

amount exceeding the minimal jurisdictional limits of this Court.

    COUNT ELEVEN - CIVIL RIGHTS CLAIMS IN VIOLATION OF 42 U.S.C. § 1983
                            All Named Defendants

         237. Plaintiff Annalise Jones adopts and reiterates each and every allegation set forth

above as if fully set forth herein.

         238. The pertinent language of 42 U.S.C. § 1983 is enumerated as follows:

                "Every person who, under color of any statute, ordinance,
                regulation, custom, or usage, of any State or Territory or the
                District of Columbia, subjects, or causes to be subjected, any
                citizen of the United States or other person within the jurisdiction
                thereof to the deprivation of any rights, privileges, or immunities
                secured by the Constitution and laws, shall be liable to the party
                injured in an action at law, suit in equity, or other proper




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                proceeding for redress ... "

         239. To prove a claim of a violation of a civil right pursuant to 42 U.S.C. § 1983 a

Plaintiff is required to allege that (1) the conduct complained of was committed by a person

acting under the color of state law; and (2) the conduct deprived the plaintiff of a constitutional

right.

         240. The traditional definition of acting under the color of state law requires that the

defendant have exercised power "possessed by virtue of state law and made possible only

because the wrongdoer is clothed with the authority of state law. West v. Atkins, 487 U.S. 42,

49 (1988).

         241. Georgetown College, a chartered and incorporated private college under the laws

and administrative regulations of the Commonwealth of Kentucky, acted at all times under the
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color of state law in their actions towards all students of higher education attending their

institution.

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        242. Georgetown College, its Board of Trustees and its Executive Administration's

egregious and vile intentional actions towards to Plaintiff Annalise Jones deprived her of her

guaranteed First, Fourth, Fifth and Fourteenth Amendment Rights.

        243. Defendants, Georgetown College, the Georgetown College Board of Trustees and

its Executive Administration should be jointly and severally liable for all personal damages,

including physical and emotional harm for the actions they allowed to occur against the Plaintiff

Annalise Jones, for the lack of actions taken to protect the safety, wellbeing, and inability to

provide a safe environment for an African American young woman to live and be educated,

while not providing a safe environment free of being exposed to misogynistic violent and sexual

threats to gang rape her on an American College Campus in the year 2022.

      COUNT TWELVE-THREAT OF PHYSICAL AND SEXUAL VIOLENCE;




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 INTENTIONAL INFLICTION OF EXTREME EMOTIONAL DISTRESS DUE TO THE
                OUTRAGEOUS ACTIONS OF DEFENDANT
                Defendant Kappa Alpha Order - Social Fraternity

        244. Plaintiff Annalise Jones adopts and reiterates each and every allegation set forth

above as if fully set forth herein.

        245. At all times relevant, Kappa Alpha Order, was a social fraternity founded in

December, 1865 by former members of the Confederate Army at Washington College (now

 Washington and Lee College) in Lexington, Virginia. The organization was created and

 incorporated under the laws of the Commonwealth of Virginia with its principal corporate office

and address for service of process at 115 Libe1ty Hall Road, Lexington, Virginia 24450. The

agent for service of process is Larry Stanton Weise, Executive Director of the National

Organization.
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        246. Kappa Alpha Order has a tumultuous history related to its racist and questionable

foundations. In fact, the organization claims that General Robert E. Lee is the 'Spiritual Leader'

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of the fraternal order. It currently boasts 103 active chapters across American College campuses

and 53 currently suspended chapters.

       247. Kappa Alpha Order Beta Delta Chapter was founded on Georgetown College's

campus on February 11, 1904. Since that time, the chapter boasts 1,229 alumni. The Chapter

has been suspended from Georgetown College since 2020.

       248. In accordance with the Kappa Alpha Order - Claim and Dispute Resolution Rules,

all accepted members that have become active in their local chapter submit all issues of dispute

resolution to the National Organizations Claim and Dispute Resolution Plan and Rules. In

addition, any person making any legal claim or with a valid dispute against any member or

chapter for injury or tort action must make such claim through the Dispute Resolution

Arbitration Plan unless it affirmatively objects to having the dispute resolved by the fraternal




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order's chosen arbitration proceedings.

       249. The Plaintiff, Annalise Jones, adamantly and unequivocally objects and refuses to

voluntarily submit this dispute involving the Kappa Alpha Order Beta Delta Chapter at

Georgetown College to the National Corporate Dispute Resolution Plan as the very nature of

this organization is antithesis to the very fabric of a free and prosperous society. It is outdated,

holds positions that are repugnant to the Union of American States, and glorifies the worst

traitors to not just the United States but the human race.

        250. The Plaintiff, Annalise Jones, became aware of a group text thread in late summer

of 2020 that threatened her safety and wellbeing and discussed sexual assaulting her and even

gang raping her on the civil war era cannon in front of the fraternity house, creating imagery
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that would make D.W. Griffith proud ifhe were remaking his deplorable movie 'The Birth of a

Nation' in which the very same racist attitudes were glorified and even praised by then



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President Woodrow Wilson. Unfortunately for this group of racist individuals, the world has

moved passed the days o f ' acceptable racist' ideologies. And these texts (included herein) are a

disgusting example of bigoted behavior on a campus that quickly hides behind the 'Christian'

moniker when it is convenient, but which was protected by the very individuals vested with the

duty of protecting all members of the college community.

       251. As a result of the evidence uncovered, Plaintiff William Jones recused himself from

all disciplinary decision involving the fraternity. However, the calls, pressure, and intimidation

from Board of Trustee members and local alumni made the working environment at

Georgetown College, at all times, hostile to the point of palpable after the decision to suspend

the organization from the College's campus was handed down. At one point, Plaintiff William

Jones was tricked into discussing the issues with, whom he thought were going to be National




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representatives that turned out to be three (3) alumni, two (2) of which were local alumni

members and the proceeded to vociferously and stringently push for a recission of the College's

decision to the point that the conversation became incredibly volatile and Plaintiff Jones felt

incredibly threatened and harassed by the continued onslaught of irrational support for a group

that had threatened to gang rape a Georgetown College student.

       252. Georgetown College boasts its inclusive nature of non-discrimination, diversity,

and grace in its mission statements and states:

                "As a matter of policy and in compliance with state and federal
                laws, Georgetown College operates on the principle of non-
                discrimination. Georgetown College does not discriminate, either
                in the admission of students, hiring and promotion of employees,
                or in the administration of any educational policies, programs, or
                activities on the basis of race, color, national or ethnic origin, sex,
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                sexual orientation, gender, gender identity, age, disability or
                veteran status."




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        Yet, the College and in particular, the members of Kappa Alpha Order made a mockery

of the above statement in threatening to harm and sexually assault the Plaintiff, Annalise Jones.

        253. Since reporting the incident, the College worked tirelessly to harm and punish Ms.

Annalise Jones, going so far as to actually have her served a 'No-Contact' Order, to not have

any intentional or unintentional contact with any of the gentlemen that actually threated to cause

her harm and rape her as if she was the perpetrator of some crime or allegation of wrongdoing.

(An Example Order is Attached.)

        254. The Plaintiff, Annalise Jones has been the subject of perpetual and ongoing

harassment on the campus and required regular security at night to protect her from harm. Many

times, she would have to wait more than an hour for a reluctant and displeased campus security

guard to show up and walk her to her vehicle.




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        255. The threats made by the members of the Beta Delta Chapter of Kappa Alpha Order

and the subsequent lack of protection and resulting shaming and treatment by Georgetown

College has caused extreme emotional distress due to these outrageous and unacceptable acts of

both of these parties.

        256. Defendants, Georgetown College, the Georgetown College Board of Trustees and

 its Executive Administration and Kappa Alpha Order should be jointly and severally liable for

all personal damages, including extreme emotional distress due to the outrageous and

unacceptable actions they allowed to occur against the Plaintiff Annalise Jones, for the lack of

actions taken to protect the safety, wellbeing, and inability to provide a safe environment for an

African American young woman to live and be educated, while not providing a safe
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environment free of being exposed to misogynistic violent and sexual threats to gang rape her

 on an American College Campus in the year 2022.



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                    COUNT THIRTEEN-BREACH OF CONTRACT
        Defendants Georgetown College and Board of Trustees of Georgetown College

        257. Mr. Jones adopts and reiterates each and every allegation set forth above as if fully

set forth herein.

        258. Mr. Jones had a valid contract of employment with Georgetown College for a

specified term that was only terminable for cause without significant financial buyout of that

contract.

        259. Georgetown College breached its contract with Mr. Jones when it terminated his

contract without valid cause. In fact, the only means by which Mr. Jones could have been

terminated for 'cause' would be for the reasons found in paragraph eighteen (18) of his

employment contract, executed by Mr. Jones on June 28, 20 I 9, which states in pertinent part:




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                " ... "Cause" is defined as Jones' willful misconduct in connection
                with the performance of his duties, Jones' noncompliance with or
                failure to perform his duties as set forth in the College's Bylaws, or
                in the event Jones is charged with any felony criminal offense, any
                misdemeanor criminal offense related to substance abuse or moral
                turpitude, violent crime(s), theft, misappropnat1on, sexual
                misconduct or crimes involving minor or the operation of the
                College ... "

        Yet, in direct opposition to the egregious and wrongful statements made by Georgetown

College, its agents and representatives, Plaintiff Jones never violated any portion of this section of

his employment contract.


        260. As a result of Georgetown College's breach, Mr. Jones has lost income and other

compensation that would have been due him had he been allowed to complete his term of
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employment, his ability to earn income in the future has been diminished if not destroyed, and he




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has been cast in a false light, all to his detriment in amounts that exceed the jurisdictional limits

of this Court.

                    COUNT FOURTEEN -TITLE IX VIOLATIONS
   Defendants Georgetown College, Board o f Trustees for Georgetown College, and Executive
                          Administration o f Georgetown College

        261. Mr. Jones adopts and reiterates each and every allegation set fo11h above as if fully

set forth herein.

        262. As early 2:00 A.M. on November I, 2021, Georgetown College had released a press

release that claimed that Mr. Jones had committed deplorable acts of sexual misconduct that

necessitated immediate firing. In that release, picked up later in the day by The Daily Beast,

Defendant Provost and Executive Vice President, Johnathan Sands Wise and Defendant and




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
 Board of Trustees Chairperson, Bob Mi Ils stated:

                 "The Board o f Trustees launched an investigation,
                 speaking with relevant individuals, and determined that the
                 president had clearly broken his employment agreement
                 with the college," Sands Wise said. "Even without complete
                 knowledge [of the situation], that was clear. They decided at
                 that time they had to terminate [Jones'] employment to
                 protect those who are vulnerable."

                 "Georgetown College does not tolerate violence or misuse
                 o f authority," (Board of Trustees Chairperson Bob) Mills
                 said in a statement. "We hold our administrators, students,
                 and faculty to the highest standards of moral and ethical
                 conduct. We are surprised and deeply disappointed by what
                 we have learned." The Daily Beast, 'Christian College
                 Fired Over Sexual Assault, Inappropriate Behavior
                 Allegations.' Published November 2, 2022, at 4:42 PM.
                 Emphasis Added.

        263. Attorney Jim Newberry, counsel and legal representative of Georgetown College
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stated on a telephone call on Tuesday, November 2, 2021 (after Georgetown College had already

released a press statement to every major news outlet in the United States and throughout the

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 World) that the complaint was received on October 27, 2021, for actions that occurred on

October 18, 2021, in Indianapolis, Indiana involving Mr. Jones and Ms. Kroskie. Attorney

Newberry never corrected the date in that conversation. He further stated that the complaint, all

investigative notes, and findings would be released to Mr. Jones in a timely manner. They have

never been released. This phone conversation is memorialized in a recording within counsel's

possession.

        264. Whether the complaint was received on October 27, 2021; October 30, 2021;

October 31, 2021; or even November 1, 2021, Georgetown College, at all times, had constructive

and actual notice of their obligations under Title IX of the Education Amendments of 1972, and

its implementing regulation at 34 C.F.R. Part I06 (Title IX). Further, internal and outside

Counsel should have made the Board of Trustees and Georgetown College that an immediate




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termination of Mr. Jones would result in further egregious violations of state and federal law

including violations of Mr. Jones' enumerated rights under Section Two of the Constitution of

the Commonwealth of Kentucky, and the Fowth, Fifth, and Fourteenth Amendments to the

Constitution of the United States.

        265. Georgetown College essentially destroyed Mr. Jones' career, his chances at any

professional life in higher education, and his personal life with his friends and family. He has

been shunned by the very industry and professional circles he was once praised in and thought

highly of while saving schools like Bethany College and Georgetown College. He has become a

pariah that has been forced to literally clean toilets for ten dollars($ 10.00) an hour to not even

meet his meagerest of needs for a family of eight (8). And all of this is because Georgetown
                                                                                                      COM : 000075 of 000079




College refused to simply provide him with his state and federal law and Constitutionally created

and mandated rights guaranteed by not only Georgetown College's own contract with him, but



                                                  76
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                                                Page ID#: 108



also the failure to provide administrative, substantive, and procedural due process in accordance

with the Fourth, Fifth, and Fourteenth Amendments to the Constitution of the United States, Title

IX of the Education Amendments of 1972, and its implementing regulation at 34 C.F .R. Part I 06

(Title IX); and Section Two (2) of the Kentucky Constitution. 19

                               COUNT FIFTEEN-PUNITIVE DAMAGES
                                     As against all Defendants

         266. All named Plaintiffs adopt and reiterate each and every allegation set forth above as

if fully set forth herein.

         267. Mr. Jones is entitled to recover punitive damages for the conduct of Defendants

described above because said conduct was intentional, malicious, grossly negligent, reckless,

willful, and/or oppressive.




                                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
         268. In engaging in the intentional, malicious, grossly negligent, reckless, willful, and/or

oppressive conduct and actions described above, Defendants, jointly and severally, expected and

intended, or should have expected, for injury and damages to result to Mr. Jones and such

injuries and damages did occur, as alleged hereinabove.

         269. Defendants Allen and Sands Wise were acting within the course and scope of their

agency and/or employment for Georgetown College when they engaged in the intentional,

malicious, grossly negligent, reckless, willful, and/or oppressive conduct and actions described

above.

         270. Furthermore, Defendant Georgetown College, as principal and/or employer of

Defendants of all named individual Executive Administrative officials and Board of Trustee
                                                                                                                         COM : 000076 of 000079




19 The
       Case o f Doe v. Baum, et al., 2: 16-cv-13174 - DL, (6 th Cir. Ct. Appeals, 2018) outlines thoroughly the rights
to the accused of a Title IX violation.

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                                            Page ID#: 109



Members, formally authorized, adopted, ratified, or should have anticipated the intentional,

malicious, grossly negligent, reckless, willful, and/or oppressive conduct and actions of

Defendants Allen and Sands Wise described above.

           271. Defendants, Board of Trustees Chairperson, Bob Mills, Provost Johnathan Sands

Wise, and 'Acting' President, Rosemary Allen were acting within the course and scope of their

agency and/or employment for Georgetown College and its Board of Trustees when they

engaged in the intentional, malicious, grossly negligent, reckless, willful, and/or oppressive

conduct and actions described above.

           272. Fu11hermore, Defendant Board of Trustees, as principal and/or employer of

Defendants Mills, Sands Wise and Allen, formally authorized, adopted, ratified, or should have




                                                                                                          Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
anticipated the intentional, malicious, grossly negligent, reckless, willful, and/or oppressive

conduct and actions of Mills, Sands Wise, and Allen, as described above.

           273. As a result of the intentional, malicious, grossly negligent, reckless, willful, and/or

oppressive actions and conduct described above, which has caused substantial damage to Mr.

Jones, his wife Amy R. Jones, and their children, Annalise Jones, Thomas Jones, Jr., Grace

Jones, W.J. 11, a minor child, H.J., a minor child, and A.J., a minor child, and which will

continue to cause each named Plaintiff damage into the future, each Plaintiff is entitled to

recover punitive damages from all named Defendants,jointly and severally, in an amount to be

determined at trial and not less than three times the compensatory damages recovered herein for

each Plaintiff from Defendants to deter Defendants from engaging in similar conduct in the

 future.
                                                                                                          COM : 000077 of 000079




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        WHEREFORE, the Plaintiffs, William A. Jones, Amy R. Jones, Annalise Jones,

 Thomas Jones, Jr., Grace Jones, W.J. II, a minor child, H.J., a minor child, and A.J., a minor

 child, by and through counsel, respectfully prays and demands as follows:

        I.      For judgment in their favor and against Defendant Robert L. Mills, Defendant

                Johnathan Sands Wise, and Defendant Rosemary Allen on Count One, Count

                Two, and Count Three above;

        II.     For judgment in their favor and against Defendant Robert L. Mills, Defendant

                Johnathon Sands Wise, and Defendant Rosemary Allen on Count Four, Count

                Five, and Count Six above;

        III.    For judgment in their favor and against Defendants Board of Trustees in their

                official capacities on Count 7 above;




                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        IV.     For judgment in their favor and against Defendant members of the Board of

                Trustees in their individual capacities on Count 8 above;

        V.      For judgment in their favor and against Defendants Georgetown College and its

                Executive Administration named herein on Count 9 above;

        VI.     For judgment in their favor and against all Defendants for the tort of Intentional

                Infliction of Emotional Distress on Count 10 above;

        Vil.    For judgement in favor of Plaintiff Annalise Jones against all Defendants for

                violations of her Civil Rights in violation of 42 U.S.C. § 1983 on Count 11 above;

        VIII.   For judgment in favor of Plaintiff Annalise Jones against Defendants, Kappa

                Alpha Order for the tort of intentional infliction of emotional distress on Count 12
                                                                                                       COM : 000078 of 000079




                above;




                                                 79
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      IX.    For Judgment in favor of Plaintiff William Jones against Georgetown College and

             the Board of Trustees for Georgetown College for Breach of Contract on Count

             13 above;

      X.     For Judgment in favor of Plaintiff William Jones against Georgetown College and

             the Board of Trustees for Georgetown College and the Executive Administration

             of Georgetown College for the violation of his rights under Title IX of the 1972

             Educational Amendments on Count 14 above;

      XI.    For an award of Punitive Damages against all named Defendants, jointly and

             severally on Count 15 above;

      XII.   For any and all other relief to which any of the Plaintiffs may be entitled.

                                            Respectfully submitted,




                                                                                                  Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                            thompsonattorney@gmail.com
                                            Co-Counsel for Plaintiffs



                                            Thomas Clay (signed electronically with permission)
                                            HON. THOMAS "T" CLAY
                                            CLAY AND DANIEL, LLC
                                            917 Lily Creek Road
                                            Louisville, Kentucky 40243
                                            tclay@tclaylaw.com
                                            Co-Counsel for Plaintiffs
                                                                                                  COM : 000079 of 000079




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Case: 3:22-cv-00058-GFVT-EBA   Doc #: 1-1 Filed: 10/19/22   Page: 102 of 265 -
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           ATTACHMENT ONE
                           E-MAIL FROM
                    INDIANAPOLIS POLICE




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
DETECTIVE JASON BOCKTING, SEX CRIMES UNIT




                                                                                 EXH : 000001 of 000072
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               <williamandrewjones@yahoo.com>
               Cc: Jhhlawoffice@gmail.com
               Subject: CASE CLOSED




               Bill - just texted you and tried to call but here is
               the message I received from the Detective just
               now:



               Hello,

                  I tried calling but I didn't catch you in the office.
               I got word back today that the case with William
               Jones has been no filed under 49-NC2201-
               2104250. I already told Hanna Kroskie so she is
               aware. I will be closing my case today Thanks.
               Jason.




                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
               Detective Jason Bockting

               Sex Crimes Unit--2235

               Indianapolis Metropolitan Police Department

               4134 N Keystone Avenue, Ste. B

               Indianapolis, IN 46205



               This is obviously very good news. Let me know if
               you need further information or anything else
               from me. Best of luck.



               Jennifer
                                                                                         EXH : 000002 of 000072




               Jennifer M. Lukemeyer
               VOYLES VAIANA LUKEMEYER
               BALDWIN & WEBB
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                               Page ID#: 114




          ATTACHMENT TWO
                NEW YORK TIMES ARTICLE
        "Fraternity That Reveres Robert E. Lee Faces
                       Revolt Over Racism"




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                 -Amy Harmon, October 1, 2021




                                                                                 EXH : 000003 of 000072
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                                                                           Page ID#: 115
ibe New !!Jorklimes              https :/ /www. nytimes.corn/2020/ 10/ 19/ us/l1appa-alpha-robert-e-lee. html



Fraternity That Reveres Robert E. Lee Faces Revolt Over Racism
How a racial awakening unfolded in a white-dominated brotherhood known for its veneration of the Confederate general.


          By Amy Harmon

Published Oct. 19, 2020   Updated Oct. 1, 2021



Kappa Alpha, one of the nation's largest and oldest college fraternities, is not unaccustomed to fending off charges of racism.
Its embrace of Robert E. Lee, the Confederate general, as a "spiritual founder" has rankled students and faculty members. Black student
groups have protested its antebellum-themed spring formals. One campus demanded an apology after Kappa Alphas recited a chant
lamenting the Union victory in the Civil War.
But the killing of George Floyd has for the first time started a racial reckoning within the fraternity's own chapters. Members of the
Southwestern University chapter demanded that the fraternity drop its association with Lee and investigate the racial harms they say Kappa
Alphas have inflicted. "KA nationally has a deeply troubling history that active chapters can no longer cry ignorance to," they said in a
statement drafted over often-tense Zoom meetings and GroupMe texts.
The unusual breaking of ranks was initiated this summer by Noah Clark, a Southwestern alumnus who had, in 2017, become the first Black
student to graduate as an active member of the college's Kappa Alpha chapter. Kappa Alpha Order's national organization then suspended
the chapter, angering even some Black students on the Georgetown, Texas, campus who have not typically regarded Kappa Alphas as allies.

"My first reaction was, 'I can't believe they've gone and done this,"' said Pierce MacGuire, 29, referring to the chapter posting the statement.
Mr. MacGuire, an alumnus who voted for President Trump, lent his support to the statement after being approached by Mr. Clark. He added,
"It's not a group you would typically expect to be the people on the front line of a protest."




                                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
The national ferment over race has reached many American institutions, including professional sports leagues, major corporations and
Hollywood. Yet the dissent within Kappa Alpha, pieced together through interviews and by reviewing text exchanges and other documents,
caught many familiar with the fraternity by surprise.
Kappa Alphas at Southwestern are "not known for doing the work of race relations," said Ivan Maina, co-president of Ebony, a Black student
group at Southwestern. A few years earlier, when some members pushed to remove a portrait of Lee hanging in the fraternity house, the
majority voted to leave it up. The chapter, home to both liberals and conservatives, is officially "apolitical;" many members said.
But discomfort with Kappa Alpha's reputation on race had been building in the chapter for some time. Privately, some of its younger alumni
had begun to call the fraternity's depiction of Lee "indoctrination." More Latinos had joined the chapter. And a call to action by Mr. Clark -
one of three Black alumni in the chapter's 137-year history - after Mr. Floyd's death proved hard to ignore.

"I think everyone has wanted to do something like this, but the courage within the active chapter has never been there," said Jeremy Wilson,
a senior member of the chapter, who like all active members who spoke to The New York Times for this article did so against the chapter's
instructions.




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             Case: 3:22-cv-00058-GFVT-EBA                      Doc #: 1-1 Filed: 10/19/22                Page: 106 of 265 -
                                                               Page ID#: 116
"T Mart!" replied Mr. Clark, invoking Mr. Martin's nickname and waving aside the apology, "Good to hear from you."
A few days later, Mr. Martin posted the first draft of the statement.

Reluctant protesters
Under Kappa Alpha rules, chapters have wide leeway to make public statements. And by early July, the chapter at Washington and Lee
University in Virginia, a school embroiled in a campus-wide debate over dropping Lee from its name, had publicly renounced its ties to the
general.
But the Southwestern chapter's statement was "incendiary," Larry Wiese, the fraternity's executive director, told the chapter's president,
Santiago Fernandez. If published unaltered, Mr. Wiese wrote in an email, it "could damage your chapter, the other chapters or the Order as a
whole."
"They said they would immediately suspend us if we release it," Mr. Fernandez reported to the chat group.

He pasted in the revisions proposed by the national organization.
Strike "racist." Cut "remedy." No "demand."
"What do y'all think?" he wrote.
Especially at Kappa Alpha's larger chapters, concentrated in the South, some students who grew up celebrating Confederate figures
gravitate to the fraternity precisely because of its allegiance to Lee. Even at the Southwestern chapter, which draws members from diverse
backgrounds, those discomfited by the Lee connection had long managed to overlook it. And loyalty was a key Kappa Alpha precept.
So it was perhaps not surprising that the chapter's resolution wavered at the threat of suspension. Some older alumni, who can open doors to
jobs, members knew, would almost certainly be displeased. Knowing it was possible, too, that the chapter would forfeit its house - one of the
more affordable housing options - the authors acquiesced to some edits.
"Racist" was replaced with "deeply troubling" to describe the fraternity's history. "Call for" was substituted for "demand." But the group,




                                                                                                                                                Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
which had grown to several dozen alumni and active members, declined to cut the line vowing to "engage with our community in order to
learn what pain we have caused and how we can remedy it."
As the negotiations stretched on, some grew impatient.
"It's outrageous to me that we're still debating this;' wrote a recent alumnus.
Others still hesitated.
"Bro I benefit from being white but you don't get losing the house," replied one.
At least one white member opposed denouncing Lee on principle. Elijah Norris, 19, who would become the fourth African-American to
graduate as a member of the chapter, recalled a series of calls with another who was equivocating. A third who was leaning against the public
criticism of the fraternity posted his phone number, inviting those in support to talk one-on-one.

A call for a vote
The Southwestern chapter, known within Kappa Alpha by the Greek letter "Xi:' had changed over the previous five years.
Composite pictures from years gone by that contained Confederate iconography were placed in storage. Pledges were told that the chapter
did not adhere to Kappa Alpha traditions like toasting Lee on his birthday.




                                                                                                                                                EXH : 000005 of 000072
                    Case: 3:22-cv-00058-GFVT-EBA                                                  Doc #: 1-1 Filed: 10/19/22                                             Page: 107 of 265 -
                                                                                                  Page ID#: 117
The suspension notice arrived a few hours later.

A second suspension
At the national fraternity's annual leadership institute in January, its chapter presidents were encouraged to role-play responding to common
Lee questions. Nineteen who bristled at the exercise - "a lot of like, 'deflect, deflect, deflect;" one recalled - have signed an internal petition
echoing the Southwestern chapter's demands. One was the president of the Vanderbilt chapter, which released a statement calling on the
fraternity to acknowledge its "problematic history of racial exclusivity."
Several groups of Kappa Alpha alumni have issued similar pleas, including one led by Robert Binion, a white pastor who recalls a racist
Martin Luther King's Birthday tradition at the Georgia Tech chapter when he was an officer in the mid-2000s in which members, invoking
anti-Black stereotypes, drank malt liquor, threw dice and ate watermelon. Representative Joseph P. Kennedy, of Stanford's chapter, also
denounced the fraternity during his recent Senate campaign.
In correspondence with Kappa Alpha's critics, Mr. Wiese noted that the fraternity hired a staff member dedicated to diversity education, and
that it honors Lee solely as an educator and force for national reconciliation at the end of his life.
The only way to change Lee's "spiritual founder" designation is by a vote at the biannual convention next summer, he said, and there is no
indication that the measure has majority support. The national staff, Mr. Wiese said, is agnostic. But in an email to the insurgent chapters
after suspending the Vanderbilt chapter, he noted that suspended chapters do not get a vote.
Amy Harmon is a national correspondent, covering the intersection of science and society. She has won two Pulitzer Prizes, for her series "The DNA Age", and as part of a team for
the series "How Race Is Lived in America." @amy_harmon • Facebook

A version of this article appears in print on, Section A, Page 21 of the New Yori< edition with the headline: Fraternity That Reveres Civil War General Faces a Revolt




                                                                                                                                                                                              Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
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       ATTACHMENT THREE
         KAPPA ALPHA GROUPME ACCOUNT
                  TEXT MESSAGE THREAD




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                                 EXH : 000007 of 000072
Case: 3:22-cv-00058-GFVT-EBA        Doc #: 1-1 Filed: 10/19/22      Page: 109 of 265 -
                                    Page ID#: 119

        •ne        Kappa Alpha GroupMe Accoun... @
        J His daughter thinks the cannon is badass

                Chris Flounlacker
                We need someone to bang her

        • Chris Flounlacker
        ' More than one is better
                                                             ..   ....       ..

            :        t ri o f t h e a n = : t      run·- s
        l_      daughter .. ?

        • Jes
        ' Not too late for a 'llrT

        • Bo Billings
        ' My point about lambda chi was a




                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
          hypothetical. I guess I didn't explain that
          well enough. But what I'm trying to say is
          that if they are taking our cannon away
          because of someone's feelings then having
          a tree in the yard is essentially the same
          kind of dumb logic as a non functioning
          cannon.

            Austin Blake
            dawson can do it

            Austin Blake
        r gang gang

            Austin Blake
        r   wife beater
                                                                                         EXH : 000008 of 000072




            Jesse Morrow
        � No we keep the cannon AND run the
            daughter

                                                                         +
Case: 3:22-cv-00058-GFVT-EBA   Doc #: 1-1 Filed: 10/19/22   Page: 110 of 265 -
                               Page ID#: 120




         ATTACHMENT FOUR
  EXAMPLES OF ONLINE ARTICLES REGARDING
  TERMINATION OF PLAINTIFF WILLIAM JONES




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
  • AP News Wire: 'Kentucky College President Fired After Sexual
    Assault Report'
  • The Daily Beast: 'Georgetown College President William A.
    Jones Fired Over Sexual Assault Allegations'
  • Yahoo News: 'Georgetown College Fires President Amid
    Allegations of Sexual Assault, Inappropriate Behavior'
  • LEX18: 'Georgetown College President Fired After Sexual
    Assault Allegation, other 'inappropriate behavior'
  • NBC NEWS: 'President of Georgetown College in Kentucky
    Fired Over Sexual Assault Allegations'
  • FOXNEWS: 'Kentucky College Fires President Over Sexual
    Assault Allegations'
  • NY DAILYNEWS via MSN: 'Georgetown College President
    Fired After Employee Alleges Sexual Assault'
                                                                                 EXH : 000009 of 000072
                Case: 3:22-cv-00058-GFVT-EBA                             Doc #: 1-1 Filed: 10/19/22                      Page: 111 of 265 -
                                                                         Page ID#: 121
Kentucky college president fired after sexual assault report I AP News

 Sexual abuse by clergy


 Kentucky college president fired after
 sexual assault report
 November 2, 2021




 GEORGETOWN, Ky. (AP)-The president of Kentucky's Georgetown College has been fired
 after reports emerged accusing him of sexual assault and sexual misconduct against
 employees, the small Christian liberal arts school announced Tuesday.
 William Jones was fired by the board of trustees after the college learned of "allegations of a
 sexual assault of a female College employee, inappropriate behavior with another female
 College employee, and other conduct in violation of Jones's employment agreement with the
 College," according to a news release.




                                                                                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
 The Associated Press was not able to reach Jones for comment on Tuesday evening.
 The college received the allegations on Oct. 31 and Board of Trustees chairman Robert Mills
 called a meeting of the board's executive committee the next day. The full board voted to fire
 him on Monday. The college has hired outside counsel to continue the investigation, the
 release said. Officials


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                                                                                                                                                    EXH : 000010 of 000072




 "Georgetown College does not tolerate violence or misuse of authority. We hold our
 administrators, students and faculty to the highest standards of moral and ethical conduct,"
 Mills said in a statement, according to the Lexington Herald-Leader. "We are surprised and

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https://apnews.com/article/religion-education-kentucky-sexual-abuse-by-clergy-sexual-assault-309c 16'kff'Qf1 o,.An,.NAn-1-c • · · " ' ·• - ·-
                Case: 3:22-cv-00058-GFVT-EBA                             Doc #: 1-1 Filed: 10/19/22                              Page: 112 of 265 -
                                                                         Page ID#: 122
Kentucky college president fired after sexual assault report I AP News


 deeply disappointed by what we have learned. We will support the members of our
 Georgetown College family who are directly impacted, and we will work cooperatively with
 ongoing or any future investigations."

 Officials did not release further details about the allegations.

 Rosemary Allen, the school provost, was named acting president of the college by the board of
 trustees. The school, which is not connected to Georgetown University in Washington, is
 located about 10 miles (16 kilometers) north of Lexington.

 According to the college's website, Jones was named president in 2019 and previously worked
 as the president of Bethany College in Lindsborg, Kansas.



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                      Case: 3:22-cv-00058-GFVT-EBA                                                   Doc #: 1-1 Filed: 10/19/22                                   Page: 113 of 265 -
                                                                                                     Page ID#: 123
Kentucky Georgetown College President William A. Jones Fired Over Sexual Assault Allegation




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  clearly broken his employment agreement with the college," Sands Wise said. "Even without complete knowledge [of the
  situation], that was clear. They decided at that time they had to terminate [Jones'] employment to protect those who are
  vulnerable."




  The board's chairman, Robert L. Mills, called a Monday morning meeting of an executive committee, which took immediate
  action to dismiss Jones. Later that day, the full Board of Trustees affirmed the move.




                                                                                                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
 Usement




 "Georgetown College does not tolerate violence or misuse of authority," Mills said in a statement. "We hold our administrators,
 students and faculty to the highest standards of moral and ethical conduct. We are surprised and deeply disappointed by what we
 have learned."

 Jones was brought on as Georgetown's president in July 2019 with a unanimous vote from the board, according to the college's
                                                                                                                                                                                       EXH : 000012 of 000072



 website. "I look forward to working with the Georgetown College campus and our alumni as we dream new dreams and strive
 together to bring them into reality for our students and local community," he said in a statement at the time. "I pray that God will
 be merciful towards our efforts."


           A truly special and historic day here at Georgetown College, as we introduced President and Mrs. Jones and welcomed



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                     Case: 3:22-cv-00058-GFVT-EBA                                               Doc #: 1-1 Filed: 10/19/22                                                      Page: 114 of 265 -
                                                                                                Page ID#: 124
Kentucky Georgetown College President William A. Jones Fired Over Sexual Assault Allegation


            them to the Georgetown family. pic.twitter.com/f5zy8GAoiP
                                                                                                     ADVERTISING




            - Georgetown College (@GtownCollege) July 3, 2019


 The allegations, and news of Jones' termination, were shared with the college's 1,500 enrolled students and wider campus
 community on Tuesday. "I think it's safe to say there's definitely some shock," Sands Wise said. "But we certainly are all working
 together and asking for everyone's prayer." He himself was "absolutely blown away" by the news, he added.


 tisement




                                                                                                                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
 An email sent out by acting president Rosemary Allen told the community that the college was not the president, but rather its
 students, faculty, coaches, and staff. Georgetown's mission-to serve its students-had not changed, she wrote, and it would
 remain focused on healing the community.

 "We are going to have some feelings of grief and disappointment," Sands Wise said, adding later that the college would be hosting
 a "listening session" for its students on Tuesday evening.

 The college has engaged outside counsel to continue the investigation, and it's unclear whether criminal charges will be brought
 against Jones.
                                                                                                                                                                                                     EXH : 000013 of 000072




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                       WITH GAME PASS


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   f                Georgetown College fires
                    president amid allegations
                   of sexual assault,
  iili


                   inappropriate behavior
                                                                                                                                                    EXH : 000014 of 000072




                    November 2, 2021




                   Amid sexual assault allegations involving a fellow
                   employee, and other allegations of inappropriate behavior,
                    Georgetown College has fired its president.
          Case: 3:22-cv-00058-GFVT-EBA   Doc #: 1-1 Filed: 10/19/22   Page: 116 of 265 -
                                         Page ID#: 126


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                                                                                               Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
     NEWS




     Georgetown College president
     fired after sexual assault
     allegation, other 'inappropriate
     behavior'

                                                                                               EXH : 000015 of 000072




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The Board of Trustees of Georgetown College has fired William A. Jones as president.




    .    By: Jordan Mickle

Posted at 2:41 PM, Nov 02, 2021 and last updated 7:15 AM, Nov 03, 2021



GEORGETOWN, Ky. (LEX 18) - The Board of Trustees of Georgetown College
has fired William A. Jones as president.

The college says on Sunday, October 31, they were informed of allegations of a




                                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
sexual assault of a female College employee, inappropriate behavior with
another female College employee, and other conduct in violation of Jones's
employment agreement with the College.

According to an emergency protective order, the employee who alleges she was
sexually assaulted by Jones says it happened during an out-of-state work trip.
She made the filing out of concern for her safety.

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Officials say they took immediate steps to investigate the allegations and
engaged outside counsel to continue the investigation.

On Monday, November 1, the Chairman of the Georgetown College Board of
Trustees, Robert L. Mills, called a meeting of the Executive Committee of the
Board. The College says they took immediate action to dismiss Jones and the
full Board of Trustees affirmed the action of the Executive Committee at a
meeting later on Monday.

"Georgetown College does not tolerate violence or misuse of authority," said




                                                                                            Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Chairman Mills in a statement. "We hold our administrators, students, and
faculty to the highest standards of moral and ethical conduct. We are surprised
and deeply disappointed by what we have learned. We will support the
members of our Georgetown College family who are directly impacted, and we
will work cooperatively with ongoing or any future investigations. We are
confident in the leadership of Acting President Allen and the Board appreciates
her dedication to the continuing mission of Georgetown College during this
difficult time."



Dr. Rosemary Allen, the College's Provost, was named Acting President by the
College's Board of Trustees.                                                                EXH : 000017 of 000072



The allegations remain under investigation.
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··ceorgetmvn College does not tolerate violence or misuse ofauthority.'' said Robert L. ;\:Tills. chairman of
the college's Board of Trustees.




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                                              "Georgetown College does not tolerate
                                            violence or misuse of authority. We hold ourwtcx
                                             administrators, students and faculty to the
                                               highest standards of moral and ethical
        GEORGETOWN                             conduct. We are surprised and deeply
        COLL             EGE                  disappointed by what we have learned."




                                                                                                                Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                           ROBERT L. MILLS
                                                   CHAIRMAN OF THE BOARD OF TRUSTEES




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Nov. 3, 2021, 11:00 AM E D T / Updated Nov. 3, 2021, 11:31 AM EDT

By Minyvonne Burke
                                                                                                                EXH : 000018 of 000072




The president of Georgetown College in Kentucky was fired over alleged inappropriate conduct
including complaints he sexually assaulted a female colleague.

The private liberal arts Christian college, located about 70 miles from Louisville, announced
William A. Jones' termination on Tuesday.
       Case: 3:22-cv-00058-GFVT-EBA                          Doc #: 1-1 Filed: 10/19/22   Page: 120 of 265 -
                                                             Page ID#: 130
"Georgetown College does not tolerate violence or misuse of authority. We hold our
administrators, students and faculty to the highest standards of moral and ethical conduct," said
Robert L. Mills, chairman of the college's Board of Trustees, in a statement.




                                                                                                               Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        William A. Jones.        WLEX




Jones is accused of sexually assaulting a female employee, engaging in inappropriate behavior
with another female worker and displaying "other conduct in violation" of his employment, the
college said. The school became aware of the allegations on Sunday and immediately launched
an investigation.
                                                                                                               EXH : 000019 of 000072




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         Case: 3:22-cv-00058-GFVT-EBA        Doc #: 1-1 Filed: 10/19/22 Page: 121 of 265 -
                                            Page  ID#:outside
   Georgetown said in its statement that it had hired  131    counsel to assist with the investigation.

   "We are surprised and deeply disappointed by what we have learned," Mills said. "We will
   support the members of our Georgetown College family who are directly impacted, and we will
   work cooperatively with ongoing or any future investigations."



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   Mills called a meeting on Monday with the executive committee of the Board of Trustees, which
   decided to fire Jones. The termination went into effect on Monday. Rosemary Allen, the college's
   provost, will serve as acting president by the College's Board of Trustees.

   "We are confident in the leadership of acting president Allen and the Board appreciates her
   dedication to the continuing mission of Georgetown College during this difficult time," Mills said.

  Jones became president of the college in July 2019. He has not publicly commented on the
  allegations and could not be reached Wednesday at phone numbers listed for him.




              Minyvonne Burke
              .,,
                                                                                                                         EXH : 000020 of 000072




   Minyvonne Burke is a senior breaking news reporter for NBC News.


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                                        KENTUCKY · Published November 3, 2021 8:56pm EDT


      Kentucky college fires president over sexual assault
                          allegations
   William Jones was the president of Georgetown College for over two years before his dismissal
                                                          By Paul Best I Fox News




                                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
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The president of a small Christian colleg in KentuckY. was fired on Monday after a colleague
                                                                                                                      EXH : 000021 of 000072




accused him of sexual assault. the school announced.
     Case: 3:22-cv-00058-GFVT-EBA        Doc #: 1-1 Filed: 10/19/22      Page: 123 of 265 -
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The Board of Trustees at Georgetown College announced the termination of William A. Jones, who
had been the president for just over two years, after becoming aware the day before of "allegations
of a sexual assault of a female College employee" and "inappropriate behavior with another female
College employee."

"Georgetown College does not tolerate violence or misuse of authority," the board's chairman,
Robert L. Mills, said in a statement on Monday.

"We hold our administrators, students and faculty to the highest standards of moral and ethical
conduct. We are surprised and deeply disappointed by what we have learned."




                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                                                      EXH : 000022 of 000072
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William Jones was fired by Georgetown University over sexual assault allegations by a colleague. (Georgetown College)




                                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
One of the alleged victims filed an emergency protective order on Monday that says the assault took
place on a work trip in lndianaP-olis last month, the Lexington Herald-Leader reP-orts.

"William Jones sexually harassed me in the lobby of (the) hotel before later sexually assaulting me
in his hotel room," the employee wrote in the order, according to the local newspaper. "Multiple times
throughout the incident's timeframe I told him to stop."

NORTH CAROLINA REP. GREG MURPHY INTRODUCES BILL TO GIVE PROTECTIONS FOR
REOPENING SCHOOLS AND COLLEGES




                                                                                                                        EXH : 000023 of 000072
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The Indianapolis Metro Police Department could not confirm on Wednesday if a police report had
been filed.




                                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Image 1 of 2
 (Georgetown College)



Georgetown College hired Jones two years ago after Jones had a three-year stint at Bethany
College, a Christian liberal arts school in Kansas.

"My wife, Amy, the Jones children, and I are looking forward to becoming part of the campus and
local community," Jones said when he was hired in 2019. "Georgetown is a terrific place to raise a
family!"




                                                                                                     EXH : 000024 of 000072
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Jones did not immediately respond to a request for comment on Wednesday.


Paul Best is a reporter for Fox News Digital. Story tips can be sent to Paul.best@fox.com and on Twitter:
@Kincaid Best.



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Georgetown College president fired after employee alleges sexual assault
KATE FELDMAN - Nov 3, 2021

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L      es'1dian a day after an employee accused him of sexual assault, the president of Georgetown College,
       a private, Christian liberal arts school in Kentucky, has been expelled.




                                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                                                                       EXH : 000026 of 000072




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William Jones was fired after a vote by the board of trustees, the school announced Tuesday.

The woman, who has not been publicly identified, was granted an emergency protective order against Jones
after she accused him of assaulting her during an out-of-state work trip, according to LEX18.

No other details were made public.

The statement from the school also mentioned allegations of "inappropriate behavior with another female
College employee" and "other conduct in violation of Jones's employment agreement" that were presented
Sunday. By Monday morning, the board had voted.

"Georgetown College does not tolerate violence or misuse of authority. We hold our administrators, students
and faculty to the highest standards of moral and ethical conduct. We are surprised and deeply disappointed
by what we have learned," Robert Mills, the Chairman of the Georgetown College Board of Trustees, said in a
statement.

"We will support the members of our Georgetown College family who are directly impacted, and we will work
cooperatively with ongoing or any future investigations."

Dr. Rosemary Allen, the school's provost, has been named acting president.




                                                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Jones was hired in 2019 after three years as president of Bethany College in Lindsborg, Kansas.




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          ATTACHMENT FIVE

               TITLE IX: 34 CFR 106.45




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                                 EXH : 000028 of 000072
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                                                         Page ID#: 140
                                                                                                              34 CFR 106.45
Grievance process for formal complaints of sexual harassment.


This content is from the eCFR and is authoritative but unofficial.



Title 34 - Education
Subtitle B - Regulations of the Offices of the Department of Education
Chapter I - Office for Civil Rights, Department of Education
Part 106 - Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving
     Federal Financial Assistance
Subpart D - Discrimination on the Basis of Sex in Education Programs or Activities Prohibited
      Authority. 20,U.S.C._1_681_ et seq., unless otherwise noted.
      Source: 45_FR_30955, May 9, 1980, unless otherwise noted.


§ 106.45 Grievance process for formal complaints of sexual harassment.
      (a) Discriminationon the basis of sex. A recipient's treatment of a complainant or a respondent in response
          to a formal complaint of sexual harassment may constitute discrimination on the basis of sex under title
          IX.
      (b) Grievance process. For the purpose of addressing formal complaints o f sexual harassment, a recipient's
          grievance process must comply with the requirements of this section. Any provisions, rules, or practices
          other than those required by this section that a recipient adopts as part of its grievance process for
          handling formal complaints of sexual harassment as defined in .§.}.9..:-.9. . must apply equally to both




                                                                                                                              Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
          parties.

            (1) Basic requirementsfor grievanceprocess. A recipient's grievance process must -
                   (i)   Treat complainants and respondents equitably by providing remedies to a complainant where a
                         determination of responsibility for sexual harassment has been made against the respondent,
                         and by following a grievance process that complies with this section before the imposition of
                         any disciplinary sanctions or other actions that are not supportive measures as defined in.§.
                         1_06.30, against a respondent. Remedies must be designed to restore or preserve equal access
                         to the recipient's education program or activity. Such remedies may include the same
                         individualized services described in § 106.30 as "supportive measures"; however, remedies
                         need not be non-disciplinary or non-punitive and need not avoid burdening the respondent;
                  (ii) Require an objective evaluation of all relevant evidence - including both inculpatory and
                       exculpatory evidence - and provide that credibility determinations may not be based on a
                       person's status as a complainant, respondent, or witness;
                  (iii) Require that any individual designated by a recipient as a Title IX Coordinator, investigator,
                        decision-maker, or any person designated by a recipient to facilitate an informal resolution
                        process, not have a conflict of interest or bias for or against complainants or respondents
                        generally or an individual complainant or respondent. A recipient must ensure that Title IX
                        Coordinators, investigators, decision-makers, and any person who facilitates an informal
                                                                                                                              EXH : 000029 of 000072




                        resolution process, receive training on the definition of sexual harassment in § 106.30, the
                        scope of the recipient's education program or activity, how to conduct an investigation and
                        grievance process including hearings, appeals, and informal resolution processes, as
                        applicable, and how to serve impartially, including by avoiding prejudgment of the facts at issue,
                        conflicts of interest, and bias. A recipient must ensure that decision-makers receive training on
                        any technology to be used at a live hearing and on issues of relevance of questions and

34 CFR 106.45(b)(l)(iii) (enhanced display)                                                                     pagelof8
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                                                                                                         34 CFR 106.4S(b)(1)(iv)
Grievance process for formal complaints of sexual harassment.


                        evidence, including when questions and evidence about the complainant's sexual
                        predisposition or prior sexual behavior are not relevant, as set forth in paragraph (b)_{6) of this
                        section. A recipient also must ensure that investigators receive training on issues o f relevance
                        to create an investigative report that fairly summarizes relevant evidence, as set forth in
                        paragraph(b )(5)(vii) of this section. Any materials used to train Title IX Coordinators,
                        investigators, decision-makers, and any person who facilitates an informal resolution process,
                        must not rely on sex stereotypes and must promote impartial investigations and adjudications
                        of formal complaints of sexual harassment;

                 (iv)   Include a presumption that the respondent is not responsible for the alleged conduct until a
                        determination regarding responsibility is made at the conclusion of the grievance process;
                 (v)    Include reasonably prompt time frames for conclusion of the grievance process, including
                        reasonably prompt time frames for filing and resolving appeals and informal resolution
                        processes if the recipient offers informal resolution processes, and a process that allows for
                        the temporary delay of the grievance process or the limited extension o f time frames for good
                        cause with written notice to the complainant and the respondent of the delay or extension and
                        the reasons for the action. Good cause may include considerations such as the absence of a
                        party, a party's advisor, or a witness; concurrent law enforcement activity; or the need for
                        language assistance or accommodation of disabilities;

                 (vi) Describe the range of possible disciplinary sanctions and remedies or list the possible
                      disciplinary sanctions and remedies that the recipient may implement following any




                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                      determination of responsibility;

                (vii) State whether the standard of evidence to be used to determine responsibility is the
                      preponderance o f the evidence standard or the clear and convincing evidence standard, apply
                      the same standard o f evidence for formal complaints against students as for formal
                      complaints against employees, including faculty, and apply the same standard of evidence to
                      all formal complaints of sexual harassment;

                (viii) Include the procedures and permissible bases for the complainant and respondent to appeal;

                 (ix) Describe the range of supportive measures available to complainants and respondents; and

                 (x)    Not require, allow, rely upon, or otherwise use questions or evidence that constitute, or seek
                        disclosure of, information protected under a legally recognized privilege, unless the person
                        holding such privilege has waived the privilege.

           (2) Notice of allegations -
                 (i)    Upon receipt of a formal complaint, a recipient must provide the following written notice to the
                        parties who are known:

                        {A) Notice of the recipient's grievance process that complies with this section, including any
                            informal resolution process.
                                                                                                                                   EXH : 000030 of 000072




                        (B) Notice of the allegations of sexual harassment potentially constituting sexual harassment
                            as defined in §..J.9. .:. .9., including sufficient details known at the time and with sufficient
                            time to prepare a response before any initial interview. Sufficient details include the
                            identities of the parties involved in the incident, if known, the conduct allegedly
                            constituting sexual harassment under§ 1_0_6.30, and the date and location of the alleged
                            incident, if known. The written notice must include a statement that the respondent is

34 CFR 106.4S(b)(2)(i)(B)(enhanced display)                                                                        page2of8
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Grievance process for formal complaints of sexual harassment.


                             presumed not responsible for the alleged conduct and that a determination regarding
                             responsibility is made at the conclusion of the grievance process. The written notice must
                             inform the parties that they may have an advisor o f their choice, who may be, but is not
                             required to be, an attorney, under p .r. 9r.i:I.P.. .( }(§.)_(!_y). of this section, and may inspect and
                             review evidence under .P. .r. .9r._c;1p_ .( J(§}(y_i) of this section. The written notice must inform
                             the parties of any provision in the recipient's code o f conduct that prohibits knowingly
                             making false statements or knowingly submitting false information during the grievance
                             process.
                 (ii)   If, in the course o f an investigation, the recipient decides to investigate allegations about the
                        complainant or respondent that are not included in the notice provided pursuant to paragraph
                        ( )..(?.).(i).( ). of this section, the recipient must provide notice of the additional allegations to the
                        parties whose identities are known.

           (3) Dismissalof a formalcomplaint-
                 (i)    The recipient must investigate the allegations in a formal complaint. If the conduct alleged in
                        the formal complaint would not constitute sexual harassment as defined i n § 1_06._30 even if
                        proved, did not occur in the recipient's education program or activity, or did not occur against a
                        person in the United States, then the recipient must dismiss the formal complaint with regard to
                        that conduct for purposes of sexual harassment under title IX or this part; such a dismissal
                        does not preclude action under another provision of the recipient's code o f conduct.

                 (ii)   The recipient may dismiss the formal complaint or any allegations therein, if at any time during




                                                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                        the investigation or hearing: A complainant notifies the Title IX Coordinator in writing that the
                        complainant would like to withdraw the formal complaint or any allegations therein; the
                        respondent is no longer enrolled or employed by the recipient; or specific circumstances
                        prevent the recipient from gathering evidence sufficient to reach a determination as to the
                        formal complaint or allegations therein.

                (iii) Upon a dismissal required or permitted pursuant to p_i:!_r.i:l_g_r.i:IJ?.b.( ).( )(!). or ( )( J(i_i). of this
                      section, the recipient must promptly send written notice of the dismissal and reason(s) therefor
                      simultaneously to the parties.

           (4) Consolidationof formalcomplaints.A recipient may consolidate formal complaints as to allegations
                of sexual harassment against more than one respondent, or by more than one complainant against
                one or more respondents, or by one party against the other party, where the allegations of sexual
                harassment arise out of the same facts or circumstances. Where a grievance process involves more
                than one complainant or more than one respondent, references in this section to the singular "party,"
                "complainant,N or "respondent" include the plural, as applicable.

           (5) Investigationof a formalcomplaint.When investigating a formal complaint and throughout the
               grievance process, a recipient must -

                 (i)    Ensure that the burden of proof and the burden of gathering evidence sufficient to reach a
                        determination regarding responsibility rest on the recipient and not on the parties provided that
                                                                                                                                         EXH : 000031 of 000072




                        the recipient cannot access, consider, disclose, or otherwise use a party's records that are
                        made or maintained by a physician, psychiatrist, psychologist, or other recognized professional
                        or paraprofessional acting in the professional's or paraprofessional's capacity, or assisting in
                        that capacity, and which are made and maintained in connection with the provision of treatment
                        to the party, unless the recipient obtains that party's voluntary, written consent to do so for a


34 CFR 106.4S(b)(sXi) (enhanced display)                                                                                  page3of8
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Grievance process for formal complaints of sexual harassment.


                        grievance process under this section (if a party is not an Heligible student," as defined in 34.CFR
                        99._3, then the recipient must obtain the voluntary, written consent of a Hparent,H as defined in 9.i
                        CFR_99.3);
                 (ii)   Provide an equal opportunity for the parties to present witnesses, including fact and expert
                        witnesses, and other inculpatory and exculpatory evidence;
                 (iii) Not restrict the ability of either party to discuss the allegations under investigation or to gather
                       and present relevant evidence;
                 (iv) Provide the parties with the same opportunities to have others present during any grievance
                      proceeding, including the opportunity to be accompanied to any related meeting or proceeding
                      by the advisor of their choice, who may be, but is not required to be, an attorney, and not limit
                      the choice or presence of advisor for either the complainant or respondent in any meeting or
                      grievance proceeding; however, the recipient may establish restrictions regarding the extent to
                      which the advisor may participate in the proceedings, as long as the restrictions apply equally
                      to both parties;
                 (v) Provide, to a party whose participation is invited or expected, written notice of the date, time,
                     location, participants, and purpose of all hearings, investigative interviews, or other meetings,
                     with sufficient time for the party to prepare to participate;
                 (vi) Provide both parties an equal opportunity to inspect and review any evidence obtained as part
                      of the investigation that is directly related to the allegations raised in a formal complaint,




                                                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                      including the evidence upon which the recipient does not intend to rely in reaching a
                      determination regarding responsibility and inculpatory or exculpatory evidence whether
                      obtained from a party or other source, so that each party can meaningfully respond to the
                      evidence prior to conclusion of the investigation. Prior to completion of the investigative report,
                      the recipient must send to each party and the party's advisor, if any, the evidence subject to
                      inspection and review in an electronic format or a hard copy, and the parties must have at least
                      1Odays to submit a written response, which the investigator will consider prior to completion of
                      the investigative report. The recipient must make all such evidence subject to the parties'
                      inspection and review available at any hearing to give each party equal opportunity to refer to
                      such evidence during the hearing, including for purposes of cross-examination; and
                (vii) Create an investigative report that fairly summarizes relevant evidence and, at least 10 days
                      prior to a hearing (if a hearing is required under this section or otherwise provided) or other
                      time of determination regarding responsibility, send to each party and the party's advisor, if any,
                      the investigative report in an electronic format or a hard copy, for their review and written
                      response.
           (6) Hearings.
                 (i)    For postsecondary institutions, the recipient's grievance process must provide for a live
                        hearing. At the live hearing, the decision-maker(s) must permit each party's advisor to ask the
                                                                                                                                       EXH : 000032 of 000072




                        other party and any witnesses all relevant questions and follow-up questions, including those
                        challenging credibility. Such cross-examination at the live hearing must be conducted directly,
                        orally, and in real time by the party's advisor of choice and never by a party personally,
                        notwithstanding the discretion of the recipient under P.�.f.�.9r..�.P.�.(�).(?,).(iy) of this section to
                        otherwise restrict the extent to which advisors may participate in the proceedings. At the
                        request of either party, the recipient must provide for the live hearing to occur with the parties
                        located in separate rooms with technology enabling the decision-maker(s) and parties to
34 CFR 106.4S(b)(6)(i) (enhanced display)                                                                               page4of8
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34 CFR 106.45 {up to date as of9/13/2022)          Page ID#: 144                                            34 CFR 106.4S(b)(6)(ii)
Grievance process for formal complaints of sexual harassment.


                         simultaneously see and hear the party or the witness answering questions. Only relevant cross-
                         examination and other questions may be asked o f a party or witness. Before a complainant,
                         respondent, or witness answers a cross-examination or other question, the decision-maker(s)
                         must first determine whether the question is relevant and explain any decision to exclude a
                        question as not relevant. If a party does not have an advisor present at the live hearing, the
                        recipient must provide without fee or charge t o that party, an advisor o f the recipient's choice,
                        who may be, but is not required to be, an attorney, t o conduct cross-examination on behalf of
                        that party. Questions and evidence about the complainant's sexual predisposition or prior
                        sexual behavior are not relevant, unless such questions and evidence about the complainant's
                        prior sexual behavior are offered to prove that someone other than the respondent committed
                        the conduct alleged by the complainant, or if the questions and evidence concern specific
                        incidents o f the complainant's prior sexual behavior with respect to the respondent and are
                        offered t o prove consent. If a party or witness does not submit to cross-examination at the live
                        hearing, the decision-maker(s) must not rely on any statement o f that party or witness in
                        reaching a determination regarding responsibility; provided, however, that the decision-maker(s)
                        cannot draw an inference about the determination regarding responsibility based solely on a
                        party's or witness's absence from the live hearing or refusal to answer cross-examination or
                        other questions. Live hearings pursuant to this paragraph may be conducted with all parties
                        physically present in the same geographic location or, at the recipient's discretion, any or all
                        parties, witnesses, and other participants may appear at the live hearing virtually, with
                        technology enabling participants simultaneously t o see and hear each other. Recipients must
                        create an audio or audiovisual recording, or transcript, o f any live hearing and make it available




                                                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                        to the parties for inspection and review.

                 (ii)    For recipients that are elementary and secondary schools, and other recipients that are not
                        postsecondary institutions, the recipient's grievance process may, but need not, provide for a
                        hearing. With or without a hearing, after the recipient has sent the investigative report to the
                        parties pursuant to p�.r._�gr�.P.�. (�).(?.).(yi_i)_ o f this section and before reaching a determination
                        regarding responsibility, the decision-maker(s) must afford each party the opportunity to submit
                        written. relevant questions that a party wants asked o f any party or witness, provide each party
                        with the answers, and allow for additional, limited follow-up questions from each party. With or
                        without a hearing, questions and evidence about the complainant's sexual predisposition or
                        prior sexual behavior are not relevant, unless such questions and evidence about the
                        complainant's prior sexual behavior are offered to prove that someone other than the
                        respondent committed the conduct alleged by the complainant, or if the questions and
                        evidence concern specific incidents o f the complainant's prior sexual behavior with respect to
                        the respondent and are offered to prove consent. The decision-maker(s) must explain to the
                        party proposing the questions any decision to exclude a question as not relevant.
           (7) Determinationregardingresponsibility.
                  (i)   The decision-maker(s), who cannot be the same person(s) as the Title IX Coordinator or the
                        investigator(s), must issue a written determination regarding responsibility. To reach this
                                                                                                                                      EXH : 000033 of 000072




                        determination, the recipient must apply the standard o f evidence described in paragraph
                        (�)(UMQ o f this section.
                 (ii) The written determination must include -

                        (A) Identification of the allegations potentially constituting sexual harassment as defined in .§.
                             1_06.30;

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                        (B) A description of the procedural steps taken from the receipt of the formal complaint
                            through the determination, including any notifications to the parties, interviews with
                            parties and witnesses, site visits, methods used to gather other evidence, and hearings
                            held;
                        (C) Findings of fact supporting the determination;
                        (D) Conclusions regarding the application of the recipient's code o f conduct to the facts;
                        (E) A statement of, and rationale for, the result as to each allegation, including a
                            determination regarding responsibility, any disciplinary sanctions the recipient imposes on
                            the respondent, and whether remedies designed to restore or preserve equal access to the
                            recipient's education program or activity will be provided by the recipient to the
                            complainant; and
                        (F) The recipient's procedures and permissible bases for the complainant and respondent to
                            appeal.
                 (iii) The recipient must provide the written determination to the parties simultaneously. The
                       determination regarding responsibility becomes final either on the date that the recipient
                       provides the parties with the written determination of the result of the appeal, if an appeal is
                       filed, or if an appeal is not filed, the date on which an appeal would no longer be considered
                       timely.




                                                                                                                                Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                 (iv) The Title IX Coordinator is responsible for effective implementation of any remedies.

            (8) Appeals.
                  (i)   A recipient must offer both parties an appeal from a determination regarding responsibility, and
                        from a recipient's dismissal of a formal complaint or any allegations therein, on the following
                        bases:
                        (A) Procedural irregularity that affected the outcome of the matter;
                        (B) New evidence that was not reasonably available at the time the determination regarding
                            responsibility or dismissal was made, that could affect the outcome of the matter; and

                        (C) The Title IX Coordinator, investigator(s), or decision-maker(s) had a conflict of interest or
                            bias for or against complainants or respondents generally or the individual complainant or
                            respondent that affected the outcome of the matter.
                 (ii) A recipient may offer an appeal equally to both parties on additional bases.
                 (iii) As to all appeals, the recipient must

                        (A) Notify the other party in writing when an appeal is filed and implement appeal procedures
                            equally for both parties;

                        (B) Ensure that the decision-maker(s) for the appeal is not the same person as the decision-
                                                                                                                                EXH : 000034 of 000072




                            maker(s) that reached the determination regarding responsibility or dismissal, the
                            investigator(s), or the Title IX Coordinator;

                        (C) Ensure that the decision-maker(s) for the appeal complies with the standards set forth in
                            paragraph(b)(1)(iii) of this section;



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Grievance process for formal complaints of sexual harassment.


                        (D) Give both parties a reasonable, equal opportunity to submit a written statement in support
                            of, or challenging, the outcome;

                        (E)   Issue a written decision describing the result o f the appeal and the rationale for the result;
                              and

                        (F)   Provide the written decision simultaneously t o both parties.

           (9) Informal resolution. A recipient may not require as a condition o f enrollment or continuing
               enrollment, or employment or continuing employment, or enjoyment o f any other right, waiver of the
               right to an investigation and adjudication o f formal complaints o f sexual harassment consistent with
               this section. Similarly, a recipient may not require the parties t o participate in an informal resolution
               process under this section and may not offer an informal resolution process unless a formal
               complaint is filed. However, at any time prior to reaching a determination regarding responsibility the
               recipient may facilitate an informal resolution process, such as mediation, that does not involve a full
               investigation and adjudication, provided that the recipient -

                 (i)    Provides t o the parties a written notice disclosing: The allegations, the requirements o f the
                        informal resolution process including the circumstances under which it precludes the parties
                        from resuming a formal complaint arising from the same allegations, provided, however, that at
                        any time prior to agreeing to a resolution, any party has the right to withdraw from the informal
                        resolution process and resume the grievance process with respect to the formal complaint, and
                        any consequences resulting from participating in the informal resolution process, including the
                        records that will be maintained or could be shared;




                                                                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                 (ii)   Obtains the parties' voluntary, written consent to the informal resolution process; and

                 (iii) Does not offer or facilitate an informal resolution process to resolve allegations that an
                       employee sexually harassed a student.
          (1 O) Recordkeeping.

                 (i)    A recipient must maintain for a period o f seven years records of -

                        {A) Each sexual harassment investigation including any determination regarding responsibility
                            and any audio or audiovisual recording or transcript required under P.�r�.9.,r.9p�_.(9,)(�)(i)_ of
                            this section, any disciplinary sanctions imposed on the respondent, and any remedies
                            provided to the complainant designed to restore or preserve equal access to the
                            recipient's education program or activity;

                        (B) Any appeal and the result therefrom;
                        (C) Any informal resolution and the result therefrom; and

                        (D) All materials used to train Title IX Coordinators, investigators, decision-makers, and any
                            person who facilitates an informal resolution process. A recipient must make these
                            training materials publicly available on its website, or if the recipient does not maintain a
                                                                                                                                    EXH : 000035 of 000072



                            website the recipient must make these materials available upon request for inspection by
                            members o f the public.

                 (ii) For each response required under §..1.9..§.:.�.4, a recipient must create, and maintain for a period
                        of seven years, records of any actions, including any supportive measures, taken in response to
                        a report or formal complaint o f sexual harassment. In each instance, the recipient must
                        document the basis for its conclusion that its response was not deliberately indifferent, and

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                       document that it has taken measures designed to restore or preserve equal access to the
                       recipient's education program or activity. If a recipient does not provide a complainant with
                       supportive measures, then the recipient must document the reasons why such a response was
                       not clearly unreasonable in light of the known circumstances. The documentation of certain
                       bases or measures does not limit the recipient in the future from providing additional
                       explanations or detailing additional measures taken.

[85_FR_30575, May 19, 2020)




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            ATTACHMENT SIX

             DOEV.BAUM




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
   SIXTH CIRCUIT COURT OF APPEALS
              No. 17-2213




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                            RECOMMENDED FOR FULL-TEXT PUBLICATION
                                Pursuant to Sixth Circuit 1.O.P. 32.1 (b)
                                       File Name: 18a0200p.06

                     UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT


   JOHN DOE,
                                    PlaintifFAppellant,

          V.                                                       No. 17-2213

   DAVID H . BAUM; SUSAN PRITZEL; TABITHA BENTLEY;
   E . ROYSTER HARPER; NADIA BAZZY; ERIK WESSEL;
   UNIVERSITY OF MICHIGAN; BOARD OF REGENTS OF THE
   UNIVERSITY O f MICHIGAN,
                                 Defendants-Appe/lees.




                                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                           Appeal from the United States District Court
                          for the Eastern District of Michigan at Detroit.
                      No. 2: 16-cv-13174-David M. Lawson, DistrictJudge.

                                     Argued: August 1, 2018

                              Decided and Filed: September 7, 2018

                   Before: GILMAN, GIBBONS, and THAP AR, Circuit Judges.


                                            COUNSEL

  ARGUED: Deborah L. Gordon, DEBORAH GORDON LAW, Bloomfield Hills, Michigan, for
  Appellant. David W. DeBrnin, JENNER & BLOCK, LLP, Washington, D.C., for Appellees.
  ON BRIEF: Deborah L. Gordon, Irina L. Vaynerman, DEBORAH GORDON LAW,
  Bloomfield Hills, Michigan, for Appellant. David W. DeBruin, JENNER & BLOCK, LLP,
  Washington, D.C., Brian M. Schwartz, MILLER, CANFIELD, PADDOCK, AND STONE,
  P.L.C., Detroit, Michigan, for Appellees.
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       THAPAR, J., delivered the opinion of the court, in which GIBBONS, J., joined, and
  GILMAN, J., joined in part. GIBBONS, J. (pg. 17), delivered a separate concurrence.
  GILMAN, J. (pp. 18-25), delivered a separate opinion concurring in part and dissenting in part.
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                                                OPINION


         THAPAR, Circuit Judge. Thirteen years ago, this court suggested that cross-examination
  may be required in school disciplinary proceedings where the case hinged on a question of
  credibility. Flaim v. Med. Coll. o f Ohio, 418 F.3d 629, 641 (6th Cir. 2005). Just last year, we
  encountered the credibility contest that we contemplated in Flaim and confirmed that when
  credibility is at issue, the Due Process Clause mandates that a university provide accused
  students a hearing with the opportunity to conduct cross-examination.           Doe v. Univ. o f
  Cincinnati, 872 F.3d 393, 401-02 (6th Cir. 2017). Today, we reiterate that holding once again:
  if a public university has to choose between competing narratives to resolve a case, the university
  must give the accused student or his agent an opportunity to cross-examine the accuser and




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  adverse witnesses in the presence of a neutral fact-finder. Because the University of Michigan
  failed to comply with this mle, we reverse.

                                                  I.

         John Doe and Jane Roe were students at the University of Michigan. Halfway through
  Roe's freshman and Doe's junior year, the two crossed paths at a "Risky Business" themed
  fraternity party. While there, they had a drink, danced, and eventually had sex. Two days later,
  Roe filed a sexual misconduct complaint with the university claiming that she was too dmnk. to
  consent. And since having sex with an incapacitated person (unsurprisingly) violates university
  policy, the administration immediately launched an investigation. Over the course of three
  months, the school's investigator collected evidence and interviewed Roe, Doe, and twenty-three
  other witnesses. Two stories emerged.

         First, Doe told the investigator that Roe did not appear drunk and that she was an active
  participant in their sexual encounter. According to him, the night went something like this: after
  he and Roe had a drink, danced, and kissed at the party, the two decided to go upstairs to his
                                                                                                        EXH : 000039 of 000072




  bedroom. Once there, they kissed "vigorous[ly]" and eventually made their way onto his bed.
  R. 16, Pg. ID 332. After they jointly removed their clothing, he asked Roe if she wanted to have
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  sex. She said, "Yeah," and the two proceeded to have intercourse followed by oral sex. Id. at
  Pg. ID 333-34. When they were done, they cuddled until Roe became sick and vomited into a
  trash can by Doe's bed. Doe rubbed her back for five or so minutes and then left to use the
  bathroom and talk with friends. By the time he returned, Roe was crying and another female
  student was helping her gather her things. He asked Roe if she was okay, but Roe's new
  companion told him to "[g]o away" and the two women walked out of the room. Id. at Pg. TD
  335. At the time, he assumed that Roe was upset because he had left her alone after they had
  sex. He asserted that he had no reason to believe that she was drunk or that Roe thought any of
  his sexual advances were unwelcome.

         Roe remembered the night differently. According to her, she was drunk and unaware of
  her surroundings when she and Doe went to his room. While kissing near the doorway, she told
  Doe "no sex" before she "flopped" onto his bed. id. at Pg. ID 325-26. Without asking, Doe




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
  undressed her and had intercourse with her while she "laid there in a hazy state of black out." Id.
  at Pg. ID 326. And at some point, she passed out and woke up to Doe having oral sex with her.
  Afterwards, she felt a "spinning sensation" and fe11 back onto the bed. Id. at Pg. ID 327. Doe
  asked her if she was okay, and she told him that she was not. So Doe placed a trash can by the
  side of his bed and left the room. She proceeded to vomit into the trash can. Afterward, she
  attempted to find her clothes but could not get her bearings. Feeling a sense of "desperation and
  defeat," she tried to catch another female student's attention by making "vomit sounds." Id. It
  worked, and the female student ("Witness 2") helped Roe find her clothes, put them on, and get
  back to her donn.

         If Doe's and Roe's stories seem at odds, the twenty-three other witnesses did not offer
  much clarification. Almost all of the male witnesses c01Toborated Doe's story, and all of the
  female witnesses corroborated Roe's. For example, Doe's roommate said that Roe "didn't seem
  like she was hammered or that drunk," although he stated that he did not "want to speculate"
  about whether she had had some alcohol because he did not talk to her directly or "really interact
                                                                                                        EXH : 000040 of 000072




  with [her]" much. Id. at Pg. ID 339. Yet he mentioned that in his two interactions with her, he
  did not smell alcohol on her. Id. Doe's roommate further alleged that Roe and Witness 2 were
 just "rallying against a fraternity guy." Id. at Pg. ID 339-41. Another member of Doe's
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 fraternity told the investigator that he saw Doe and Roe "making out" on the dance floor and
 there was no reason to suspect that either of them had too much to drink. Id. at Pg. ID 347. And
 two others stated that Roe did not appear drunk when she left Doe's room at the end of the night,
 although they indicated they had limited observations of Roe.

         Roe's sorority sisters, on the other hand, reported that Roe seemed "more than a little
 buzzed" at the party because her eyes were "open but unfocused" and she "trail[ ed] off at the end
 of sentences." Id. at Pg. ID 345-46. The female student who helped Roe leave the party told the
 investigator that she found Roe crying and "very drunk" in Doe's bed. Id. at Pg. ID 342-43.
 And two other friends provided that when Roe returned to her dorm that night, she sobbed on the
 floor of her room and said "she thought she'd been raped." Id. at Pg. ID 352.

         Given the students' conflicting statements, the investigator concluded that the evidence
 supporting a finding of sexual misconduct was not more convincing than the evidence offered in




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 opposition to it. The investigator did note, however, that Witness 2 might have been a more
 credible witness because she had no prior connection to Doe, Roe, or their respective Greek
 organizations. But because Witness 2 only observed Roe after the sexual encounter had ended,
 the investigator concluded that she could not address the relevant question-Roe's level of
 intoxication during the encounter or what signs of intoxication she manifested at that time. So
 after three months of thorough fact-finding, the investigator was unable to say that Roe exhibited
 outward signs of incapacitation that Doe would have noticed before initiating sexual activity.
 Accordingly, the investigator recommended that the administration rule in Doe's favor and close
 the case.

         Roe appealed. She argued that the evidence did not supp011 the investigator's findings
 and asked the university to reconsider. The case went up to the university's Appeals Board, and
 a three-member panel reviewed the investigator's report. After two closed sessions (without
 considering new evidence or interviewing any students), the Board reversed.         Although the
 Board found that the investigation was fair and thorough, it thought the investigator was wrong
                                                                                                      EXH : 000041 of 000072




 to conclude that the evidence was in equipoise. According to the Board, Roe's description of
 events was "more credible" than Doe's, and Roe's witnesses were more persuasive. R. 6-5, Pg.
 ID 274-75.     As a result, the university set the investigator's recommendation aside and
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  proceeded to the sanction phase. Facing the possibility of expulsion, Doe agreed to withdraw
  from the university. He was 13 .5 credits short of graduating.

         Since then, Doe filed a lawsuit claiming that the university's disciplinary proceedings
  violated the Due Process Clause and Title IX. He argues that because the university's decision
  turned on a credibility finding, the school was required to give him a hearing with an opportunity
  to cross-examine Roe and adverse witnesses. He also maintains that the Board violated Title IX
  by discriminating against him on account of his gender. The university filed a motion to dismiss,
  which the district court granted in full. Doe now appeals, and we review de nova. Kottmyer v.
 Maas, 436 F.3d 684,688 (6th Cir. 2006).

                                                   II.

         To survive a motion to dismiss, a complaint must provide "a short and plain statement of
  the claim showing that the [plaintiff] is entitled to relief." Fed. R. Civ. P. 8(a)(2). A plaintiff




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  shows that he is entitled to relief by "plausibly suggesting" that he can meet the elements of his
 claim. Bell At!. Corp. v. Twombly, 550 U.S. 544, 557 (2007). And a plaintiff's suggestion is
 plausible when it contains enough factual content that the court can reasonably infer that the
 defendant is liable. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Legal conclusions, "formulaic
 recitation[s]" of the claim's elements, and "naked assertion[s]" of liability are all insufficient. Id.
 (second alteration in original) (quoting Twombly, 550 U.S. at 557).

         When evaluating a complaint's sufficiency, courts use a three-step process. First, the
 court must accept all of the plaintiff's factual allegations as true. Logsdon v. Hains, 492 F.3d
 334, 340 (6th Cir. 2007). Second, the court must draw all reasonable inferences in the plaintiff's
 favor. Id. And third, the court must take all of those facts and inferences and determine whether
 they plausibly give rise to an entitlement to relief. Iqbal, 556 U.S. at 679. If it is at all plausible
 (beyond a wing and a prayer) that a plaintiff would succeed if he proved everything in his
 complaint, the case proceeds.                                                                             EXH : 000042 of 000072
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                                                       III.

          Doe first argues that the university violated his due process rights during his disciplinary
  proceedings. He claims that because the university's decision ultimately turned on a credibility
  determination, the school was required to give him a hearing with an opportunity to cross-
  examine Roe and other adverse witnesses. The district court dismissed this claim, finding that
  even if credibility was at issue, the university's failure to allow for cross-examination was
  "immaterial" in Doe's case. R. 74, Pg. ID 2871. We disagree.

          When it comes to due process, the "opportunity to be heard" is the constitutional
  minimum. Grannis v. Ordean, 234 U.S. 385, 394 (1914). But determining what being "heard"
  looks like in each particular case is a harder question. The Supreme Court has declined to set out
  a universal rule and instead instructs lower courts to consider the parties' competing interests.
  See Mathews v. Eldridge, 424 U.S. 319,335 (1976); Goss v. Lopez, 419 U.S. 565,579 (1975).
  So, consistent with this command, our circuit has made two things clear: (1) i f a student is




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  accused of misconduct, the university must hold some sort of hearing before imposing a sanction
  as serious as expulsion or suspension, and (2) when the university's determination turns on the
  credibility of the accuser, the accused, or witnesses, that hearing must include an opportunity for
  cross-examination. Univ. o f Cincinnati, 872 F.3d at 399-402; Flaim, 418 F .3d at 641.

          Due process requires cross-examination in circumstances like these because it is "the
  greatest legal engine ever invented" for uncovering the truth. Univ. o f Cincinnati, 872 F.3d at
  401-02 (citation omitted). 1 Not only does cross-examination allow the accused to identify
  inconsistencies in the other side's story, but it also gives the fact-finder an opportunity to assess a
  witness's demeanor and determine who can be trusted. Id. So i f a university is faced with
  competing narratives about potential misconduct, the administration must facilitate some form of
  cross-examination in order to satisfy due process. Id. at 402.

                                                                                                                   EXH : 000043 of 000072



           1Even popular culture recognizes the importance of cross-examination. See A Few Good Men (Castle Rock
  Entertainment 1992) (depicting one of the most memorable examples of cross-examination in American cinema);
  My Cousin Vinny (Palo Vista Productions et al. 1992) (demonstrating that cross-examination can both undermine
  and establish the credibility of witnesses).
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          Doe claims that the university ran afoul of this well-established rule in his disciplinary
  proceedings. And the pleadings in his case suggest that he is right. The university's decision
  rested on a credibility detem1ination: the Board found Doe responsible after concluding that Roe
  and her witnesses were "more credible" than Doe and his. R. 6-5, Pg. ID 274-75. Nevertheless,
  Doe never received an opportunity to cross-examine Roe or her witnesses-not before the
  investigator, and not before the Board. As a result, there is a significant risk that the university
  erroneously deprived Doe of his protected interests. 2 See Mathews, 424 U.S. at 335.

          This risk is all the more troubling considering the si g n ificance of Doe's interests and the
  minimal burden that the university would bear by allowing cross-examination in Doe's case. See
  id. at 334-35. Time and again, this circuit has reiterated that students have a substantial interest
  at stake when it comes to school disciplinary hearings for sexual misconduct. Doe v. Miami
  Univ., 882 F.3d 579,600 (6th Cir. 2018); Univ. o f Cincinnati, 872 F.3d at 400; Doe v. Cummins,




                                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
  662 F. App'x 437, 446 (6th Cir. 2016). Being labeled a sex offender by a university has both an
  immediate and lasting impact on a student's life. Miami Univ., 882 F.3d at 600. The student
  may be forced to withdraw from his classes and move out of his university housing. Id. His
  personal relationships might suffer. See id. And he could face difficulty obtaining educational
  and employment opportunities down the road, especially if he is expelled. Id.

          In contrast, providing Doe a hearing with the opportunity for cross-examination would
  have cost the university very little. As it turns out, the university already provides for a hearing
 with cross-examination in all misconduct cases other than those involving sexual assault. So the
  administration already has all the resources it needs to facilitate cross-examination and knows
 how to oversee the process. See Univ. o f Cincinnati, 872 F.3d at 406 (noting that a university
 does not bear a significant administrative burden when it already has procedures in place to
 accommodate cross-examination).              And, importantly, the university identifies no substantial
 burden that would be imposed on it if it were required to provide an opportunity for cross-
 examination in this context.
                                                                                                                         EXH : 000044 of 000072




         2Contrary to the concurrence/dissent's characterization, we apply the Mathews factors herein. We consider
 the seriousness o f Doe's deprivation, the burden on the university, and the risk ofan erroneous outcome in a process
 without live cross-examination. See inf,-a Part 111; see also Mathews, 424 U.S. at 335.
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         Still, the university offers four reasons why Doe's claim is not as plausible as it seems.
  None do the trick.    First, the university contends that even if Doe did not have a formal
  opportunity to question Roe, he was pennitted to review her statement and submit a response
  identifying inconsistencies for the investigator. As such, the university claims that there would
  have been no added benefit to cross-examination. But this circuit has already flatly rejected that
  argument. In University o f Cincinnati, we explained that an accused's ability "to draw attention
  to alleged inconsistencies" in the accuser's statements does not render cross-examination futile.
  Id. at 401-02. That conclusion applies equally here, and we see no reason to doubt its wisdom.
  Cross-examination is essential in cases like Doe's because it does more than uncover
  inconsistencies-it "takes aim at credibility like no other procedural device." Id. Without the
  back-and-forth of adversarial questioning, the accused cannot probe the witness's story to test
  her memory, intelligence, or potential ulterior motives. Id. at 402. Nor can the fact-finder
  observe the witness's demeanor under that questioning. Id. For that reason, written statements




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  cannot substitute for cross-examination. See Brutus Essay XIII, in The Anti-Federalist 180
  (Herbert J. Storing ed., I 985) ("It is of great importance in the distribution of justice that
  witnesses should be examined face to face, that the parties should have the fairest opportunity of
  cross-examining them in order to bring out the whole truth; there is something in the manner in
 which a witness delivers his testimony which cannot be committed to paper, and which yet very
 frequently gives a complexion to his evidence, very different from what it would bear if
 committed to writing . . . . ").   Instead, the university must allow for some form of live
 questioning in front qfthe fact-finder. See Univ. of Cincinnati, 872 F.3d at 402-03, 406 (noting
 that this requirement can be facilitated through modem technology, including, for example, by
 allowing a witness to be questioned via Skype "without physical presence").

         That is not to say, however, that the accused student always has a right to personally
 confront his accuser and other witnesses. See Miami Univ., 882 F.3d at 600 (noting that "even in
 the face of a sexual-assault accusation," the protections afforded to an accused "need not reach
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 the same level . . . that would be present in a criminal prosecution" (quoting Univ. o f Cincinnati,
 872 F.3d at 400)).    Universities have a legitimate interest in avoiding procedures that may
 subject an alleged victim to further harm or harassment. And in sexual misconduct cases,
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  allowing the accused to cross-examine the accuser may do just that. See Univ. o f Cincinnati,
  872 F.3d at 403. But in circumstances like these, the answer is not to deny cross-examination
  altogether. Instead, the university could allow the accused student's agent to conduct cross-
  examination on his behalf            After all, an individual aligned with the accused student can
  accomplish the benefits of cross-examination-its adversarial nature and the opportunity for
  follow-up--without subjecting the accuser to the emotional trauma of directly confronting her
  alleged attacker. C f Maryland v. Craig, 497 U.S. 836, 857 ( I 990) (holding that where forcing
  the alleged victim to testify in the physical presence of the defendant may result in trauma, the
  court could use an alternative procedure that "ensures the reliability of the evidence by
  subjecting it to rigorous adversarial testing" through "full cross-examination" and ensuring that
  the alleged victim could be "observed by the judge, jury, and defendant as they testified"). The
  university's first argument is therefore unavailing. 3




                                                                                                                           Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
          Second, the university contends that Doe is not entitled to cross-examination because the
  university's decision did not depend entirely on a credibility contest between Roe and Doe. For
  support, the university brings our attention back to University o f Cincinnati, where we
  emphasized the exclusively "he said/she said" nature of the investigation at issue in that case.
  872 F.3d at 395, 402.          But the university reads far too much into that point.                     When we
 emphasized the exclusively "he said/she said" nature of the University o f Cincinnati dispute, we
 were not implying that cross-examination would be less important in cases where the school's
 finding rested on the credibility of several witnesses instead of one or two. Rather, we merely
 distinguished that case from others holding that cross-examination was unnecessary when the
 university's decision did not rely on any testimonial evidence at all.                            Id. at 401, 405
 (distinguishing Plummer v. Houston, 860 F.3d 767, 775-76 (5th Cir. 2017), which held that
 cross-examination was unnecessary when conduct depicted in videos and photos was sufficient
 to sustain a finding of misconduct without resorting to testimonial evidence); see also Flaim,
 418 F.3d at 641. Accordingly, University o f Cincinnati does not stand for the proposition that
                                                                                                                           EXH : 000046 of 000072




          3The concurrence/dissent poses a number o f thoughtful questions about what universities need to do going
 forward. None of these, however, are currently before us. Doe asks for an opportunity for a hearing with Jive cross-
 examination. Due process requires as much. I f the university is worried about the accused confronting the accuser,
 it could consider other procedures such as a witness screen. But i f the university does not want the accused to cross-
 examine the accuser under any scenario, then it must allow a representative to do so.
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  cross-examination is required only if the university's decision depends solely on the accuser's
  statement.      Instead, University o f Cincinnati is consistent with our conclusion today:                             if
  credibility is in dispute and material to the outcome, due process requires cross-examination. See
  872 F.3d at 406 (recognizing that credibility disputes might be more common in sexual
  misconduct proceedings than other university disciplinary investigations).

           Third, the university claims that cross-examination was unnecessary m Doe's case
  because he admitted to the misconduct in a police interview the day after the incident in
  question. Here, the university is right about the law but wrong about the facts. This court has
  long held that cross-examination is unnecessary if a student admits to engaging in misconduct.
  Flaim, 418 F.3d at 641.             After all, there is little to be gained by subjecting witnesses to
  adversarial questioning when the accused student has already confessed. But at the motion-to-
  dismiss stage, we cannot conclude that Doe confessed to the misconduct in this case. To see
  why, a closer look at the police report is instructive.




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           During the police interview, a detective asked Doe to describe the previous night's sexual
  encounter. When doing so, Doe told the detective that Roe performed oral sex on him before
  they engaged in intercourse, and that when the pair began to have intercourse, Roe was on top.
  As it turns out, this story was different than the one Roe had reported to the detective earlier that
  day. According to the detective, Roe claimed that she told Doe "no sex" before making her way
  to the bed, and that she perfmmed oral sex on Doe after the pair had intercourse. The detec6ve
  thus relayed Roe's version of the story to Doe, and Doe immediately conceded that Roe was
  right and that he "got it all wrong." R. 16, Pg. ID 356. Even so, however, Doe reiterated that
  (1) he never heard Roe say "no sex," (2) he "didn't rape" Roe, and (3) he believed their sexual
  encounter was consensual. Id.

           Because the district court made this report part of the pleadings, we must read it in the
  light most favorable to Doe.4 See Logsdon, 492 F.3d at 340. When we do, we cannot conclude
                                                                                                                               EXH : 000047 of 000072




           4The district court considered the administrative record (which included the police report) when deciding
  the motion to dismiss, even though it was not attached to the complaint, because it was referenced in the complaint
  and integral to Doe's claims. Since neither party objected then or in their appellate briefs, we, like the district court,
  consider the administrative record as part of the pleadings.
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  that Doe admitted to any of the critical facts in his case-i.e., that Roe was too drunk to consent
  to sex, and that he knew or should have known as much. For one, we would have to ignore
  Doe's claim that the sex was "consensual." R. 16, Pg. ID 356. And for another, because Doe
  did not mention anything about Roe's level of intoxication in his own account of the night's
  events, his concession that Roe was correct and that he "got it all wrong" appears to relate only
  to the points on which the detective said their two accounts actually diverged-the order of the
  sexual acts. See id., Pg. ID 354-56. This alleged confession thus does not sufficiently rebut the
  plausibility of Doe's claim.

         The university offers one last ditch effort to avoid reversal. It points out that although
  Doe did not have an opportunity to cross-examine Roe in the university disciplinary process, he
  recently deposed her in state civil proceedings. According to the university, because Roe's
  deposition is consistent with what she told the investigator, Doe's inability to cross-examine her




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  during the disciplinary proceedings did not cause any prejudice. To start, Doe disputes whether
  Roe's deposition is, in fact, consistent with her earlier statements in the disciplinary process. But
  more importantly, Roe's later deposition has no bearing on this case. As discussed above, the
  value of cross-examination is tied to the fact-finder's ability to assess the witness's demeanor.
  Univ. o f Cincinnati, 872 F.3d at 402. So just as a written response insufficiently substitutes for
  cross-examination, so too does a written deposition transcript. And, critically, cross-examination
  for the sake of cross-examination is not what Doe seeks. Rather, Doe seeks cross-examination as
  part of the credibility assessment by the university. That a state court later allowed for cross-
  examination as a pa1t of its fact-finding after the university had already made its decision is
  beside the point. If anything, the fact that the state court allowed cross-examination only goes to
  show just how far removed the university's fact-finding procedures are from the tried and true
  methods invoked by courts. See id. at 404--05 (noting that while classrooms are not courtrooms,
  at the very least a circumscribed version of cross-examination is required (citing Cummins,
  662 F. App'x at 448)).
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          In sum, accepting all of Doe's factual allegations as true and drawing all reasonable
  inferences in his favor, he has raised a plausible claim for relief under the Due Process Clause.
  We thus reverse the district court's decision to dismiss his claim. 5

                                                         IV.

          Doe also sued under Title IX, which prohibits federally-funded universities from
  discriminating against students on the basis of sex. 20 U.S.C. § 168l(a); Cannon v. Univ. of
  Chi., 441 U.S. 677, 7 I 7 (1979) (recognizing an implied private right of action under Title IX).
  He advances three theories of liability, claiming that the university {l) reached an erroneous
  outcome in his case because of his sex, (2) relied on archaic assumptions about the sexes when
  rendering a decision, and (3) exhibited deliberate indifference to sex discrimination in his
  disciplinary proceedings.

          Erroneous Outcome.           A university violates Title IX when it reaches an erroneous




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  outcome in a student's disciplinary proceeding because of the student's sex. See Miami Univ.,
  882 F.3d at 592. To survive a motion to dismiss under the erroneous-outcome theory, a plaintiff
  must plead facts sufficient to ( 1) "cast some articulable doubt" on the accuracy of the
  disciplinary proceeding's outcome, and (2) demonstrate a "particularized . . . causal connection
 between the flawed outcome and gender bias." Id. (alteration in original) (quoting Cummins,
  662 F. App'x at 452). The district court held that Doe's complaint failed to meet either element
  and dismissed his claim. We reverse.

         First, because Doe alleged that the university did not provide an opportunity for cross-
  examination even though credibility was at stake in his case, he has pied facts sufficient to cast
  some articulable doubt on the accuracy of the disciplinary proceeding's outcome. See Yusuf v.
  Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994) (noting the "pleading burden in this regard is not
 heavy" and can be met by alleging "particular procedural flaws affecting the proof'); see also
  Univ. of Cincinnati, 872 F.3d at 401 ("Few procedures safeguard accuracy better than adversarial
                                                                                                                        EXH : 000049 of 000072




           5We need not address Doe's argument that the district court abused its discretion in denying his motion to
 reopen and file an amended complaint. We hold that Doe stated a claim under the Due Process Clause absent the
 new evidence he seeks to add to the complaint. Should Doe want to introduce that evidence later in this litigation,
 the district court will need to determine whether, and under what circumstances, it may be used.
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  questioning.").     Second, Doe has pointed to circumstances surrounding his disciplinary
  proceedings that, accepting all of his factual allegations as true and drawing all reasonable
  inferences in his favor, plausibly suggest the university acted with bias based on his sex. See
  Iqbal, 556 U.S. at 681-82.

          Around two years before Doe's disciplinary proceeding, the federal government launched
  an investigation to determine whether the university's process for responding to allegations of
  sexual misconduct discriminated against women. When news of the investigation broke, student
  groups and local media outlets sharply criticized the administration. The federal government's
  investigation and the negative media reports continued for years, throughout the Board's
  consideration of Doe's case.

          This public attention and the ongoing investigation put pressure on the university to
  prove that it took complaints of sexual misconduct seriously. The university stood to lose




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  millions in federal aid if the Department found it non-compliant with Title IX. The university
  also knew that a female student had triggered the federal investigation and that the news media
  consistently highlighted the university's poor response to female complainants. Of course, all of
  this external pressure alone is not enough to state a claim that the university acted with bias in
  this particular case.      Rather, it provides a backdrop that, when combined with other
  circumstantial evidence of bias in Doe's specific proceeding, gives rise to a plausible claim. See
  Twombly, 550 U.S. at 570.

          Specifically, the Board credited exclusively female testimony (from Roe and her
  witnesses) and rejected all of the male testimony (from Doe and his witnesses). In doing so, the
  Board explained that Doe's witnesses lacked credibility because "many of them were fraternity
  brothers of [Doe]." But the Board did not similarly note that several of Roe's witnesses were her
  sorority sisters, nor did it note that they were female. This is all the more telling in that the initial
  investigator who actually interviewed all of these witnesses found in favor of Doe. The Board,
  by contrast, made all of these credibility findings on a cold record.
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         When viewing this evidence in the light most favorable to Doe, as we must, one plausible
  explanation is that the Board discredited all males, including Doe, and credited all females,
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  including Roe, because of gender bias. And so this specific allegation of adjudicator bias,
  combined with the external pressure facing the university, makes Doe's claim plausible. Indeed,
  other courts facing similar allegations have reached the same result. See, e.g., Miami Univ.,
  882 F.3d at 594 (plaintiffs complaint was sufficient where allegations included that the
  university faced "pressure from the government to combat vigorously sexual assault on college
  campuses and the severe potential punishment-loss of all federal funds-if it failed to
  comply"); Doe v. Columbia Univ., 831 F.3d 46, 56-57 (2d Cir. 2016) (plaintiffs complaint
  pointing to student group criticism and university statements was sufficient to raise a plausible
  inference of bias under a "minimal plausible inference" standard); Doe v. Amherst Coll., 238 F.
  Supp. 3d 195, 223 (D. Mass. 2017) (plaintiffs complaint was sufficient where allegations
  suggested that university was trying to "appease" a biased, student-led movement); Doe v. Lynn
  Univ., Inc., 235 F. Supp. 3d 1336, 1340-42 (S.D. Fla. 2017) (plaintiffs complaint was sufficient
  where a1legations suggested that university was reacting to "pressure from the public and the




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  parents of female students" to punish males accused of sexual misconduct); Wells v. Xavier
  Univ., 7 F. Supp. 3d 746, 751 (S.D. Ohio 2014) (plaintiffs complaint was sufficient where, taken
  together, his allegations suggested that university was "reacting against him[] as a male" in
  response to a Depa11ment of Education investigation).

         The dissent disagrees, taking a deep and thoughtful dive into the factual record to
  conclude that there is "no basis to reasonably infer" that Doe was a victim of gender
  discrimination. But when viewed against the backdrop of external pressure, the Board's decision
  to discredit Doe's fraternity brothers in part because they were fraternity brothers, while not
  holding Roe's witnesses to the same standard, is basis enough at the motion-to-dismiss stage.
  Of course, anti-male bias is not the only plausible explanation for the university's conduct, or
  even the most plausible. The university might have been unaffected by the federal investigation
  or the media's criticism, and the significance of the Board's decision to disregard Doe's
  witnesses' statements might be overblown. And as the dissent points out, the Board might have
                                                                                                      EXH : 000051 of 000072




  ruled the way it did because it believed Witness 2's testimony was more credible.           But
  alternative explanations are not fatal to Doe's ability to survive a Rule 12(b)(6) motion to
  dismiss. See 16630 Southfield Ltd. P'ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 505 (6th Cir.
  2013) ("[T]he mere existence of more likely alternative explanations does not automatically
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  entitle a defendant to dismissal."); Watson Carpet & Floor Covering, Inc. v. Mohawk Indus.,
  Inc., 648 F.3d 452,458 (6th Cir. 2011) (noting that there are often several plausible explanations
  for a defendant's conduct, but "[f]erreting out the most likely reason for the defendants' actions
  is not appropriate at the pleadings stage"). Doe's allegations do not have to give rise to the most
  plausible explanation-they just have to give rise to one of them. See Iqbal, 556 U.S. at 678
  (stating that there is no "probability requirement" at the pleading stage (quoting Twombly,
  550 U.S. at 556)).

         As this case proceeds and a record is developed, evidence might very well come to show
  that today's inference is the least plausible of the bunch.     Certain allegations that we must
  assume are true might be proven false. And with the benefit of exhibits, testimony, and cross-
  examination, a fact-finder may conclude that the inferences we were required to draw in Doe's
  favor are simply untenable. But these possibilities cannot affect this court's evaluation of Doe's
  complaint. Our job is simply to ensure that Doe is not deprived of an opportunity to prove what




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 he has alleged unless he would lose regardless. Because Doe has alleged facts that state a
 plausible claim for relief, we reverse the district court's decision to dismiss his complaint.
 Whether he will ultimately succeed is a question for another day.

         Archaic Assumptions and Deliberate Indffference. Doe advances two more theories of
 Title IX liability. First, he maintains that the university relied on archaic assumptions about the
 sexes when resolving his case. And second, he claims that the university was deliberately
 indifferent to the Board's sex discrimination. The problem for Doe, however, is that neither of
 these theories applies in the context of university disciplinary proceedings.

         Title IX plaintiffs use the archaic-assumptions theory to show that a school denied a
 student an equal opportunity to participate in an athletic program because of historical
 assumptions about boys' and girls' physical capabilities. See Mallory v. Ohio Univ., 76 F. App'x
 634, 638-39 (6th Cir. 2003). This court has never applied the theory outside of the athletic
 context, and, indeed, we have repeatedly refused litigants' requests to do so. See Cummins,
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 662 F. App'x at 451 n.9. Since Doe has not offered any reason why we should change course
 and take that step today, we affirm the district court's decision to dismiss on this ground.
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         The same problem dooms Doe's deliberate-indifference theory.              The deliberate-
  indifference theory was designed for plaintiffs alleging sexual harassment. See Horner v. Ky.
  High Sch. Athletic Ass'n, 206 F.3d 685, 693 (6th Cir. 2000) (explaining that the deliberate-
  indifference test arose from Supreme Court cases that "all address deliberate indifference to
  sexual harassment"). And though sexual harassment is a form of discrimination for purposes of
  Title IX, Davis v. Monroe Cty. Bd. o f Educ., 526 U.S. 629, 649-50 (1999), we have held that to
  plead a Title IX deliberate-indifference claim, "the misconduct alleged must be sexual
  harassment," not just a biased disciplinary process. Miami Univ., 882 F.3d at 591. Because Doe
  did not allege that actionable sexual harassment occurred during his disciplinary proceedings, he
  failed to state a claim under Title IX by way of deliberate indifference.

                                                   V.

         Accordingly, we REVERSE the district court's dismissal of John Doe's procedural due




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  process claim insofar as it is based on the university's failure to provide a hearing with the
  opportunity for cross-examination, we REVERSE the district court's dismissal of John Doe's
  Title IX claim insofar as it is based on erroneous outcome, and we REMAND for further
  proceedings consistent with this opinion.




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                                         CONCURRENCE


         JULIA SMITH GIBBONS, Circuit Judge, concurring. I write separately to make one
  discrete point with respect to the Title IX Claim. I agree that Doe has plausibly alleged a claim
  of gender bias. The inclusion of materials, other than the complaint, in the record makes a
  summary judgment standard tempting. The dissent avoids summary judgment language, but its
  analytical approach is analogous to the process by which a judge detennines the existence of a
  genuine issue of material fact.   Yet Doe is entitled to the full benefit of the standard for
  considering a motion to dismiss. Under that standard, my view is that Doe's complaint survives.




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                     CONCURRING IN PART AND DISSENTING IN PART


          RONALD LEE GILMAN, Circuit Judge, concurring in part and dissenting in part.
  I concur in the majority's judgment (but not in its discussion) with regard to the disposition of
  Doe's due process claim. As to Doe's Title IX claim, I would affirm the judgment of the district
  court because of Doe's failure to plausibly state a claim under Title IX.

  I.      Due process claim

          Although I agree that Doe's due process rights were violated when he was not pem1itted
  the opportunity to engage in any form of cross-examination of the witnesses against him,
  I disagree with the majority about the scope of cross-examination mandated by the United States
  Constitution in this context. I particularly believe that the majority has traveled "a bridge too




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  far" in mandating that "if the university does not want the accused to cross examine the accuser
  under any scenario, then it must allow a representative to do so." Maj. Op. at 9 n.3.

         This court has found that when witness credibility is at issue, the accused must have an
  opportunity for at least a "circumscribed form" of cross-examination where he or she is allowed
  to submit questions to the trier of fact, who will then directly pose those questions to the
  witnesses. Doe v. Cummins, 662 F. App'x 437, 446 (6th Cir. 2016). Cummins held that this
  requirement was met even where the trier of fact did not ask all the questions submitted or allow
  an opportunity to submit follow-up questions. Id. at 448; see also Doe v. Univ. o f Cincinnati,
  872 F.3d 393, 406 (6th Cir. 2017) (emphasizing that the university has only a naiTow obligation
  to provide the trier of fact with an opportunity "to evaluate an alleged victim's credibility, not [to
  allow] the accused to physically confront his accuser," and that "what matters" is that the trier of
  fact has the "ability to assess the demeanor of both the accused and his accuser"); Nash v.
  Auburn University, 812 F.2d 655, 664 (11th Cir. 1987) (finding that the due process rights of a
  student suspended for academic dishonesty were not violated where he was given the
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  opportunity to submit questions to the trier of fact, who would then direct the questions to the
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  witnesses, and that the student did not have a right to "question the adverse witnesses in the
  usual, adversarial manner").

         Although Cummins is factually distinguishable because the two accused students faced
  only suspension and probation rather than expulsion, the majority cites no case that would
  support its expansion of Doe's cross-examination rights beyond those set forth in Cummins. Nor
  does the majority explain why the Eldridge balancing factors would require the added protection
  of unfettered cross-examination by a representative whenever expulsion from a university is a
  potential penalty. See Mathews v. Eldridge, 424 U.S. 319,335 (1976).

         And this expansion, in the absence of a focused and caselaw-supported analysis, leaves
  many questions unanswered. For example, who is the "representative" that will be allowed to
  question witnesses on the accused's behalf? ls it an attorney? If so, then this expanded right of
  cross-examination conflicts with our caselaw making clear that a student has no constitutional




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  right to have an attorney actively participate in his disciplinary hearings, except in very limited
  circumstances. See Flaim v. Med. Coll. of Ohio, 418 F.3d 629,640 (6th Cir. 2005) (noting that a
  student has no recognized right to have counsel participate in school disciplinary proceedings
  except, possibly, where the proceedings are complex or where the university itself utilizes an
  attorney); Cummins, 662 F. App'x at 448-49 (same); Gorman v. Univ. o f Rhode Island, 837 F.2d
  7, 16 (1st Cir. 1998) (noting that "the weight of authority is against [recognizing the right to]
  representation by counsel at [school] disciplinaiy hearings, unless the student is also facing
  criminal charges stemming from the incident in question"); Donohue v. Baker, 976 F. Supp. 136,
  146 (N.D.N.Y. 1997) (noting that a student in a school disciplinary hearing has a right to counsel
  only to protect his Fifth Amendment right against self-incrimination, not to affect the outcome of
  the hearing through cross-examination).

         Should the representative instead be a teacher or an administrator? Such an individual
 would undoubtedly need to be paid for his or her work, imposing an additional burden on the
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 university. Could the representative be a friend or family member of the accused? And would
 the rules of evidence apply to the cross-examination? Cf Flaim, 418 F.3d at 635 (observing that
  "[c]ourts have generally been unanimous . . . in concluding . . . that neither rules of evidence nor
 rules of civil or criminal procedure need be applied" in school disciplinary hearings). Assuming
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  they would not, who would decide what limits to impose on the representative's questioning and
  using what criteria?

         This court has repeatedly held that "[f]ull-scale adversarial hearings in school
  disciplinary proceedings have never been required by the Due Process Clause."              Univ. o f
  Cincinnati, 173 F. Supp. 3d at 603 (quoting Flaim, 418 F.3d at 640). And the burden of allowing
  a representative to participate by cross-examining witnesses "in every disciplinary hearing would
  be significant due to the added time, expense, and increased procedural complexity." Cummins,
  662 F. App'x at 449; see also Flaim, 418 F.3d at 640-41 ("[C]onducting [full adversarial
  hearings] with professional counsel would entail significant expense and additional procedural
  complexity."). This would be especially true if the university were also required to provide
  representation for a student who could not provide his or her own.

         Although a university may choose to allow an agent or representative of an accused




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
  student to cross-examine the complainant and his or her witnesses, no court has previously held
  that this is constitutionally required. This court has instead held that the university must provide
  at least the "circumscribed form" of cross-examination set out in Cummins, 662 F. App'x at 446.
  And because Doe was not provided with even this level of cross-examination, I agree that his
  due process rights were violated.

         I recognize that a case might arise where the Constitution requires more than the
  procedures that this court approved of in Cummins, but we should address that issue only if and
  when it arises. We need n o t - a n d should not-resolve it today because we have been given
  neither the facts nor the arguments necessary to conduct an adequate analysis. I therefore believe
  that we should refrain from imposing on all universities a rigid requirement to provide students
  facing expulsion with an opportunity to have a representative cross-examine adverse witnesses.
  See Kremer v. Chem. Constr. Corp., 456 U.S. 461, 482 (1982) ("We must bear in mind that no
  single model of procedural fairness, let alone a particular form of procedure, is dictated by the
  Due Process Clause. . . . 'The very nature of due process negates any concept of inflexible
                                                                                                         EXH : 000057 of 000072



  procedures universally applicable to every imaginable situation.'" (quoting Mitchell v. W.T.
  Grant Co., 416 U.S. 600, 609 (1974))); Gorman v. Univ. o f Rhode Island, 837 F.2d 7, 16 (1st
  Cir. 1988) ("[O]n review, the courts ought not to extol form over substance, and impose on
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  educational institutions all the procedural requirements of a common Jaw criminal trial. . . . In
  all cases the inquiry is whether, under the particular circumstances presented, the hearing was
  fair, and accorded the individual the essential elements of due process.").

  II.    Title IX claim

         I now turn to Doe's claim under Title IX. Doe contends that the University faced
  pressure from the United States Department of Education, the general public, and student groups
  to adequately address sexual-assault complaints made against male students on campus and that,
  as a consequence, the University en-oneously found him responsible for sexual misconduct
  because of his gender. But no circuit court has ever held that a student plausibly states a claim
  that deficiencies in his disciplinary proceedings were motivated by gender bias where the only
  fact that he alleges to show such bias is general pressure on the university to adequately address
  allegations of sexual assault. Cf Doe v. Miami Univ., 882 F.3d 579,593 (6th Cir. 2018) (noting




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
  that to survive a motion to dismiss, a plaintiff must show a "causal connection between the
  flawed [disciplinary] outcome and gender bias" by alleging, "inter alia, statements by members
  of the disciplinary tribunal, statements by pertinent university officials, or patterns of decision-
  making that also tend to show the influence of gender").

         In Miami University, this court found the complaint sufficient where it alleged facts
  showing a pattern o f gender-based decision-making, in addition to general pressure on the
  university to take sexual-assault claims seriously. Id. at 593. This evidence included "an
  affidavit from an attorney who represents many students in Miami University's disciplinary
  proceedings, which describes a pattern of the University pursuing investigations concerning male
 - students, but not female students." Id.      It also included an allegation that the university
  investigated the complaint of sexual misconduct made against the male plaintiff but did not
  investigate his allegation that his female accuser actually perpetrated sexual misconduct against
  him. Id. at 590-91, 593.

         The Miami University court further noted that the university "was facing pressure to
                                                                                                         EXH : 000058 of 000072




  increase the zealousness o f its 'prosecution' of sexual assault and the harshness of the sanctions
  it imposed because it was a defendant in a lawsuit brought by a student who alleged that she
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 would not have been assaulted if the University had expelled her attacker for prior offenses." Id.
 at 594. This alleged pattern of activity relating to sexual-assault matters, combined with the
 general pressure on the university, was deemed sufficient to "support a reasonable inference of
 gender discrimination" and therefore to survive a motion to dismiss. Id.

         Similarly, in Doe v. Columbia University, 831 F.3d 46, 57 (2d Cir. 2016), the Second
 Circuit held that a complaint plausibly alleged gender discrimination when it contended that,
 "during the period preceding the disciplinary hearing, there was substantial criticism of the
 University[] both in the student body and in the public media [that] accus[ed] the University of
 not taking seriously complaints of female students alleging sexual assault by male students." Id.
 The complaint further alleged that "the University's administration was cognizant of, and
 sensitive to, these criticisms, to the point that the President called a University-wide open
 meeting with the Dean to discuss the issue." Id. Moreover, the investigator in that case had been




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
 subjected to "personal criticism" by the student body and in news articles "for her role in prior
 cases in which the University was seen as not taking seriously the complaints of female
 students." Id. at 51, 58.

        The investigator in Columbia University was thus aware that the university "had been
 criticized for . . . conducting the investigations in a manner that favored male athletes and that
 was insufficiently protective of sexually assaulted females."      Id.     Finally, the plaintiff in
 Columbia University alleged that the investigator failed to interview key witnesses identified by
 the plaintiff, that she was hostile to him during interviews, and that she failed to inform him of
 his right to make a statement at the hearing. Id. at 49, 52.

        Unlike the plaintiffs in Miami University and Columbia University, Doe crucially fails to
 link general pressure on the University of Michigan to the particular proceedings that he faced.
 See Doe v. Cummins, 662 F. App'x 437, 452 (6th Cir. 2016) (noting that "to state an erroneous-
 outcome claim, a plaintiff must plead . . . a 'particularized . . . causal connection between the
                                                                                                        EXH : 000059 of 000072




 flawed outcome and gender bias'" (emphasis and first ellipsis added; second ellipsis in original)
 (quoting Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994))). Nor does Doe allege any
 facts suggesting a pattern of discriminatory behavior by the University in its response to sexual-
 assault allegations, or that he made any sexual-misconduct complaints himself that the
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  University ignored, in contrast to the plaintiffs allegations in Miami University, 882 F.3d at
  590-91, 593. There is also no allegation here that the investigator faced individualized criticism
  for her handling of previous sexual-assault claims and subsequently manifested hostility toward
  Doe, in contrast to the plaintiffs contentions in Columbia University, 831 F.3d at 49, 51-52, 58.
  In fact, the investigator here found in favor of Doe, and Doe acknowledged that her investigation
  was "thorough."

         Doe also fails to show how general pressure on the University's administration to pursue
  and effectively address sexual-assault complaints led the Appeals Board-a board made up of an
  assistant dean from the law school, a retired professor from the dentistry school, and a student-
  to take actions against him based on gender bias. He also fails to identify any practice or policy
  adopted by the University in response to either external or internal pressure that would reflect
 · bias against males. Moreover, the media reports published after the Appeals Board decision




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
  (which reports allege that the University was continuing to inadequately address sexual-
  misconduct complaints) would appear to belie any contention that the University had
  overcorrected by adopting policies or practices biased against male students accused of sexual
  misconduct.

         The majority in fact recognizes that the alleged external pressure on the University alone
  is not sufficient to plausibly show that a university acted based on gender bias in Doe's particular
  case. Maj. Op. at 13. But it concludes that this pressure is sufficient when combined with Doe's
  allegation that the Appeals Board adopted all of the statements made by the female witnesses and
  rejected all of the statements made by the male witnesses. Maj. Op. at 13-14. More specifically,
  the majority reasons that "when viewed against the backdrop of external pressure, the Board's
  decision to discredit Doe's fraternity brothers in part because they were fraternity brothers, while
  not holding Roe's witnesses to the same standard, is basis enough at the motion-to-dismiss-
  stage." Maj. Op. at 14. But the majority's observation about the Appeals' Board's alleged
  disparate treatment of the witnesses is not borne out by the record. (I recognize that the record
                                                                                                         EXH : 000060 of 000072




  would not normally be considered at the motion to dismiss stage of the case.                  But as
  acknowledged in footnote 4 of the majority opinion, the administrative record was referenced in
  the complaint and, without objection by either party, considered as pa11 of the pleadings.)
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        To start with, the Appeals Board discussed statements from only two of Roe's sorority
 sisters, although additional sorority sisters provided statements that were contained in the
 investigator's report. The record reflects the following evaluation by the Appeals Board:

        Two witnesses who know [Roe] reported that they observed [Roe] drinking from
        the wine bag at [Doe's] fraternity and also reported that they perceived she was
        intoxicated for a variety of reasons (very energetic when she's drunk; inhibitions
        were lowered; and speech that was 'not completely clear,' contained 'occasional
        slurs,' and occasionally trailed off at the end of sentences).

        The Appeals Board provided no further discussion of these statements that would suggest
 that it was relying on them beyond its observation that Roe's statements were "corroborated by
 other witnesses, particularly by Witness 2's observations of [Roe's] behavior and physical
 condition immediately after the sexual encounter." And this observation by the Appeals Board
 leads directly to the biggest weakness in both Doe's and the majority's position: the Appeals
 Board's decision to credit the testimony of Roe and Witness 2 (and subsequently to find Doe




                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
 responsible for sexual misconduct) was based on the considerations that ( 1) Witness 2 spent
 significant time with Roe following Roe's sexual encounter with Doe, and (2) Witness 2 had no
 connection to Doe, Roe, or their respective Greek institutions.

        The Appeals Board explained:

        Although there were other witnesses who observed Complainant both prior to and
        after the sexual encounter with Respondent, many of them were fraternity
        brothers of Respondent, and all of them only observed Complainant briefly and/or
        at a distance. For these reasons, we find their statements to be significantly less
        persuasive than the statements of Complainant and Witness 2. Complainant knew
        that she consumed an excessive amount of alcohol and recognized that she was
        not mentally or physically in control. Witness 2 had no previous connection to
        Complainant and observed her for a lengthy period of time, spanning from a few
        minutes after Complainant's sexual encounter with the Respondent, through the
        time she got Complainant into bed at her dorm.

 Whether the statements made by Roe's sorority sisters were credible was not discussed. The
                                                                                                   EXH : 000061 of 000072



 Appeals Board's decision instead shows that the statements by Doe and his witnesses were
 disfavored only as compared to the statements of Roe and Witness 2, and that there was no
 categorical preference shown for or against statements by fraternity brothers versus sorority
 sisters, or for or against statements by men versus women as such. The Appeals Board also
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  noted that Witness 2's observations were further corroborated by two witnesses who helped Roe
  into a vehicle outside the fraternity house and who, like Witness 2, had no connection to Doe or
  Roe.

         I therefore find no basis to reasonably infer that the Appeals Board declined to rely on the
  statements made by Doe and his witnesses simply because they were men. This leaves us with
  only one fact from which to infer that gender bias caused the procedural defects in Doe's
  disciplinary proceedings-the general pressure on the University to adequately address sexual-
  assault claims. But as discussed above, this is not sufficient to show the "particularized . . .
  casual connection" required to plausibly allege a claim of gender bias under Title IX. See Doe v.
  Miami Univ., 882 F.3d 579, 592 (6th Cir. 2018) (quoting Doe v. Cummins, 662 F. App'x 437,
  452 (6th Cir. 2016)); Cummins, 662 F. App'x at 453 (noting that a complaint is insufficient if it
  shows at most "a disciplinary system that is biased in favor of alleged victims and against those




                                                                                                          Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
  accused of misconduct"). Absent an allegation of some particularized facts linking gender bias
  to the University's disciplinary practices or proceedings, I respectfully dissent as to the viability
  of Doe's Title IX claim.




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       ATTACHMENT SEVEN

   ONGOING TEXT COMMUNICATIONS




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
       FROM BOARD MEMBERS
    AND ALUMNI OF KAPPA ALPHA
      ORDER PRESSURING FOR
     THE FRATERNITIES RETURN
     TO GEORGETOWN COLLEGE



                                                                                 EXH : 000063 of 000072
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              New iMessage               Cancel


To: Dave Adkisson , Bob Mills


           Oct 1, 2020, 4:00 PM




                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)




m
                                                                                   EXH : 000064 of 000072
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To: Dave Adkisson , Bob Mills




     Bob Mills

    Dave,
                                                  I
    That probably needs to




                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
    be you.
    Bob
     Dave Adkisson

     I'll try to do it tonight.
    I haven't had a chance to
    read the email or her
    response but I'll move it
    up in my list.
                                                                                   EXH : 000065 of 000072
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               New iMessage              Cancel



To: Dave Adkisson , Bob Mills
    1 naven·t naa a cnance to
    read the email or her
    response but I'll move it
    up in my list.


                                                  I




                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
    Dave Adkisson

    Is Norm a KA?
                                                                                   EXH : 000066 of 000072
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                New iMessage             Cancel



To: Dave Adkisson, Bob Mills

    Dave Adkisson




    Bob Mills




                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
    And for your info Dave,
    other KA's on the board
    are Ballinger and Knox.
    And I thought Kenny
    Davis was but it is not
    mentioned in his board
    bio. And then Al Blevins
    is a KA. Others who have
    or will surface include
    Benji and Robin Oldham,
    Dudley Webb, Mike
    Calhoun and Lindsav
                                                                                   EXH : 000067 of 000072




                                           4 ' -·"
                                           f,ff 1 . ·-1;
                                                     . .,
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               New iMessage              Cancel



To: Dave Adkisson, Bob Mills

    bio. And then Al Blevins
    is a KA. Others who have
    or will surface include
    Benji and Robin Oldham,
    Dudley Webb, Mike
    Calhoun and Lindsay
    Apple. Then of course                         I




                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
    Flash Williams, their
    advisor. I know you
    probably know all this
    and can think of others.
    One thing you know
    Granetta and Norm are
    focused on is that this
    might be the death
    sentence for KA's on
    campus, as well as the
    bias related to Old South
                                                                                   EXH : 000068 of 000072
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                     New iMessage                                     Cancel



To: Dave Adkisson , Bob Mills

    campus, as well as the
    bias related to Old South
    issues. They also may
    worry that the college is
    biased against Greeks
    generally even though
    Curtis addresses that in




                                                                                                                Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                               I
    his email. Curtis is not
    Greek and that creates
    an unfair impression.
    Will, you mentioned to
    me the thought of a plan
    of letting all cool off .for a
    year and then having a
    year two, three, four plan
    of working with National
    to prepare to bring the
    KA's back. Of course it is
                                                                                                                EXH : 000069 of 000072




    I•   -
         ... _           hi 1,I, .,.,._,f.,._.,.,._.,..,._,._,._
                 \ • - • I
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              New iMessage               Cancel



To: Dave Adkisson , Bob Mills
    ot letting all cool ott tor a
    year and then having a
    year two, three, four plan
    of working with National
    to prepare to bring the
    KA's back. Of course it is
    up to you but references




                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
    to that might help if you                     I
    are ready to talk about it.
    Finally, Granetta and
    Norm need to see all the
    information we have
    seen. They also need to
    know of the demeanor of
    chapter members toward
    the concerns.. They still
    may not agree with the
    decision but at least they
    will have the information
                                                                                   EXH : 000070 of 000072
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                 New iMessage               Cancel


To: Dave Adkisson , Bob Mills
    U l,;l IUI   I UU l a l l d l   ll lY
    will have the information
    and can better judge.
    Bob




                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
             Oct 5, 2020, 2:47 PM
                                                                                      EXH : 000071 of 000072
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 1 51                            ••   -:- •




                   essage             Car,:e'




I want you to kno that I
believe you are the
person to lead
Georgetown college. e
both said things we are
sorry for . My hope for
you and your family is




                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
Gods grace and mercy
will prevail.

I have spoken to John am
very sorry he had to be
witness our tough
meeting




                                                                                   EXH : 000072 of 000072
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        ATTACHMENT EIGHT

  EMAIL COMMUNICATIONS FROM




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
GEORGETOWN COLLEGE ASSISTANT
 DEAN OF STUDENTS, TERRY EVANS
  TO ANNALISE JONES INFORMING
     HER SHE IS BEING SERVED
WITH A NO CONTACT ORDER AGAINST
 HER TO PROTECT THE FRATERNITY
    MEMBERS THAT DISCUSSED
 HER POTENTIAL SEXUAL ASSAULT

                                                                                 EXH : 000001 of 000055
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                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                                 EXH : 000002 of 000055
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                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                                 EXH : 000003 of 000055
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                                                      No Contact Order


 9.6.20
 Annalise Jones
 Box 876


 Dear Annalise.

          This letter is an official directive that - effective immediately - \'OU are to ha,,e no contact. directly or indirectly.
 with David Mauzy. You may not contact Da,·id in person. by telephone. email. text message. or other electronic means
 of communication, including various social media platfonns. or through a third party (other than an attorney) until further
 notice. Should you need to contact David. you arc to do so through the Ollice of Student Conduct or another official




                                                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
 Student Life office. David will be notified of this directive and will be told to follow the same instructions. I f compliance
 with this directive will affect your class or work schedule, your li\'ing arrangements. or any other aspect of your
 educational environment. we will work with you to make appropriate accommodations. Please contact Terry Evans to
 discuss such arrangements.

         Failure to comply with this directive will result in further disciplinary action. lnfonm1tion on disciplinary
 processes and possible sanctions is available in the Student Code of Conduct which can be accessed through the GC
 website. Violation of this no-contact order is a ,,iolation of a directh·e of a College official and ma�· result in
 Student Code of Conduct charges. Any ,·iolation of this no-contact order should be reported to the Office of
 Student Conduct to be referred to and re,·iewed b�•Terry E,·ans or another Student Life Official.

         Do not hesitate 10 contact me at (502) 863-8038 or 11:rn c, an�'" \!COI'l!CIP\\ 111.:11lk!.!c. ·du i f you have any
 questions regarding this directive. Thank you for your cooperation in this matter.




 Sincerely,

     , st,,-
                                                                                                                                       EXH : 000004 of 000055




 Terry Evans
 Assistant Dean of Students
 Office of Student Conduct



400 East College Street,Georgetown. KY 40324                                                                            502.863.8004
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          ATTACHMENT NINE

      EMPLOYMENT AGREEMENT




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
    EXECUTED BY WILLIAM JONES ON
            JUNE 28, 2019




                                                                                 EXH : 000005 of 000055
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                               EMPLOVMENTAGREEMHNf
        This Employment Agreement ("Agreement"), is made and effective as of the 1 1 day of
July, 2019, between Georgetown College (the "College"), by and through its Board of Trustees
(the ''Board"), and William Andrew Jones (''Jones"). The College and Jones are hcreinafler
collectively referred to as the "Parties."

WHEREAS, the College wishes to secure the services of Jones and Jones wishes to accept such
employment with the College.

NOW THEREFORE. in consideration of the mutual covenants contained in this Agrecrncnt, and
intending to be legally bound, the Parties agree as follows:

1.     Jones will render full-time services to the College in the capacity of President. Jones will
       at all times faithfully, industriously and to the be-st of his ability perform all duties that
       may be required of him by virtue of his position as President. Jones shall have and shall
       perform any special duties assigned or delegated lo him by the Board and shall be subject
       to the supervision and direction of the Board.

2.     Except as otherwise described below, the term of this Agreement shall be five (5) years,
       commencing on July L, 2019 and ending on June 30, 2024 ("Contract Term"'). Upon




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
       mutual agreement, the College, through its Board, and Jones may extend or renew the
       Contract Term.

3.     In consideration for his services as President, and except as otherwise described helow,
       the College will pay Jones a base salary or $300,000 per year. This annual salary, and
       any increases, shall be paid ratably over the course of each year in accordance with the
       normal payroll policies of the College and subject: to applicable tax withholdrng
       requirements. Beginning with year 2 of the Contract Term and continuing through the
       remainder of the Contract Tcrm, Jones shall receive an annual increase, if any, that equals
       the average increase as may be provided to the executive cabinet, faculty, and staff (the
       "annual increase''). Heginning with year 3 of the Contract Term, in addition to lhc annual
       increase Jones shall be. eligible for an additional increase in base- salary based on
       performance to be determined by the Executive Committee of the Board in its sole
       discretion.

4.     During the Contract Term, Jones' spouse, Amy, shall be paid an annual salaryof$25,000
       for her ongoing participation in the life of the College, including but not limited to
       attendance at key events, and opening the President's home for reasonable student.
       faculty and community events. This annual salary shall be paid ratably over the course of
       each year in accordance with the normal payroll policies of the College an(l subject to
                                                                                                        EXH : 000006 of 000055




       applicable t.ax wilhholding requirements.

5.     At the end of the Contract Term, and except as otherwise described below. Jones shall be
       eligible to receivt:: a bonus ("Stay Bonus") for remaining employed as President during
       the entire Contract Term. The Stay Ronus will be equal to SI 00,000 (reduced by
       applicable withholdings), payable within thirty (30} days following the end of the
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       Contract Term and provided Jones has satisfied his obligations under Ibis Agrccrncnt. la
       addition, Jones shalt receive an additional Slay Bonus equal to $100,000 (reduced by
       applicable withholdings), payable within thirty (30) days following the end of the
       Contract Term if Jones has achieved, as of the end of the Contract Tem1, perfonmmcc
       objectives that Jones and the Board, or the Board's designee, will make reasonable efforts
       to agree upon by December 31, 2019. The performance objectives will indudc, but not
       be limited to, avoiding any sanction by the Southern Assocration of Colleges and Schools
       Commission on Colleges, full-time enrollment growth, increased financial stability,
       increases in annual giving, and balanced budgets without further tuition discounting.

6.     The Colh:ge shall provide Jones the standard benefits package otTercd l'o employees of
       the College; provided, however, that the benefits provided to Jones during the Contract
       Term shall include (a) S 1,000,000 of term life insurance coverage for a lenn of 20 years
       when aggregated ,,vith the standard life insurance coverage otherwise offered to College
       employees, and (b) fuH cost of the premium for family health, dental and vision insurance
       coverage.

7.     During the Contract Term, the College will provide cell phones and a standard plan for
       both voice and data to Jones and his spouse.

8.     Retirement benefits provided to Jones during the Contract Term shall be those benefits




                                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
       the College provides to cabinet, faculty and staff, as they may change from time to time
       at the discretion of the College.

9.     Jones will be entitled to paid vacation that matches the vacation policy applicable to
       cabinet members of the College, which equals three (3) weeks annually commencing
       from July I, 2019, but which may be revised f rom time to time at the discretion of the
       College.

10.    During rhc Contract Tem1, Jones' children shall receive full tuition discount (but not
       room and board) so long as Jones is President or the College.

l l.   During the Contract Term, the College \:viii provide tuition assistance towards the
       completion of Jones' Ph.D. with the amount and timing of such tuition assistance to be
       negotiated in good faith between Jones and the Executive Committee of the Board.

12.    During the Contract Term, the College will provide Jones and his family a membership to
       Spindletop Hall which will include meal expenses for Collcgc-rcl'ated business, with any
       personal expenses to be reimbursed by Jones to the Colfege; provided, however, that the
       Spindletop Hall membership shall be contingent on Jones meeting any Spindlctop Hall
       membership requirements.
                                                                                                    EXH : 000007 of 000055




13.    During the Contract Term, Jones shall be required to reside in the President's home at
       444 East Main, Georgetown, Kentucky, which is owned and maintained by the College.
       The College shall be responsible for maintenance of the home, the cost of weekly maid
       service up to fifteen (15) hours per week, and the cost of utilities.



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14.   During t'hc Contract Tenn, Jones shall have use of a Toyota sedan provided by lhc
      College. The College will be responsible for the cosl of maintaining the vehicle, insuring
      the vehicle, and for reasonable travel expenses.

15.   The College agrees to reimburse Jones for reasonable expenses up to $15.000 related to
      the move of Jones and his family to Georgetown, Ke11n1cky. Expenses to be reimbursed
      shall be accompanied by receipts and submitted by Jones in accordance with the
      College's regular payroll practices.

16.   The College agrees to pay for travel refated to the affairs, advancement and business o f
      the College. On occasions when it is appropriate and necessary for Jones' spouse to
      travel with him the College shall pay reasonable expenses related to his spouse's travel.
      Expense reports, statements for credit cards issued by the College to Jones, and
      statements from his Spindlctop Hall membership shall be submitted for processing
      through established administrative channels, with copies of each submitted by the
      College's CFO on a quarterly basis for retroactive review by the Executive Committee of
      the Board.

17.   The College agrees to provide n.:asonablc financial and legal protection of Jones, through
      insurance or otherwise, for all acts done by him in good faith as President throughout the
      Contract Term.




                                                                                                                Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
18.   The College may terminate this Agreement and Jones' employment. and his duties
      hereunder at any tlmc and in it.s cm111plcte discretion either with or without cause.
      ';Cause'' is defined as Jones' willful misconduct in connection with the performance of
      his duties, Jones' noncompliance with or failure to perform his duties as set forth in the
      College's Bylaws, or in the event. Jones is charged with any felony criminal offense, any
      misdemeanor criminal offense related to substance abuse or moral turpitude, viotent
      crimc(s), theft, misappropriation, sexual misconduct. or crimes involving minors or the
      operation of the College. In the event the College terminates this Agreement and Jones'
      employment with cause, the employment of Jones' spouse shall also be terminated and
      the College will only be obligated to provide to Jones and his spouse their base salaries
      earned through the date of hi·s tcrmvnation. In the. event the Coltcgc terminates this
      Agreement and Jones' employment without cause, the employment of Jones' spouse shall
      also be terminated and the College shall continue to pay Jones only (not his spouse) his
      base salary then in effect for a period of one (1) year following such termination and shall
      waive COBRA health care continuation premiums fix such one ( l) year period provided
      that Jones makes a timely election for such COBRA coverage.

19.   Except as provided in Paragraph 18 of this Agreement, upon termination of this
      Agreement, the College's obligations as set forth in this Agreement shall imrncdiately
      cease. Jones' obligation to provide services as President shall also immediately cease.
                                                                                                                EXH : 000008 of 000055




      This shall not, however, relieve Jones o f his obligat.ions as set fi)rth in Paragraphs 20, 21,
      22, and 23 of this Agreement.

20.   Jones shall maintain appropriate confidcnt:ialit:y with respect to all confidential, non-
      public information that he receives in the course of hrs employment and not disclose any

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      such information . . Iones shall not, either during the term or employment or thereafter, use
      or permit: the use of any confidential, non-public information of or relating to the College
      in connection with any activity or business, and shall not divulge such information to any
      person, firm, or corporation whatsoever in any manner which \vould be detrimental to the
      College, except as may be necessary in the performance of his dutres hereunder or as may
      he required by law or legal process

21.   During the Contract Term and during the 12-month period following either the
      termination of his employment or the expiration of the Contract Term, Jones shall not.
      serve in a leadership position of any other post-secondary educational institution, or
      related business, partnership, finn, or corporation that is at the time engaged principally
      or significantly in a business that is, directly or indirectly, at the time in competition with
      the business of the College within the service area of the College. The service area is
      defined as Kentucky. This covenant shall be const.rued as an agreement independent. of
      any other provision of this Agreement, and the existence of any claim or cause of action,
      whether predicated on thrs Agreement or otherwise, shall not constitute a defense to the
      enforcement by the College of this covenant.

22.   Jones shall not directly or indirectfy through his own efforts, or otherwise, for a period of
      24 months after the end of the Contract Term, solicit to employ, any employee of the
      College, if such individual has provided professional or support services to the College at




                                                                                                               Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
      any time during the Contract Term without the express written consent of the Board.
      Jones will not interfere with the relationship of the College and any of its employees and
      Jones wiU not attempt to divert from the College any business in which or persons to
      whom the College has been actively engaged or served during his employment.

23.   Jones agrees that, in the period following his separation from the College, he shall not, in
      any communications with the press or other media or any customer, cl.ient, student,
      employee or supplier of the Cotfcge, or any of the College's affiliates, criticize, ridicule
      or make any statement ,vhich disparages or is derogatory of the College or its affiliates or
      any of their respective trustees, senior officers or other employees.

24.   Jones acknowledges that the Colfcgc will suffer immediate and i1Teparable harm in the
      event of a breach by him of any of the provisions of Paragraphs 20, 21, 22, and/or 23 of
      this Agreement, and consents to the entry of an immediate restraining order or injunction,
      as appropriate, in the event of such breach or a threatened breach, and to any other
      appropriate relief, including rnonctary relief. In the evcnl of actual or threatened breach
      by Jones of these provisions, the College shall be entitled to an injunction restraining
      Jones f rom violation or fmthcr violation of the terms thereof.

25.   The College shall own all right, title and interest in perpetuity to the results of Jones'
      services and alt artistic materials and intellectual properties which arc, in whole or in part,
                                                                                                               EXH : 000009 of 000055



      created, developed or produced by Jones during the employment term and which arc
      suggested by or related to Jones' employment as President.

26.   .loncs acknowledges that he has been given a copy of the College's Em.ployce Handbook
      and copies of aH other policies applicable to the President:. Jones further acknowledges
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      that he has read and fully undcr!>tands all of the provrsions thcrcoC and acknowledges.
      that at all times during the term hereof, he shall perfonn his .services hereunder in full
      compliance with the College's Employee Handbook and all other policies applicable to
      the President, and any revisions thereof or additions thereto.

27.   Jones agrees to seek and obtain Board Chair written approval before serving on any board
      of directors of a non-profit or for-profit organization during the Contract Term.

28.   All notices contemplated by this Agreement shall be given in writing and shall be deemed
      given if served personally or mailed by registered or certified mail, return receipt
      requested, to the other party.

29.   If Jones dies or becomes permanently and totally disabled during the Contract Term, this
      Agreement shall terminate immediately. This Paragraph docs not terminate any benefits
      or rights Jones' estate or heirs may have under his gmup benefits.

30.   This Agreement constitutes the entire agreement between the Parties and contains all the
      agreements between them with respect to the subject matter hereof. lt also supersedes
      any and all other agreements, contracts or representations, either oral or written, between
      the Parties with respect to the subject matter hereof.




                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
31.   Except as otherwise specifically provided, the terms and conditions of this Agreement
      may be amended at any time by mutual agreement of the Parties, provided that before any
      amendment shall be valid or effective it shall have been reduced to writing, approved by
      the Board,. and signed by the Chairman of the Board and Jones.

32.   The invalidity or unenforceability of any particular provision of this Agreement shall not
      affect its other provisions, and thi.s Agreement shall be construed i.n all respects as if such
      invalid or unenforceable provision had been omitted.

33.   This Agreement shall be construed and enforced under and in accordance with the laws
      of the Commonwealth of Kentucky.

34.   Any controversy, dispute or disagreement arising out o f or relating to this Agreement
      (including the breach thereof) or Jones' employment, shall be settled by binding
      arbitration, \vhich shall be conducted in Lexington, Kentucky in accordance with the
      American Arbitration Association's then-existing Employment Arbitration Rules and
      Mediation Procedures, and judgment on the av.rard rendered by the arbitrator may be
      entered in any court having jurisdiction thereof.

35.   Before initiating arbitration proceedings pursuant to numerical Paragraph 34 of this
      Agreement, the Parties agree to submit any controversy, di.spute or disagreement arising
                                                                                                        EXH : 000010 of 000055




      out of or relating to Jones' en1ploy111ent with the College or this Agreement to medi.ation
      (with the mediator to be selected by and through th American Arbitration Association's
      selection methodology if the pa1tics arc unable to select a mutually acceptable mediator)
      and agree that each will participate, in good faith, in the mediation.

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This Agreement signed this _ _ _                          day of _ _ _ _ _ _ _ _ _ _              , 2019.

GRORGETOWN COLLEGE



WITNESS: _ _ _ _ _ _ _ _ _ _                                    _           By: _ _ _ _ _ _ _ _ _ _ _                _
                                                                                Dave Adkisson, Chair
                                                                                Board of Trustees, GeorgetO\vn College

STATE OF KENTUCKY)

COUNTY OF _ _ _ _ _ _ _ _ _                                         )

      The foregoing instrument was subscribed, sworn lo and acknowledged before me by
Dave Adkisson, on behalf of Georgetown College, on this _ _ _   day of _ _ _ _ _    , 2019.




                                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                            NOTARY PUBUC
                                                                            My Commission Expires: _ _ _ _ _       _



WILLIAM ANDREW JONES



WITNESS                         P?,-o,_,...,,9                              By:.L-:.- =---_____j 64 :J-L --
                                                                               William Andrew Jone


STATE OF _j{.LO{l<.L.ln,S=CJ.S><-=-------)

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      The foregoing instrument was subscribed, sworn to and acknowledged before me by
Witham Andrew Jones on this   ZS -f+\.  day of J u . n t          , 2019.
                                                                                                                         EXH : 000011 of 000055




                                                                            NOTARY PUBLIC
       ' A.          P.MIE L. BAUER
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           ATTACHMENT TEN

          EMAILS FROM CHRISTY MAI




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
            PROMISING TO START A
             'ME TOO' MOVEMENT
           AGAINST WILLIAM JONES

    NEWS ARTICLE FROM WTVQ:
 SECOND WOMAN ACCUSES FORMER
 GEORGETOWN COLLEGE PRESIDENT
     OF SEXUAL HARASSMENT

                                                                                 EXH : 000012 of 000055
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                        4.·

                Carole Bradshaw




 {   I
     I    Who am I too YOU'?!



          I have guests who drove
          here from Kansas wt10 l arn
          trying to convince (so they
          can spread the word in their
          community) that I did NOT
          uµruot my family for an
          affa1r 1 !11And you get
          insecure and upset!?!?!?
          One night'?!?'?'

          I gave you all of me
          Saturday and that is still not




                                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
          enough for you!!'!

          You are so selfish!

          I will never be enough for




                -
          you unless I'm catering to
          your every thought and


                -
          action! Do you want a slave


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   ·             Carole Bradshaw



           But it's FINE for you to
           spend the vveekend 1n
           Detroit fucking but NOT W
           ME 1 ?1 ?!? And I am only
           expecting to hear
           occas,onally from you'
           However I have plutonic
           friend who from 12 hours to
           here and I'm a selfish Jerk
           who treats YOU bad 1 !!????
           I'm so tired of this. You
           have become unattractive
           to me, this insecurity and
           Judgey behavior 1sa




                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           problem!!! Keep this shit up
           and I won't even be your
           friend! Thanks for
           encouraging me to move
       I   on! Guess I will. Thanks!
 {, • I

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UPDATE: Second woman accuses former
Georgetown College president of sexual harassment
A civil lawsuit has been filed against William Jones and the college
February 18, 2022 by Al Greenfield (!!!!gs://www.wtvg.com/author/wtvg-staff/).


Update from February 18, 2022:


GEORGETOWN, Ky. (WTVQ) - A civil lawsuit has been filed in Scott County against former Georgetown College president
William Jones and the school alleging sexual harassment and retaliation, according to the Georgetown News-Graphic.




                                                                                                                                            Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
This is the second woman to accuse Jones of sexual harassment while he was president. In the lawsuit, the woman claims to
be the person who told the school of an alleged incident in Indianapolis in which a college employee claimed she was sexually
assaulted by Jones, according to the newspaper report.


Jones was fired by Georgetown College last November after formal sexual harassment and sexual assault allegations were
made.


Georgetown College President Rosemary Allen told the newspaper, "The college cannot comment on matters in litigation.
Actions of individuals do not reflect upon institutions."


According to the newspaper report, in the lawsuit filed this week against Jones and the school, a woman says she had an on-
going but unwanted sexual relationship with Jones that began in 2016 when she met him at Bethany College in Kansas where
he was president. Jones created a position for the woman at the college and also got her husband a job at the school, accord-
ing to the report. After the couple accepted the positions at Bethany College, Jones subjected the woman to unwelcome sex-
ual harassment in the form of sexual advances and requests for sexual favors, to which she felt compelled to and did submit
to, according to the lawsuit cited by the newspaper.
                                                                                                                                            EXH : 000020 of 000055




When Jones took over at Georgetown College, he created a position for the woman and she "reluctantly" accepted with the
understanding she would be expected to give in to Jones' unwelcome sexual demands, according to the report.


Jones impressed upon the woman her career was dependent upon him, according to the suit cited by the newspaper.


The report says Jones scheduled overnight trips and continued to make u n 4 f f l r m R r i a l demands of the woman. The
woman eventually got divorced. In May 20221, Jones became obsessed wit
leave his wife for her, according to the report. In the lawsuit, the woman cl.
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After being
       Case:rejected, Jones' obsession with the womanDoc
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                                                                      Filed:  10/19/22touched her in194
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manner and eventually, without her knowledge, madePage
                                                   a key ID#:
                                                         to her 204
                                                                home, according to the report.


In June 2021, the woman began dating someone, which increased Jones' obsession and led to uncontrollable jealousy, accord-
ing to the report. On one occasion, an intoxicated Jones "aggressively" confronted the woman on a date and continued to try
to sabotage her relationship, according to the report.


Around October 2021, Jones offered to promote the woman to a position within Georgetown College that would require her to
be available to him 24 hours a day, seven days a week and leave no time for personal relationships, according to the report.


In the suit the woman claims on Oct. 18, 2021, Jones tried to force her to attend an event in Indianapolis, but she was ex-
cused because of a family commitment involving her son. The report says a female colleague (identified as Jane Doe) went on
the trip instead. That woman later alleged Jones sexually assaulted her on the trip.


On Nov. 1, 2021, the woman filed a formal complaint with the school about the alleged sexual harassment against her and re-
ported what Jane Doe had told her about the alleged sexual assault in Indianapolis, according to the report. Later that same
day, Jones was removed as president.


The woman claims in her lawsuit that she's in therapy and suffers from severe emotional distress and mental anxiety as a re-
sult of Jones "aggressively harassing and stalking" her after she "expressly informed him that she would not continue the sex-
ual relationship," according to the lawsuit cited by the newspaper.


The woman was fired by Georgetown College on Dec. 16, 2021, according to the report.


In the lawsuit, Georgetown College is accused of knowing or reasonably should have known that Jones was abusing his au-




                                                                                                                                        Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
thority and/or subjecting the woman to unlawful sexual harassment and failed to take prompt and appropriate corrective ac-
tion. The suit includes claims of retaliation by the school up to and including the woman's firing, according to the report.


The suit requests a jury trial in Scott County as the woman seeks compensatory and punitive damages, according to the
report.


Original story below from November 2, 2021:


GEORGETOWN, Ky. (WTVQ/Press Release) - The Board of Trustees of Georgetown College terminated the employment of
William A. Jones as president of the College effective Monday, Nov. 1.


Dr. Rosemary Allen, the College's Provost, was named Acting President by the College's Board of Trustees.


On Sunday afternoon, Oct. 31, the college was informed of allegations of a sexual assault of a female college employee, inap-
propriate behavior with another female college employee and other conduct in violation of Jones's employment agreement
with the college. Georgetown College took immediate steps to investigate the allegations. The college has engaged outside
counsel to continue the investigation.


Chairman of the Georgetown College Board of Trustees, Robert L. Mills, called a meeting of the Executive Committee of the
                                                                                                                                        EXH : 000021 of 000055




Board for Monday morning, Nov. 1. The committee took immediate action to dismiss Jones. The full Board of Trustees affirmed
the action of the Executive Committee at a meeting later on Monday.


Chairman Mills provided the following statement: "Georgetown College does not tolerate violence or misuse of authority. We
hold our administrators, students and faculty to the highest standards of moral and ethical conduct. We are surprised and
deeply disappointed by what we have learned. We will support the members of our Georgetown College family who are directly
impacted, and we will work cooperatively with ongoing or any future i n v e s t i m l m j m M e   ilre confident in the leadership of
Acting President Allen and the Board appreciates her dedication to the conti
difficult time."
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[Recession Proof] Cheap Solar                     Have Toenail Fungus? Do This                     A Look Inside Jay Leno's
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Watch Us
We live, work and play right here in Central Kentucky. We are your neighbors. We celebrate community and we tell your sto-
ries. We are the most trusted source for local news.

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NEWS




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Local News (https://www.wtvq.com/news/local-newsl)
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COMMUNITY


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WEATHER


Weather Forecast (b.ttps:/lwww.wtvq.com/weatherl)
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     ATTACHMENT ELEVEN
COMMUNICATIONS BY AND BETWEEN HANNA
 KROSKIE AND WILLIAM JONES AFTER THE




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
  ALLEGED INCIDENT OF OCTOBER 18, 2021

       PHOTOGRAPHIC PROOF OF HANNA
      KROSKIE WITH WILLIAM JONES AND
  CHRISTY MAI AT KEENELAND ON OCTOBER
   29, 2021, 11 DAYS AFTER ALLEGED SEXUAL
          ASSAULT BY WILLIAM JONES

   SOCIAL MEDIA POSTS REGARDING THE
 OCTOBER 18, 2021 GALA THAT KROSKIE AND
 JONES ATTENDED WITH PROOF OF KROSKIE
            'LIKING' THE POST
                                                                                 EXH : 000025 of 000055
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            8 55                                                        .•,1 -.., , •


                           Ne           essage                                 Co co;:I




            Thank you for your help
            today! Glad e can all relax
            tor the rest of the night
            knowing we hit well beyond
            our goal. Go Tigersl
                      •. : - . . - ·   . f   . ' , • ! , : ' ·•.:,.c.,;;.,:Pr 'i':
                     ·"Sony. I waswalking:aod :
                      texting. Mearyt - What a-�'.




                                                                                                               Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                       great day.

                    Kick your feet up and relax!
                    You deserve it!

           •




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                       Ne    essage




            Good morning! I hope
            you've had a great weekend




                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
            as well! I actually made it
            back to Georgeto n this
            morning to relax a bit. We
            could leave from here and
           •




                                                                                   EXH : 000027 of 000055
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            8 56                               .•,, '., •


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            Good morning! I hope
            you've had a great weekend
            as well! I actually made it
            back to Georgetown this
            morning to relax a bit. We
            could leave from here and
            ride together if that is alright
            with you.




            Perfect!




                                                                                       Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                           Oct

                   --·Goocl.�om�g! iPick y � up
                   . at your place at ?




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                                    Page ID#: 212
               8 56                         ,,ti :G, ■




            Perfect(




            I'll be there and ready! I
            need to stop by the store
            and get bandaids so my
            heels don't hurt my feet lo!.
            Would you like me to grab
            you a water bottle or
            anything for the car ride?




                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                         causally.
                         . I'm traveling
                       IFYI:         .
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                   ,-WiH .dress up iater.




                                                                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
            Good morning! How about
            9:30?
                            - -                 -    - - - -           -            - -




                       INo rush. 10 even better?
           •




                                                                                                                                 EXH : 000030 of 000055
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            Good morning! How about
            9:30?
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                      1::Do you her, ·«1at noise?:->/.?!
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                                                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                       .?OOods !like a _.iackhari)m�!f !j

            Yep even better!
            0mg yes I've heard it since
           •




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            856                           ..ii",,,.




                        Ne      essage       C ce




            Yep even bet1er!
            0mg yes I've heard it since
            6:30




            So rude of them!!




                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           •




                                                                                      EXH : 000032 of 000055
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                      Ne       essage




           So rude of them!!




                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           That was the plan but it
           didn't work out that way
           sadly fo:I! I hope your
           meeting didn't go too long
           •




                                                                                     EXH : 000033 of 000055
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               a1-na


            That was the plan but it
            didn't work out that way
            sadly lo!! I hope your
            meeting didn't go too long
            and you have been able to
            relax a bit. Thanks for
            inviting me! Cheers to a
            successful visit.




                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
            Yes of course!




                                                                                    EXH : 000034 of 000055
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            Yes of course!



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                           '-'team.C-
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            Thank you! It's been a great
            homecoming! f appreciate
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                    na


            Thank you! It's been a great
            homecoming! f appreciate
            you speaking at the
            dedication today. You did a
            great job and I'm happy you
            were there to receive your
            gift from the ButJers. Cheers
            to yout Get some rest!




                                                                                     Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
            I think if it was filmed and
            you watched yourself you
            would be pleased!




                                                                                     EXH : 000036 of 000055
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                             Newi essage




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            homecoming! I appreciate
            you speaking at the
            dedication today. You did a
            great job and I'm happy you
            were there to receive your
            gift from the Butlers. Cheers
            to you! Get some r,est!




            I think if it was filmed and
            you watched yourself you




                                                                                              Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
            would be pleased!

                                'thank you! ,-Rest well!




         Sent from my iPhone




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      Sent from my iPhone




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                    <              William Jones          ,· Q

                         William Jones is it Hanna
                         l<roskie.

                      was a joy to at e d The I
                    50th A nivcrsa Gala a to c eer for
                    Geo getown College al       arl Goode, as
                    he vvas inducted int         y. It is a
                    prestigious ho or a          eserved by
                    an ,i1 credi te eaoer! C    f ns, Earl!!




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                               Laura McCa eb

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                               Bry,an Lang ands

                               Hanna Kmskie

                               Dorothy Morgan

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     ATTACHMENT TWELVE

   KAPPA ALPHA ORDER - NATIONAL CLAIM
          AND DISPUTE POLICIES




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                                 EXH : 000042 of 000055
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                                       KAPPA ALPHA ORDER
                               CLAIM AND DISPUTE RESOLUTION PLAN

1.      Purpose and Construction

The Plan is designed to provide for the quick, fair, accessible, and inexpensive resolution of legal disputes
between the Fraternity, and between any parent, affiliate, or successor of the Fraternity, or any of their
officers, directors, new members, alumni, or members, and the Fraternity's present and former members,
related to or arising out of a membership relationship with the Fraternity or participation in a Fraternity
activity, expressly including, but not limited to, any legal disputes in which any present or former Kappa
Alpha Order member asserts a claim or dispute against the Fraternity, any parent, affiliate, or successor of
the Fraternity, or any of their officers, directors, or members, and the Fraternity's present and former
members. The Plan is intended to create an exclusive procedural mechanism for the final resolution of all
disputes falling within its terms. It is not intended either to reduce or enlarge substantive rights available
under existing law. The Plan should be interpreted in accordance with these purposes.

2.      Definitions
       A.         "AA" means any federal or state-recognized Arbitration Association or a similar, local group
                  of arbitrators selected by Sponsor to hear the member's claim or dispute in the area of the
                  Chapter's location.
        8.        "Sponsor" means Kappa Alpha Order.
        C.       The "Act" means the Arbitration Act of the state in which the claim or dispute arises, or the
                  Federal Arbitration Act if applicable.
        D.        "Fraternity" means Kappa Alpha Order, house corporations, and every student chapter or




                                                                                                                  Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                 alumni organization of Kappa Alpha Order and all of their officers, directors, members, and
                  agents. "Fraternity" also includes every plan of benefits or foundation, whether or not tax-
                 exempt, established or maintained by any such entity, and the fiduciaries, agents and
                 members of all such entities. "Fraternity" also includes the successors and assigns or all
                 such persons and entities.
       E.        "Claim" means any legal or equitable claim, demand or controversy for any personal injury,
                 equitable relief or property damage arising out of any tort, statute (local, state or federal)
                 or breach of contract involving the Fraternity. This includes but is not limited to any type
                 of allegation of negligence, intentional acts, defamation, discrimination, contribution or
                 indemnity.
       F.        "Dispute" means a claim, demand or controversy to which this Plan applies, between
                 persons bound by the Plan or by an agreement to resolve disputes under the Plan, or
                 between a person bound by the Plan and a person or entity otherwise entitled to its
                 benefits.
       G.        "Member" means any new member, pledge, initiate, existing member, alumni, or former
                 member of Kappa Alpha Order.
       H.        "Party" means a person bound by this Plan.
       I.        "Plan" means this Kappa Alpha Order Claim and Dispute Resolution Plan, as amended from
                 time to time.
       J.        "Referee" means a person selected under this Plan to decide or mediate a Claim or Dispute,
                 such as an arbitrator or mediator. "Decision by Referee" means resolution of a Claim or
                                                                                                                  EXH : 000043 of 000055




                 Dispute by arbitration or any other method selected by the Parties under this Plan.
       K.        "Rules" means the Kappa Alpha Order Claim and Dispute Resolution Rules, as amended
                 from time to time.
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3.      Application and Coverage
        A.       Until revoked by Sponsor pursuant to this Plan, this Plan applies to and binds the
                 Fraternity and each Member on or after the effective date of this Plan, and the heirs,
                 beneficiaries and assigns of any such person. All such persons shall be deemed Parties to
                 this Plan.
        B.       Except as provided for herein, this Plan applies to any legal or equitable Claim, Dispute,
                 demand or controversy, in tort, in contract, under statute (local, state or federal), or
                 alleging violation of any legal obligation, between persons bound by the Plan, or between a
                 person bound by the Plan and any person or entity entitled to its benefits, which relates to,
                 arises from, concerns or involves in any way any Claim or Dispute as defined, herein,
                 arising out of or involving the Fraternity or any Fraternity activity. This includes any
                 direct or indirect claims for contribution or indemnity.
        C.       Notwithstanding anything to the contrary in this Plan, the Plan does not apply to claims for
                 workers compensation benefits or unemployment compensation benefits.

4.      Resolution of Disputes
         All disputes not otherwise settled by the Parties shall be finally and conclusively resolved under
         this Plan and the Rules.

5.     Amendment
       A.    This Plan may be amended by Sponsor at any time with thirty (30) days notice. However,
             no amendment shall apply to a Dispute of which Sponsor had actual notice on the date of
             amendment.
       8.    Sponsor may amend the Rules at any time with thirty (30) days notice. However, no




                                                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
             amendment will be effective:
             1.      until reasonable notice and acceptance of the amendments are made available on
                     the Kappa Alpha Order website to all members, or
             2.      as to a Claim or Dispute of which Sponsor had actual notice (by notice of intent to
                     arbitrate or otherwise) on the date of amendment.

6.     Termination
        This Plan may be terminated by Sponsor at any time. However, termination shall not be effective:
        A.      until 10 days after reasonable notice and acceptance of termination is given to Members;
                or
        B.      as to Claims or Disputes which arose prior to the date of termination.

7.     Applicable Law
       A.       The Act shall apply to this Plan, the Rules, and any proceedings under the Plan or the Rules,
                including any actions to compel, enforce, vacate or confirm proceedings, awards, orders of
                a Referee, or settlements under the Plan or the Rules.
       8.       Other than as expressly provided herein, or in the Rules, the substantive legal rights,
                remedies and defenses of all Parties are preserved. In the case of arbitration, the arbitrator
                shall have the authority to determine and implement the applicable law and to order any
                and all relief, legal or equitable, including punitive damages, which a Party could obtain
                from a court of competent jurisdiction on the basis of the claims made in the Dispute.
       C.       Other than as expressly provided herein, or in the Rules, the Plan shall not be construed to
                                                                                                                 EXH : 000044 of 000055




                grant additional substantive legal or contractual rights, remedies or defenses which would
                not be applied by a court of competent jurisdiction in the absence of the Plan.
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8.    Administrative Proceeding
      A.      This Plan shall apply to a Dispute pending before any local, state or federal administrative
              body unless prohibited by law.
      B.      Participation in any administrative proceeding by the Fraternity shall not affect the
              applicability of the Plan to any such dispute upon termination of the administrative
              proceedings. A finding, recommendation or decision by an administrative body on the
              merits of a dispute subject to this Plan shall have the same legal weight or effect under the
              Plan as it would in a court of competent jurisdiction.

9.    Exclusive Remedy
        Proceedings under the Plan shall be the exclusive, final and binding method by which Disputes are
        resolved. Consequently, the institution of a proceeding under this Plan shall be a condition
       precedent to the initiation of any legal action (including action before an administrative tribunal
       with adjudicatory powers) against the Fraternity arising out of the membership or participation in
        Fraternity activities of a member by the Fraternity and any such legal action shall be limited to
       those under the Act.

10.   Effective Date
        The effective date of this Plan is August 1, 2006.

11.   Severability
        The terms of this Plan and the Rules are severable. The invalidity or unenforceability of any
        provision therein shall not affect the application of any other provision. Where possible, consistent
        with the purposes of the Plan, any otherwise invalid provision of the Plan or the Rules may be




                                                                                                                Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        reformed and, as reformed, enforced.

12.   Assent
       Accepting membership, becoming a new member or continued membership after the Effective
        Date of this Plan and any amendments constitutes consent by both the Member and the Fraternity
        to be bound by this Plan, both during the membership and after termination of membership.




                                                                                                                EXH : 000045 of 000055
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                                         KAPPA ALPHA ORDER
                                 CLAIM AND DISPUTE RESOLUTION RULES

1.      Definitions
         All definitions included in the Kappa Alpha Order Claim and Dispute Resolution Plan apply to these
         Rules.

2.      Application
          These Rules apply in the form existing at the time proceedings are initiated under them.

3.      Initiation of the Process
        A.        A Party may initiate proceedings under these Rules at any time, subject to any defenses
                  applicable to the timeliness of the claim, including limitations and !aches.
        8.        Proceedings may be initiated by a Member against the Fraternity and/or its Members by
                  serving the Fraternity Dispute Resolution Program Administrator. In such a case, the
                  Fraternity shall promptly forward any properly served notice it has received to an
                  arbitrator. The Sponsor shall, within ten (10) days of receiving notice, select the AA.
        C.        Parties on whom notice is served shall file an answering statement within 21 days of
                  receiving notice of intent to arbitrate or a specification of claims, which shall include any
                  counter-claims.

4.     Administrative Conference
        As soon as possible after receipt of the answering statement, if any, the AA shall convene an
        administrative conference. The conference may be held in person or by telephone. At the




                                                                                                                    Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        conference, the AA will determine whether the Parties are in agreement on a method to resolve the
        dispute. If the Parties agree on a procedure, including agreement on an Arbitrator, the AA will
        implement this agreement to the extent consistent with the AA's rules upon payment of any
        applicable fee. If the Parties cannot agree, or if the Parties have previously attempted and failed to
        resolve the Claim or Dispute, the Claim or Dispute shall be arbitrated under these Rules.

5.     Appointment of Arbitrator
        Immediately after payment of the arbitration fee, the AA shall send simultaneously to each Party an
        identical list of names of persons chosen from a panel of qualified arbitrators which the AA shall
        select and maintain. Each Party to the Claim or Dispute shall have fourteen (14) days from the
        transmittal date to strike any names objected to, number the remaining names in order of
        preference, and return the list to the AA. If a Party does not return the list within the time specified,
        all persons therein shall be deemed acceptable. From among the persons who have been approved
        on both lists, and in accordance with the order of mutual preference, the AA shall invite the
        acceptance of the single arbitrator to serve.

6.     Qualifications of the Arbitrator
        No person shall serve as an arbitrator in any matter in which that person has any financial or
        personal interest in the result of the proceeding. Prior to accepting appointment, the prospective
        arbitrator shall disclose any circumstance likely to prevent a prompt hearing or create a
        presumption of bias. Upon receipt of such information from the arbitrator or any other source, the
                                                                                                                    EXH : 000046 of 000055



        AA will either replace that person or communicate the information to the Parties for comment.
        Thereafter, the AA may disqualify that person and its decision shall be conclusive.

7.     Vacancies
        If a vacancy occurs for any reason or if an appointed arbitrator is unable to serve promptly, the
        appointment procedure in Section S shall apply to the selection of a substitute arbitrator.
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8.    Date, Time and Place of Hearings
      A.       The arbitrator shall set the date, time and place of the hearing in the county where the
               Fraternity has a local chapter to which the member belongs or where the involved Chapter
               was located at the time of the event in question.
      B.       Notice of any hearing shall be given at least ten (10) days in advance, unless the arbitrator
               determines or the Parties agree that a shorter time is necessary.
      C.       If one Party is a Member, the arbitrator shall make reasonable efforts, without unduly
               incurring expense, to accommodate the Member in the selection of a hearing location.

9.    Mode of Hearings and Conferences
       In the discretion of the arbitrator or by agreement of the Parties, conferences and hearings may be
       conducted by telephone or by written submission as well as in person.


10.   Prehearing Discovery
      A.      On any schedule determined by the arbitrator, each Party shall submit in advance, the
              names and addresses of the witnesses it intends to produce and any documents it intends
              to present.
      B.      The arbitrator shall have discretion to determine the form, amount and frequency of
              discovery by the Parties. However, the arbitrator cannot allow more than 20 hours per
              side of depositions, or more than 20 interrogatories, requests for production, and requests
              for admission per side, unless good cause is shown.

11.   Representation
       Any Party may be represented by counsel or by any other authorized representative.




                                                                                                               Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
12.   Attendance at Hearings
        The arbitrator shall maintain the privacy of the hearings to the extent permitted by law. Any
        person having a direct interest in the matter is entitled to attend the hearings.

        The arbitrator shall otherwise have the power to require the exclusion of any witness, other than a
        Party or other essential person, during the testimony of any other witness. The arbitrator shall
        determine whether any other person may attend the hearing. Upon the request of any Party, the
        arbitrator shall exclude any witness during the testimony of any other witness.

13.   Postponement
      A.      The arbitrator, for good cause shown by a Party, or on agreement of the Parties, may
              postpone any hearing or conference.
      B.      The pendency of court proceedings related to the same matter is not good cause for
              postponement.

14.   Oaths
       Before proceeding with the first hearing, each arbitrator may take an oath of office and, if required
       by law, shall do so. The arbitrator may require witnesses to testify under oath administered by any
       duly qualified person and if required by law or requested by any Party, shall do so.
                                                                                                               EXH : 000047 of 000055




15.   Stenographic Record
        There shall be no stenographic record, tape recorded, or videotape record of the proceedings
        unless either requested by one of the Parties or the arbitrator rules otherwise. The Party
        requesting the record shall bear the entire cost of producing the same. Copies of the record shall
        be furnished to all other Parties on request and payment of the cost of reproduction.
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16.   Procedure
       The hearings shall be conducted by the arbitrator in whatever order and manner will most
        expeditiously permit full presentation of the evidence and arguments of the Parties.

17.   Arbitration in the Absence of a Party
       The arbitrator may proceed in the absence of Parties or representatives who, after due notice, fail
        to be present or fail to obtain a postponement. An award shall not be made solely on the default of
        a Party. The arbitrator shall require any Party who is present to submit such evidence as the
        arbitrator may require for the making of an award.

18.   Evidence
      A        The arbitrator shall be the sole judge of the relevance, materiality and admissibility of
               evidence offered. Conformity to legal rules shall not be necessary.
      B.       The arbitrator may subpoena witnesses or documents at the request of a Party or on the
               arbitrator's own initiative.
      C.       The arbitrator may consider the evidence of witnesses by affidavit or declaration, but shall
               give it only such weight as the arbitrator deems it entitled to after consideration of any
               objection made to its admission.

19.   Post-Hearing Submissions
       All documentary evidence to be considered by the arbitrator shall be filed at the hearing, unless the
       arbitrator finds good cause to permit a post-hearing submission. All Parties shall be afforded an
       opportunity to examine and comment on any post-hearing evidence. The arbitrator shall permit
       the filing of post-hearing briefs at the request of a Party and shall determine the procedure and
       timing of such filings.




                                                                                                                Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
20.   Closing and Reopening of Hearing
      A        When the arbitrator is satisfied that the record is complete, including the submission of any
               post-hearing briefs or documents permitted by the arbitrator, the arbitrator shall declare
               the hearing closed.

      8.        The hearing may be reopened on the arbitrator's initiative or upon application of a Party, at
                any time before the award is made.

21.   Waiver of Procedures
       Any Party who fails to object in writing after knowledge that any provision or requirements of
       these procedures has not been complied with, shall be deemed to have waived the right to object.

22.   Service of Notices and Papers
        Any papers, notices, or process necessary or proper for the initiation of continuation of any
        proceeding under these Rules (including the award of the arbitrator; for any court action in
        connection therewith; or for the entry of judgment on an award made under these procedures)
        may be served on a Party by mail addressed to the Party or his representative at the last known
        address or by personal service. Service may be made at any place, provided that the Party served
        has had a reasonable opportunity to be heard with regard to service. The AA, the Parties, and the
        arbitrator may also use facsimile transmission, telex, telegram, or other written forms of electronic
                                                                                                                EXH : 000048 of 000055




        communication to give any notices required by these procedures.
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23.   Communications with the AA and the Fraternity
      A     Any Party may notice, serve or communicate with the Fraternity by contacting:
            Director of Chapter Services (Program Administrator)
            Kappa Alpha Order
            P.O. Box 1865
            115 Liberty Hall Road
            Lexington, VA 24450
            (540) 463-1865
            Fax: (540) 463-2140

24.   Communications with the Arbitrator
       There shall be no communication between the Parties and the arbitrator other than at any oral
       hearings or conferences. Any other oral or written communications from the Parties to the
       arbitrator shall be directed to the AA (and copied to the Parties) for transmission to the arbitrator,
       unless the Parties and the arbitrator agree otherwise.

25.   Time of Award
        The award shall be promptly made by the arbitrator and, unless otherwise agreed by the Parties or
        specified by applicable law, no later than thirty (30) days from the date of the closing of the hearing
        or the closing of a reopened hearing, whichever is later.

26.   Form of Award
        The award shall be in writing and shall be signed by the arbitrator. If any Party requests in its
        Notice or Answering Statement, the arbitrator shall write a summary of reasons for the decision.




                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        The award shall be executed in any manner required by applicable law.

27.   Modification of Award
       On order of a court of competent jurisdiction, or on agreement of the Parties, the arbitrator shall
       modify any award. The arbitrator may modify an award on the motion of a Party if the arbitrator
       finds that the award as rendered is ambiguous or defective in form, or if the award requires an
       illegal or impossible act. These are the only circumstances under which an arbitrator shall have
       jurisdiction to withdraw or modify an award.

28.   Settlement
        If the Parties settle their dispute during the course of the arbitration, the arbitrator may set out the
        terms of the settlement in a consent award.

29.   Scope of Arbitrator's Authority
        The arbitrator's authority shall be limited to the resolution of legal disputes between the Parties.
        As such, the arbitrator shall be bound by and shall apply applicable law including that related to the
        allocation of the burden of proof as well as substantive law. The arbitrator shall not have the
        authority either to reduce or enlarge substantive rights available under existing law. The arbitrator
        may also grant emergency or temporary relief which is or would be authorized by applicable law.

30.   Judicial Proceedings and Exclusion ofLiability
      A         No arbitrator is a necessary Party in any judicial proceedings relating to proceedings under
                                                                                                                   EXH : 000049 of 000055




                these Rules.
      B.        No arbitrator shall be liable to any Party for any act or omission in connection with any
                proceedings within the scope of these Rules.
      C.        Any  court with jurisdiction over the Parties may compel a Party to proceed under these
                Rules at any place and may enforce any award made.
      D.        Parties to these Rules shall be deemed to have consented that judgment upon the award of
                the arbitrator may be entered and enforced in any federal or state court having jurisdiction
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                of the Parties.
      E.        Initiation of, participation in, or removal of a legal proceeding shall not constitute waiver of
                the right to proceed under these Rules.
      F.        Any court with jurisdiction over the Parties may issue any injunctive orders (including
                temporary restraining orders and preliminary injunctions) if the necessary legal and
                equitable requirements under applicable law are met pending the institution of
                proceedings under these Rules.

31.   Fees and Expenses
      A        The expenses of witnesses shall be borne by the Party producing such witnesses, except as
               otherwise provided by law or in the award of the arbitrator.
      8.       All attorney's fees shall be borne by the Party incurring them except as otherwise provided
               by law, by the Plan, or in the award of the arbitrator.
      C.       Member Parties: Except as provided in this Rule, Member parties shall not be responsible
               for payment of fees and expenses of proceedings under these Rules including required
               travel of an arbitrator, expenses of an arbitrator and the cost of any proof produced at the
               discretion of an arbitrator. If proceedings are initiated by a Member, the Member shall be
               responsible for the following fees:
                        i.       $100 if the Parties go to mediation or other non-binding means to resolve
                        the Claim or Dispute requiring one neutral; and
                        ii.      $100 for arbitration initiated by a Member. All other fees for mediation or
                        arbitration shall be paid by the National Fraternity.
      D.       If the demand for mediation or arbitration is initiated by the Fraternity, all fees will be paid
               by the Fraternity.




                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
32.   Interpretation and Application of These Rules
        The arbitrator shall interpret and apply these Rules insofar as they relate to the arbitrator's powers
        and duties.

33.   Applicable Law
       A       These proceedings and any judicial review of awards under these Rules shall be governed
               by the The Act.
       8.      Except where otherwise expressly provided in these Rules, the substantive law applied
               shall be state or federal substantive law which would be applied by the Federal Circuit
               Court of Appeals for the state where the event occurred.




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  ATTACHMENT THIRTEEN

           SWORN AFFIDAVITS OF
     AMY JONES AND REBECCA ROTH NICKS




                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                                                 EXH : 000051 of 000055
                       AFFIDAVITOF
Case: 3:22-cv-00058-GFVT-EBA         AMY Filed:
                              Doc #: 1-1  ZIMMERMAN
                                                10/19/22 JONES
                                                          Page: 225 of 265 -
                              Page ID#: 235
         .    I, Amy Zimmerman Jones, having been first duly sworn, provide this
      Afrydavit in support otMr. William Andrew Jones and the preposterous claims
      against him accusing him of sexual assault and sexual harassment and state
      thJ following :
         I 1. On Wednesday, October 27, 2021, I 'VVc5 approached by Ms. Hannah Kroskie and Ms.
         i     Christy Mai about the alleged sexual misconduct by Mr. William Andrew
         I    Jones against Ms. Kroskie.
         I 2. Ms. Kroskie asserted that on October 18, 2021, Mr. Jones attempted to
            make out with her in the Marriott Hotel Lobby and in his hotel room in
            Indianapolis, Indiana.
          3. Ms. Kroskie's allegations included unwanted kissing, touching, and Mr. Jones
          exposing himself to her in his hotel room. She never claimed that Mr. Jones
          attempted to rape her in the numerous conversations, on-line messages,
          through texts, or in person with myself and Ms. Mai present. Ms. Kroskie was
          never consistent in her story as told directly lo me or through Ms. Mai and
          NEVER mentioned an attempted sexual assault allegation to me. She quite
          simply had every opportunity to make that claim, safely, in front ofme or
          through electronic communications and she never even hinted al the same.
          4. On Saturday, October 30, 2021, Ms. Mai and I confronted Mr. Jones over
          dinner about the alleged inappropriate behavior against Ms. Kroskie. During that
          conversation Ms. Mai also made similar allegations against Mr. Jones ofunwanted
          kissing and verbal sexual advances. At that time, I was unaware ofthe four (4)
          year intimate relationship between Mr. Jones and Ms. Mai.
          5. Ms. Mai never, in the years I knew her, ever confided to me, or any others




                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
          that I am aware of, that Mr. Jones was inappropriate or attempted any sexual
          advances until Ms. Kroskie made her allegations against Mr. Jones.
          6. Furthermore, once Ms. Kroskie made those allegations, Ms. Mai, together with
          Ms. Kroskie, solicited my help in suing Georgetown College, in a very
          uncomfortable and possibly unlawful conspiracy, so that we, in Ms. Mai's words
          to me on Thursday, October 28, 2021, on my front porch, would "never have
          to work the rest of our lives."
          7. In multiple, hidden, direct electronic messages to me and Ms. Kroskie
          (which are in my possession and were initiated by Ms. Mai), Ms. Mai inquired
          as to the status and value ofthe life insurance policies on Mr. Jones' life. She
          further manipulated me with lies and a false friendship to get me to agree, if
          paid out (I assume if William died or killed himself), that these life insurance
          policies would support 'us' (Ms. Mai, myself, and my children).
          8. I did not learn until Monday, November I, 2021, that Ms. Kroskie's alleged
          allegations against Mr. Jones went from unwanted touching and kissing to
          forcible sexual assault.
          9. Early on Sunday morning, October 31, 2021, Mr. Jones disclosed his intimate
          four (4) year relationship with Ms. Mai.

       10. Later in the morning on Sunday, October 31, 2021, I called Ms. Kroskie to see if she
                                                                                                   EXH : 000052 of 000055




          would meet with me, Ms. Mai, and Mr. Jones to get to the bottom of these two
         questionable stories (Ms. Mai's and Ms. Kroskie's). During this phone call, I disclosed
         to Ms. Kroskie the intimate relationship between Mr. Jones and Ms. Mai. In
         response Ms. Kroskie exclaimed, "Christy has betrayed me." I have had no further
         contact with Ms. Kroskie since Sunday morning, October 31, 2021.
       11. After that phone call, I   to question each o f tre legations arrl motives against
                                               -·
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                                      ID#:Kroskie,
         any lawsuit with her and/ or Ms.
                                Page       236     as I had never been abused
         or harmed or assaulted in anyway by Mr. Jones. And while his
         relationship with Ms. Mail devastated our family, we have been able to
         mend many of the pieces o f oursandour-children's broken hearts
         over the last year and Mr.Jones has been fully contrite and sincere in
         his desire to be a better man, husband, and father. And for that, and
         the grace none of us deserve, we are working on saving our marriage.
       12. I am aware that Ms. Mai had intentto recruit other former
         colleagues of Mr.Jones to show a propensity of sexual assault or
         inappropriate behavior. None of those individuals would
         participate and I a m aware that one (1) of those former colleagues
         has also tendered an affidavit of support of Mr. Jones.
                                                        }
       13. I believe that Ms. Mai is a jealous and unstable woman that
        · pulled at the heart strings of my husband during a very stressful
          time period in his life more than five (5) years ago with a long-

                                                                    ---------
          term plan to enrich herself accordin
    Commonwealth of Kentucky)




                                                                                  Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                            )
    County of Franklin      )
                                                my Zimmerman Jones on the
                                                   nd volition.




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                        AFFIDAVIT OF REBECCA ROTH NICKS

       Sworn and acknowledged before me by Rebecca Roth Nicks. And, after being first duly

sworn Mrs. Roth Nicks does state the following:


                                          ** * * * * *
       I, Rebecca Roth Nicks, Vice President of Advancement at LaGrange College, having

been first duly sworn, provide this Affidavit in support of Mr. William Andrew Jones and states

the following:

    1. I, always during my work history with Mr. Jones, was employed by LaGrange College in

       LaGrange, Georgia. My title was Director of Development, and I reported to Mr. Jones

       as Vice President of Advancement at LaGrange College. Our dates of working together




                                                                                                  Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
       were April 2010 to June 2016.

   2. At no time during our employment together would I consider Mr. Jones actions to be

       inappropriate in any manner. He never made any sexual advances or used inappropriate

       language around me. Our relationship was 100% professional. He never said or did

       anything that would make me think or believe he was anything more than a consummate

       professional in his role at LaGrange College.

   3. Mr. Jones and I were never engaged in any romantic relationship and he never attempted

       to engage me romantically.

   4. I never witnessed Mr. Jones acting in an unprofessional or romantic relationship with any

       other work colleague or LaGrange College donor.
                                                                                                  EXH : 000054 of 000055




   5. On or about, Tuesday, March 8, 2022, Attorney Tony Bucher, counsel for Ms. Christy

       Mai, attempted to reach out to me concerning allegations made against Mr. Jones, to



                                                1
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       discuss his proclivity and history of sexual discrimination and sexual harassment and/or

       unwanted sexual advances.

   6. I contacted Attorney Wendell Clark to reach out to Mr. Bucher on my behalf. I asked

       Mr. Clark to please inform Mr. Bucher that there was never any inappropriate conduct by

       Mr. Jones, and at no time were we romantically involved. I made the same statement to

       Mr. Clark that I made in this affidavit; that our relationship was always professional.

   7. FURTHER, THE AFFIANT SA YETH NAUGHT.



                                               AFFL<\NT, REBECCA ROTH NICKS

STATE OF GEORGIA                               )

               f'_'\ e f '\ O - - - -




                                                                                                  Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                 .\                            )
COUNTY OF            Q                         )
       Subscribed and sworn to before me by Rebecca Roth Nicks on the i 3 day of September,

2022 of her own free will and volition.

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                                                      'f)(, 'i){Uft
                                         Q M PUBLIC, STATE  AT LAR

                                        My Commission Expires:        U)/:J_'7/ 2023
                                                                        /       l
                                        NOTARY ID NO. - - - - - - - - - - - - - -




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 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: C. DAVID WILHITE
           400 EAST COLLEGE STREET
           GEORGETOWN, KY 40324
Memo: Related party is GEORGETOWN COLLEGE

The Commonwealth of Kentucky to Defendant:
GEORGETOWN COLLEGE

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
document delivered to you with this Summons.




                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




                                                 Proof of Service
   This Summons was:

o Served by delivering a true copy and the Complaint (or other initiating document)
     To:

o Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130771
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

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                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: ROBERT MILLS
           330 LONG RIDGE LANE
           OWENTON, KY 40359
            Email: RL.MILLS49@GMAIL.COM
Memo: Related party is BOARD OF TRUSTESS OF GEORGETOWN COLLEGE

The Commonwealth of Kentucky to Defendant:
BOARD OF TRUSTESS OF GEORGETOWN COLLEGE

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.




                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.




                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   This Summons was:

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                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130773
CIRCUIT: 22-CI-00765 Return to Filer for Service
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 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: ROSEMARY A ALLEN
           400 EAST COLLEGE ST.
           GEORGETOWN, KY 40324
            Email: ROSEMARY_ALLEN@GEORGETOWNCOLLEGE.EDU

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
document delivered to you with this Summons.




                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




                                                 Proof of Service
   This Summons was:

o Served by delivering a true copy and the Complaint (or other initiating document)
     To:

o Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130774
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

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                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: JOHNATHAN SANDS WISE
           400 EAST COLLEGE ST.
           GEORGETOWN, KY 40324
Memo: Executive Vice President and Provost of Georgetown College

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
document delivered to you with this Summons.




                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




                                                 Proof of Service
   This Summons was:

o Served by delivering a true copy and the Complaint (or other initiating document)
     To:

o Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130775
CIRCUIT: 22-CI-00765 Return to Filer for Service
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 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: JOHN DAVIS
           400 EAST COLLEGE ST.
           GEORGETOWN, KY 40324

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

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document delivered to you with this Summons.




                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




                                                 Proof of Service
   This Summons was:

o Served by delivering a true copy and the Complaint (or other initiating document)
     To:

o Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130777
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 234 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 244
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: CURTIS SANDBERG
           400 EAST COLLEGE ST.
           GEORGETOWN, KY 40324
Memo: Vice President of Student Life

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
document delivered to you with this Summons.




                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130778
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 235 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 245
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: SALLY WIATROWSKI
           400 EAST COLLEGE ST.
           GEORGETOWN, KY 40324
Memo: Vice President for Business Operations

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
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                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130779
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 236 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 246
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: DAVID C ADKISSON
           1000 RICHMOND RD.
           LEXINGTON, KY 40502

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130780
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 237 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 247
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: DR. ROBERT BAKER
           204 STRAWBERRY LANE
           LEXINGTON, KY 40516

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130781
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 238 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 248
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: JEROMY TUCKER BALLINGER
           1651 DUNTREATH DR.
           LEXINGTON, KY 40504

The Commonwealth of Kentucky to Defendant:


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the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130782
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 239 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 249
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: JOHN R. BLACKBURN JR
           203 ARTESIAN DR.
           GARNER, NC 27529

The Commonwealth of Kentucky to Defendant:


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the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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o Not Served because:
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   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130784
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 240 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 250
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: GRANETTA BLEVINS
           104 COLONIAL DR.
           MOUNT STERLING, KY 40353

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130785
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 241 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 251
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: TRACEY CLARK
           312 JAMES LYN DR.
           HOPKINSVILLE, KY 42240

The Commonwealth of Kentucky to Defendant:


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the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130786
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 242 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 252
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: SHARON CLIFTON
           3809 MIMOSA LANE
           LEXINGTON, KY 40517

The Commonwealth of Kentucky to Defendant:


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the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130787
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 243 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 253
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: JOHN COCHENOUR
           7814 NORTHEAST 8TH STRT
           MEDINA, WA 980394711

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   Date:                          , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00001130788
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 244 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 254
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: NICOLE BIVENS COLLINSON
           500 ROOSEVELT BLVD
           FALLS CHURCH, VA 22044

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                             Served By


                                                                                                Title

Summons ID: @00001130789
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 245 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 255
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: JANE CUTTER
           100 BETH PAGE LANE
           GEORGETOWN, KY 40324

The Commonwealth of Kentucky to Defendant:


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the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                Title

Summons ID: @00001130790
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 246 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 256
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: KENNY DAVIS
           1497 WALLACETOWN RD
           PAINT LICK, KY 40461

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                Title

Summons ID: @00001130791
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 247 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 257
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: VICKIE GLISSON
           500 W. JEFFERSON ST.
           SUITE #2000
           LOUISVILLE, KY 40202

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
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                                                         Franklin Circuit Clerk
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                                                                                             Served By


                                                                                                Title

Summons ID: @00001130793
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 248 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 258
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: WILLIAM J. HOUSTON
           8111 HOUSTON LN
           PEWEE VALLEY, KY 40056

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   This Summons was:

o Served by delivering a true copy and the Complaint (or other initiating document)
     To:

o Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
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                                                                                                Title

Summons ID: @00001130795
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 249 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 259
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: MELANIE LADD
           3156 CAVERSHAM PARK LANE
           LEXINGTON, KY 40509

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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Summons ID: @00001130796
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 250 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 260
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: DAVID LEE
           80 FOXLEY LANE
           FRANKFORT, KY 40601

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                Title

Summons ID: @00001130797
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 251 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 261
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: MICHAEL LUKEMIRE
           8227 COLDWATER DR.
           POWELL, OH 43065

The Commonwealth of Kentucky to Defendant:


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the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                Title

Summons ID: @00001130798
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 252 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 262
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: MISSY MATTHEWS
           250 BEARFOOT TRAIL
           WHITESBURG, KY 41858

The Commonwealth of Kentucky to Defendant:


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the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                Title

Summons ID: @00001130799
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 253 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 263
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: ROBERT MILLS
           330 LONG RIDGE RD.
           OWENTON, KY 40359

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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   Date:                          , 20
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                                                                                                Title

Summons ID: @00001130801
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 254 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 264
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: E. GERALD PARKER
           5800 SAWGRASS DR.
           WEST CHESTER, OH 45069

The Commonwealth of Kentucky to Defendant:


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the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                Title

Summons ID: @00001130802
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 255 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 265
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: MICHELLE PEDIGO
           1212 LAUREL ST.
           UNIT 1607
           NASHVILLE, TN 37203

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
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                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                Title

Summons ID: @00001130803
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 256 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 266
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: FRANK PENN
           4741 MOUNT HOREB PIKE
           LEXINGTON, KY 40511

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                             Served By


                                                                                                Title

Summons ID: @00001130804
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 257 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 267
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: JOHN TRAVIS
           616 SEMINOLE TRAIL
           GEORGETOWN, KY 40324

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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                                                                                                Title

Summons ID: @00001130805
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 258 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 268
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: HON. J. GUTHRIE TRUE
           310 LEAWOOD DR.
           FRANKFORT, KY 40601

The Commonwealth of Kentucky to Defendant:


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                                                                                                Title

Summons ID: @00001130807
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 259 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 269
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: JOHN WARD JR
           13388 WOLF RD
           ALEXANDRIA, KY 41001

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                                         Franklin Circuit Clerk
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                                                                                                Title

Summons ID: @00001130808
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 260 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 270
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: MEOCHA WILLIAMS
           1102 HADDRELL PT.
           LEXINGTON, KY 40509

The Commonwealth of Kentucky to Defendant:


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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
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                                                         Date: 9/30/2022




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Summons ID: @00001130809
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 261 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 271
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: SARAH WILSON
           2004 OAK HILL CT.
           VERSAILLES, KY 40383

The Commonwealth of Kentucky to Defendant:


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Summons ID: @00001130810
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 262 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 272
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: NORMAN BROWN
           1608 HARMONY LANE
           LEXINGTON, KY 40502

The Commonwealth of Kentucky to Defendant:


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Summons ID: @00001130811
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
             Case: 3:22-cv-00058-GFVT-EBA              Doc #: 1-1 Filed: 10/19/22 Page: 263 of 265 -
 AOC-E-105         Sum Code: CI                        Page ID#: 273
 Rev. 9-14                                                                     Case #: 22-CI-00765
                                                                               Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                County: FRANKLIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL, Defendant


   TO: LARRY STANTON WEISE
           115 LIBERTY HALL ROAD
           LEXINGTON, VA 24450
Memo: Related party is KAPPA ALPHA ORDER - SOCIAL FRATERNITY

The Commonwealth of Kentucky to Defendant:
KAPPA ALPHA ORDER - SOCIAL FRATERNITY

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                                                                                                                                   Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
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                                                         Franklin Circuit Clerk
                                                         Date: 9/30/2022




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Summons ID: @00001130812
CIRCUIT: 22-CI-00765 Return to Filer for Service
JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN COLLEGE ET AL

                                                      Page 1 of 1
               Case: 3:22-cv-00058-GFVT-EBA        Doc #: 1-1 Filed: 10/19/22   Page: 264 of 265 -
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Commonwealth of Kentucky
                                                                                   FRANKLIN COUNTY
Court of Justice www.courts.ky.gov

                                            RANDOM JUDGE ASSIGNMENT




                               Court: Franklin County Circuit Court [FCCC]



                        Case Style: JONES, WILLIAM ANDREW ET AL VS. GEORGETOWN
                                    COLLEGE ET AL



                   Case Number: 22-CI-00765



             This case has been HON. PHILLIP J. SHEPHERD [648260]
                    assigned to:




                                                                   Amy Feldman, Franklin Circuit Clerk
                                                                                 9/30/2022 3:42:18 PM
           Case: 3:22-cv-00058-GFVT-EBA Doc #: 1-1 Filed: 10/19/22                      Page: 265 of 265 -
           Commonwealth of Kentucky         Page ID#: 275
           Amy Feldman, Franklin Circuit Clerk


 Case #: 22-CI-00765                    Envelope #: 5103332
 Received From: KYLE THOMPSON                          Account Of: KYLE THOMPSON

 Case Title: JONES, WILLIAM ANDREW ET AL VS.           Confirmation Number: 150689669
 GEORGETOWN COLLEGE ET AL
 Filed On:9/30/2022 1:31:51PM


#      Item Description                                                                                 Amount
1      Court Facilities Fee                                                                              $25.00
2      Access To Justice Fee                                                                             $20.00
3      Money Collected For Others(Court Tech. Fee)                                                       $20.00
4      Money Collected For Others(Attorney Tax Fee)                                                       $5.00
5      Library Fee                                                                                        $3.00
6      Civil Filing Fee                                                                                 $150.00
7      Charges For Services(Jury Demand / 12)                                                            $70.00
                                                                                TOTAL:                  $293.00




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